           Case 4:10-cv-02223-AKK Document 64 Filed 10/23/20 Page 1 of 155                             FILED
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                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                            MIDDLE DIVISION


HARVEY WINDSOR,                                 )
                                                )
Petitioner,                                     )
                                                )
v.                                              )       Case No.: 4:10-cv-2223-AKK
                                                )
JEFFERSON S. DUNN,                              )
Commissioner of the Alabama                     )
Department of Corrections, et al.,              )
                                                )
Respondents.                                    )


                              MEMORANDUM OPINION

       Harvey Windsor has petitioned for a writ of habeas corpus under 28 U.S.C. '

2254. See generally Doc. 16. 1 Windsor challenges his 1992 capital conviction and

death sentence in the Circuit Court of St. Clair County, Alabama for the murder of

Rayford Howard, alleging that a variety of constitutional violations require a reversal

of his conviction and sentence. After careful consideration, the court disagrees and

finds that Windsor’s petition is due to be denied.




       1
         “ Doc. ___” refers to the number assigned to each document filed in the court’s electronic
filing system. Citations to the state-court record, doc. 23, correspond with the Respondents’
volume, tab, and page number designations reflected in the paper file. And “ACCA,” which is
used throughout this opinion, refers to the Alabama Court of Criminal Appeals.
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                                                 I.

                                                 A.

       On June 8, 1992, a St. Clair County jury convicted Windsor of capital murder.

See Windsor v. State (Windsor I (ACCA)), 683 So. 2d 1013, 1014 (Ala. Crim. App.

1993), rev’d, 683 So. 2d 1021 (Ala. 1994). The jury found that on February 25, 1988,

Windsor intentionally killed Mr. Howard during a robbery at Mr. Howard’s

convenience store. 2 The guilty determination triggered a penalty-phase hearing

under Alabama law. Windsor I (ACCA), 683 So. 2d at 1014. After the penalty

hearing, a unanimous jury recommended that Windsor receive a death sentence. Id.

The trial court accepted the jury’s penalty finding and sentenced Windsor to death.

Id. 3 As documented in the sentencing order, the court determined that “the only

aggravating circumstance relied upon by the State of Alabama [wa]s circumstance

(4) of Section 13A-5-49.” Vol. 21, Tab 69 at 25-28. The court determined “beyond



       2
        See Ala. Code ' 13A-8-41 (“A person commits the crime of robbery in the first degree if
he violates Section 13A-8-43 [(robbery in the third degree)] and he: (1) [i]s armed with a deadly
weapon or dangerous instrument; or (2) [c]auses serious physical injury to another.”); Ala. Code
' 13A-6-2(a)(1) (defining murder as an intending and causing “the death of another person”).
       3
          A Colbert County, Alabama jury convicted Windsor of capital murder for shooting
another store owner, Randal Earl Pepper, later on February 25, 1988. Windsor (Colbert Cty.) v.
State, 593 So. 2d 87, 88-90 (Ala. Crim. App. 1991). After a reversal of the conviction and a retrial,
a jury convicted Windsor of felony murder. Id. at 92-93; Vol. 11, Tab 38 at 2-3. Windsor is serving
a life sentence for the Colbert County conviction. Vol. 11, Tab 38 at 2.

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a reasonable doubt that the capital offense of which [Windsor] was convicted was

committed while [Windsor] was an accomplice in the commission of, or attempt to

commit, or flight after committing, or attempting to commit robbery.” Id. The court

considered the mitigating evidence about which Windsor’s mother testified and

found “that the aggravating circumstance . . . outweigh[ed] the mitigating

circumstances . . . , and the mitigating circumstances did not outweigh the

aggravating circumstance found.” Id.

                                        B.

      The ACCA summarized the evidence supporting the capital conviction:

            The evidence presented by the state tended to show that on
      February 25, 1988, [Mr.] Howard in St. Clair County and [Mr.] Pepper
      in Colbert County were robbed and murdered. The appellant and Lavon
      Guthrie were charged with the offenses. This appeal concerns only the
      robbery and murder of [Mr.] Howard.

             On February 25, at approximately 2:00 p.m., [Mr.] Howard was
      found dead in his store in St. Clair County. He died as a result of a
      shotgun blast to the chest. Money had been taken from the store’s cash
      register and the victim’s pants pockets had been emptied. A witness
      saw someone carrying a “sawed-off shotgun” leave the victim’s store,
      open the breech and reload the gun, and get into a black sports car.

            On this same day, the appellant and Guthrie were seen in St. Clair
      County travelling together in a black Ford Mustang automobile with
      gold stripes and the word “boss” written in gold on the sides. At
      approximately 1:00 p.m. that day, the appellant and Guthrie had visited
      Sammie Sue Wilson Osborn at her house. Ms. Osborn’s house was
      located approximately five miles from [Mr.] Howard’s store.
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       The automobile in which the appellant was riding was seen later
that afternoon travelling at a high rate speed in Marshall County and in
Lawrence County. The automobile was also seen at Tommy’s Store, a
convenience store, in Lawrence County. An occupant of the car
discarded two Budweiser beer cans in the parking lot of Tommy’s
Store.

       The automobile was also seen at approximately 8:00 p.m. at a
store in Colbert County. The attendant at the Colbert County store,
Randal Earl Pepper, was killed by a shotgun blast to the head. The
appellant was identified as the person running from the store and getting
into the automobile. When the appellant was arrested, he had in his
possession a .25 automatic pistol that had belonged to Mr. Pepper.

       The automobile in which the appellant and Guthrie were
travelling had been stolen on February 23, 1988, from Connie’s Quick
Stop convenience store in Tiftonia, Tennessee. The automobile was
recovered on February 26, at Tiftonia Baptist Church, two-tenths of a
mile from Connie’s Quick Stop. Guthrie’s sister’s house was located
between Connie’s Quick Stop and the Tiftonia Baptist Church.

      When the automobile was searched, the following items were
recovered: a ring of keys, a receipt from Parisian department store, a
.20 gauge shotgun shell, and cigarette butts. One of the keys on the
recovered ring opened a padlock that secured the rear door of Howard’s
Store. The Parisian receipt was for a suit that Mr. Howard had
purchased for his wife. The .20 gauge shotgun shell had been fired from
the same gun as a shell that was recovered outside Howard’s store. The
appellant’s fingerprint was found on one of the cigarette butts.

        Additionally, Guthrie’s fingerprints were found on Mr.
Howard’s driver’s license, which was recovered, along with his wallet
and its contents, beside the road a few miles from his store. Guthrie’s
fingerprints were also found on one of the Budweiser beer cans that was
left at Tommy’s Store in Lawrence County.



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Windsor v. State (Windsor II (ACCA)), 683 So. 2d 1027, 1030 (Ala. Crim. App.

1994) (footnote omitted).

      On appeal, the ACCA found that the circuit court clerk’s practice of excusing

prospective jurors without judicial involvement and an improper prosecutorial

remark about Windsor’s failure to testify denied Windsor a fair trial and reversed his

conviction. Windsor I (ACCA), 683 So. 2d at 1016-19. The State sought review of

the ACCA’s decision, and the Alabama Supreme Court reversed. Windsor v. State

(Windsor I), 683 So. 2d 1021, 1027 (Ala. 1994). The Court found no evidence that

the circuit court clerk’s role in the jury selection process had harmed Windsor

constitutionally or prejudiced him under Alabama law. Windsor I, 683 So. 2d at

1024, 1027. Evaluating the prosecutor’s comment under the previously adopted

Eleventh Circuit Court of Appeals Fifth Amendment standard, the Court found no

reversible error. Id. at 1024.

      On remand, the ACCA affirmed the conviction and sentence. Windsor II

(ACCA), 683 So. 2d at 1041. Windsor appealed, and the Alabama Supreme Court

affirmed. Windsor v. State (Windsor II), 683 So. 2d 1042, 1062 (Ala. 1996). The

Supreme Court denied Windsor’s petition for a writ of certiorari. Windsor v.

Alabama, 520 U.S. 1171 (1997).



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                                         C.

      On April 1, 1998, Windsor sought collateral review by filing an Alabama

Criminal Procedure Rule 32 petition in St. Clair County Circuit Court. Windsor v.

State (Windsor Rule 32), 89 So. 3d 805, 808 (Ala. Crim. App. 2009). On November

18, 1998, the Rule 32 court dismissed some of Windsor’s claims as procedurally

barred and gave him thirty days to amend the petition consistent with the specificity

requirement of Rule 32.6(b). Windsor Rule 32, 89 So. 3d at 808-09. Windsor

amended his petition and the Rule 32 court dismissed some claims on August 17,

1999 and set the pending claims for an evidentiary hearing. Id. at 809. After a

continuance and a case reassignment, a new judge dismissed Windsor’s remaining

Rule 32 claims on February 17, 2006, without a hearing. Id. The ACCA affirmed in

2009. Id. at 826.

      Windsor appealed, and the Alabama Supreme Court affirmed the ACCA

except for an unaddressed ineffective assistance of counsel claim. Windsor Rule 32,

89 So. 3d at 826-27. Windsor argued that his trial counsel should have objected when

the prosecutor told the jury members that they could “ignore the[] mitigating

circumstances” during the penalty phase. Id. at 827 (internal quotation marks

omitted) (alternation supplied). On remand, the ACCA found that the prosecutor’s



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remark about mitigation did not unfairly prejudice Windsor and affirmed the

dismissal of the Rule 32 petition. Id. at 830.

                                          D.

      On August 17, 2010, Windsor filed a ' 2254 petition in this court. Doc. 1.

Windsor moved for, and this court granted, a stay pending the completion of the

state collateral review process. Docs. 3, 8. After the Alabama Supreme Court denied

Windsor’s petition for writ of certiorari in 2012, this court lifted the stay, and

Windsor amended his ' 2254 petition. Docs. 12, 13, 16. The Respondents filed an

answer and brief, docs. 25, 26, and Windsor replied, doc. 28.

                                          II.

      “The habeas statute unambiguously provides that a federal court may issue the

writ to a state prisoner ‘only on the ground that he is in custody in violation of the

Constitution or law or treaties of the United States.’” Wilson v. Corcoran, 562 U.S.

1, 5 (2010) (quoting 28 U.S.C. ' 2254(a)). Consequently, this court may only review

questions of federal constitutional and statutory law in a habeas action. Claims that

turn solely upon state law principles fall outside the ambit of this court’s authority to

provide relief under ' 2254. Alston v. Dep’t of Corr., 610 F.3d 1318, 1326 (11th Cir.

2010). Before evaluating Windsor’s claims, the court reviews several principles

common to habeas proceedings.
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                                            A.

      A habeas petitioner must present his federal claims to the state court and

exhaust the state remedies available before seeking relief in federal court. 28 U.S.C.

' 2254(b)(1); Medellin v. Dretke, 544 U.S. 660, 666 (2005). Exhaustion ensures that

state courts have the first opportunity to address and, if necessary, correct federal

issues affecting the validity of state court convictions. As the Eleventh Circuit has

explained:

             In general, a federal court may not grant habeas corpus relief to a
      state prisoner who has not exhausted his available state remedies. . . .

             Exhaustion of state remedies requires that the state prisoner
      “fairly presen[t] federal claims to the state courts in order to give the
      State the opportunity to pass upon and correct alleged violations of its
      prisoners’ federal rights.” Duncan v. Henry, 513 U.S. 364, 365 (1995)
      (citing Picard v. Connor, 404 U.S. 270, 275-76 (1971) (internal
      quotation marks omitted). The Supreme Court has written these words:

             [T]hat the federal claim must be fairly presented to the state
             courts . . . . it is not sufficient merely that the federal habeas
             applicant has been through the state courts. . . . Only if the
             state courts have had the first opportunity to hear the claim
             sought to be vindicated in a federal habeas proceeding does
             it make sense to speak of the exhaustion of state remedies.

      Picard, 404 U.S. at 275, 92 S. Ct. at 512. . . .

             Thus, to exhaust state remedies fully the petitioner must make the
      state court aware that the claims asserted present federal constitutional
      issues. “It is not enough that all the facts necessary to support the federal
      claim were before the state courts or that a somewhat similar state-law
                                             8
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       claim was made.” Anderson v. Harless, 459 U.S. 4, 5-6, 103 S. Ct. 276,
       277, 74 L. Ed. 2d 3 (1982) (citations omitted).

Snowden v. Singletary, 135 F.3d 732, 735 (11th Cir. 1998).

                                                  B.

                                                  1.

       Procedural default occurs when a habeas petitioner failed to raise a federal

claim in compliance with the state’s procedural rules, and the state court dismissed it

without considering the merits because of the procedural violation. 4 Mason v. Allen,

605 F.3d 1114, 1119 (11th Cir. 2009). Generally, if the last state court to examine a

claim expresses clearly and explicitly that the claim is barred because the petitioner


       4
           Under the “procedural default” doctrine,

       the sanction for failing to exhaust properly (preclusion of review in federal court)
       is given the separate name of procedural default, although the habeas doctrines of
       exhaustion and procedural default “are similar in purpose and design and implicate
       similar concerns,” Keeney v. Tamayo-Reyes, 504 U.S. 1, 7 (1992). See also
       Coleman v. Thompson, 501 U.S. 722, 731B732, 111 S. Ct. 2546 (1991). In habeas,
       state-court remedies are described as having been “exhausted” when they are no
       longer available, regardless of the reason for their unavailability. See Gray v.
       Netherland, 518 U.S. 152, 161, 116 S. Ct. 2074, 135 L. Ed. 2d 457 (1996). Thus, if
       state-court remedies are no longer available because the prisoner failed to comply
       with the deadline for seeking state-court review or for taking an appeal, those
       remedies are technically exhausted, ibid., but exhaustion in this sense does not
       automatically entitle the habeas petitioner to litigate his or her claims in federal
       court. Instead, if the petitioner procedurally defaulted those claims, the prisoner
       generally is barred from asserting those claims in a federal habeas proceeding. Id.,
       at 162, 116 S. Ct. 2074; Coleman, supra, at 744B751, 111 S. Ct. 2546.

Woodford v. Ngo, 548 U.S. 81, 92-93 (2006).

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failed to follow state procedural rules, and that procedural bar provides an adequate

and independent state ground for denying relief, 5 then federal procedural default

principles preclude habeas review of that claim. 6 The Supreme Court defines an

“adequate and independent” state court decision as one that “rests on a state law

ground that is independent of the federal question and adequate to support the

judgment.” Lee v. Kemna, 534 U.S. 362, 375 (2002) (internal quotation marks

omitted) (quoting Coleman, 501 U.S. at 729) (emphasis in Lee). The questions of



       5
        See Coleman v. Thompson, 501 U.S. 722, 731 (1991); Cone v. Bell, 556 U.S. 449, 465
(2009) (“[W]hen a petitioner fails to raise his federal claims in compliance with relevant state
procedural rules, the state court’s refusal to adjudicate the claim ordinarily qualifies as an
independent and adequate state ground for denying federal review.”).
       6
           As the Eleventh Circuit put it,

               [t]he federal courts’ authority to review state court criminal convictions
       pursuant to writs of habeas corpus is severely restricted when a petitioner has failed
       to follow applicable state procedural rules in raising a claim, that is, where the claim
       is procedurally defaulted. Federal review of a petitioner’s claim is barred by the
       procedural default doctrine if the last state court to review the claim states clearly
       and expressly that its judgment rests on a procedural bar, Harris v. Reed, 489 U.S.
       255, 263, 109 S. Ct. 1038, 1043, 103 L. Ed. 2d 308 (1989), and that bar provides an
       adequate and independent state ground for denying relief. See id. at 262, 109 S. Ct.
       at 1042-43; Johnson v. Mississippi, 486 U.S. 578, 587, 108 S. Ct. 1981, 1987, 100
       L. Ed. 2d 575 (1988). The doctrine serves to ensure petitioners will first seek relief
       in accordance with state procedures, see Presnell v. Kemp, 835 F.2d 1567, 1578-79
       (11th Cir. 1988), cert. denied, 488 U.S. 1050, 109 S. Ct. 882, 102 L. Ed. 2d 1004
       (1989), and to “lessen the injury to a State that results through reexamination of a
       state conviction on a ground that a State did not have the opportunity to address at a
       prior, appropriate time.” McCleskey v. Zant, 499 U.S. 467, 111 S. Ct. 1454, 1470,
       113 L. Ed. 2d 517 (1991).

Johnson v. Singletary, 938 F.2d 1166, 1173 (11th Cir. 1991) (emphasis added).
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whether a state procedural rule is “independent” of the federal question and

“adequate” to support the state court’s judgment, so as to have a preclusive effect on

federal review of the claim, “is itself a federal question.” Lee, 534 U.S. at 375

(internal quotation marks omitted) (quoting Douglas v. Alabama, 380 U.S. 415, 422

(1965)).

      To be considered “independent” of the federal question, “the state court’s

decision must rest solidly on state law grounds, and may not be ‘intertwined with an

interpretation of federal law.’” Judd v. Haley, 250 F.3d 1308, 1313 (11th Cir. 2001)

(quoting Card v. Dugger, 911 F.2d 1494, 1516 (11th Cir. 1990)). An example of

intertwining would be when “the State has made application of the procedural bar

depend on an antecedent ruling on federal law, that is, on the determination of

whether federal constitutional error has been committed.” Ake v. Oklahoma, 470 U.S.

68, 75 (1985). Thus, if “the state court must rule, either explicitly or implicitly, on

the merits of the constitutional question” before applying the state’s procedural rule

to a federal constitutional question, then the rule is dependent on federal law. Id.

      To be “adequate,” the state procedural rule must be both “firmly established

and regularly followed.” Lee, 534 U.S. at 375 (internal quotation marks omitted)

(quoting James v. Kentucky, 466 U.S. 341, 348 (1984)). The rule must be “clear [and]

closely hewn to” by the state for a federal court to consider it as adequate. James, 466
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U.S. at 346. That does not mean that the state’s procedural rule must be rigidly

applied in every instance, or that occasional failure to do so will render the rule

inadequate. “To the contrary, a [state’s] discretionary [procedural] rule can be ‘firmly

established’ and ‘regularly followed’— even if the appropriate exercise of discretion

may permit consideration of a federal claim in some cases but not others.” Beard v.

Kindler, 558 U.S. 53, 60-61 (2009). The adequacy requirement means only that the

procedural rule “must not be applied in an arbitrary or unprecedented fashion.” Judd,

250 F.3d at 1313; Card, 911 F.2d at 1517. In sum, a habeas court may review a state

court decision based on an inadequate procedural rule, but not on an adequate one.

                                                 2.

       Generally, habeas review of a procedurally defaulted federal claim in state

court may occur under three circumstances: (1) when the petitioner demonstrates that

he had good “cause” for not following the state procedural rule, and, that he was

actually “prejudiced” by the alleged constitutional violation; or (2) when the state

procedural rule was not “firmly established and regularly followed”; or (3) when the

failure to consider the petitioner’s claims will result in a “fundamental miscarriage of

justice.” Edwards v. Carpenter, 529 U.S. 446, 455 (2000) (Breyer, J., concurring). 7


       7
         See, e.g., Coleman, 501 U.S. at 749-50 (holding that a state procedural default “will bar
federal habeas review of the federal claim, unless the habeas petitioner can show cause for the
default and prejudice attributable thereto, or demonstrate that failure to consider the federal claim
                                                  12
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As to the first requirement, the “cause and prejudice” standard is conjunctive, and a

petitioner must prove both parts. To show “cause,” a petitioner must prove that “some

objective factor external to the defense impeded counsel’s efforts” to raise the claim

in the state courts. Carrier, 477 U.S. at 488. “Objective factors that constitute cause

include “‘interference by officials’” that makes compliance with the state’s

procedural rule impracticable, and ‘a showing that the factual or legal basis for a

claim was not reasonably available to counsel.’” McCleskey v. Zant, 499 U.S. 467,

493-94 (1991), superseded by statute on other grounds as recognized in Banister v.

Davis, __ U.S. __, 140 S. Ct. 1698 (2020). While “[a]ttorney error [on direct review]

that constitutes ineffective assistance of [trial] counsel” can constitute “cause” to

overcome a procedural default, generally the constitutional ineffectiveness of post-

conviction counsel on collateral review will not support the cause and prejudice

exception to procedural default. Coleman, 501 U.S. at 754. This rule flows from the

absence of a constitutional “right to counsel in state post-conviction proceedings.”



will result in a fundamental miscarriage of justice”) (citation and internal quotation marks
omitted); Murray v. Carrier, 477 U.S. 478, 496 (1986) (“[W]here a constitutional violation has
resulted in the conviction of one who is actually innocent, a federal habeas court may grant the
writ even in the absence of a showing of cause for the procedural default.”); Smith v. Murray, 477
U.S. 527, 537 (1986) (same) (quoting Carrier, 477 U.S. at 496); Davis v. Terry, 465 F.3d 1249,
1252 n. 4 (11th Cir. 2006) (“It would be considered a fundamental miscarriage of justice if ‘a
constitutional violation has probably resulted in the conviction of one who is actually innocent.’”)
(quoting Schlup, 513 U.S. at 327).

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Id. at 752 (citing Pennsylvania v. Finley, 481 U.S. 551 (1987); Murray v. Giarratano,

492 U.S. 1 (1989)). 8

       A habeas petitioner must show also that the alleged constitutional violation

caused him actual “prejudice.” This entails showing “not merely that the errors at [a

petitioner’s] trial created a possibility of prejudice, but that they worked to his actual

and substantial disadvantage, infecting [the] entire trial with error of constitutional

dimensions.” United States v. Frady, 456 U.S. 152, 170 (1982). If the “cause” is of

the type described in Martinez v. Ryan, then the reviewing court should consider

whether the petitioner can demonstrate “that the underlying ineffective-assistance-

of-trial-counsel claim is a substantial one, which is to say that the prisoner must

demonstrate that the claim has some merit.” Martinez, 566 U.S. at 12-15 (citing for

comparison Miller-El v. Cockrell, 537 U.S. 322 (2003) and describing standards for

certificates of appealability to issue).




       8
         But in two landmark cases, the Court carved out limited equitable exceptions in which
errors by counsel on post-conviction collateral review can constitute “cause” to overcome a
procedurally defaulted claim. In Maples v. Thomas, 565 U.S. 266 (2012), the Court found that
post-conviction counsel’s gross professional misconduct (e.g., abandonment of the petitioner)
severed the agency relationship between counsel and the petitioner and, thus, established the
necessary “cause” to overcome a procedural default. Id. at 281. In Martinez v. Ryan, 566 U.S. 1
(2012), the Court held that post-conviction counsel’s failure to raise an ineffective assistance of
trial counsel claim at an initial review collateral proceeding could serve as the necessary “cause”
to overcome procedural default when the state prohibits that type of claim from being raised during
the direct review process. Id. at 11-12.
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      Finally, in a “rare,” “extraordinary,” and “narrow class of cases,” a federal

court may consider a procedurally defaulted claim in the absence of “cause” when:

(a) a fundamental miscarriage of justice “has probably resulted in the conviction of

one who is actually innocent,” Murray, 477 U.S. at 537-38 (internal quotation marks

omitted) (quoting Carrier, 477 U.S. at 496); or (b) the petitioner shows “by clear and

convincing evidence that[,] but for a constitutional error, no reasonable juror would

have found the petitioner eligible for the death penalty,” Schlup v. Delo, 513 U.S.

298, 323-27 & n. 44 (1995) (internal quotation marks omitted) (quoting Sawyer v.

Whitley, 505 U.S. 333, 336 (1992)).

                                         C.

      The writ of habeas corpus “has historically been regarded as an extraordinary

remedy.” Brecht v. Abrahamson, 507 U.S. 619, 633 (1993). That is especially true

when federal courts engage in habeas review of a state court conviction pursuant to

28 U.S.C. ' 2254 because “[t]he role of federal habeas proceedings, while important

in assuring that constitutional rights are observed, is secondary and limited. Federal

courts are not forums in which to relitigate state trials.” Brecht, 507 U.S. at 633

(internal quotation marks omitted) (quoting Barefoot v. Estelle, 463 U.S. 880, 887

(1983), superseded by statute on other grounds as recognized in Slack v. McDaniel,

529 U.S. 473 (2000)). “Those few who are ultimately successful [in obtaining federal
                                         15
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habeas relief] are persons whom society has grievously wronged and for whom

belated liberation is little enough compensation.” Fay v. Noia, 372 U.S. 391, 440-41

(1963), overruled on other grounds by Wainwright v. Sykes, 433 U.S. 72 (1977).

“Accordingly, . . . an error that may justify reversal on direct appeal will not

necessarily support a collateral attack on a final judgment.” Brecht, 507 U.S. at 634.

       Consistent with these finality and comity principles, Congress amended the

preexisting habeas law under the Antiterrorism and Effective Death Penalty Act of

1996 (“AEDPA”). 9 AEDPA includes several provisions which require federal courts

to defer broadly to state court determinations of federal constitutional claims. First,

Section 2254(e)(1) requires district courts to presume that a state court’s factual

determinations are correct, unless the habeas petitioner rebuts the presumption with

clear and convincing evidence. See 28 U.S.C. ' 2254(e)(1). Section 2254(e)(1)

“modified a federal habeas court’s role in reviewing state prisoner applications in

order to prevent federal habeas ‘retrials’ and to ensure that state-court convictions are

given effect to the extent possible under law.” Bell v. Cone, 535 U.S. 685, 693 (2002)


       9
         Windsor filed his petition after AEDPA became law. See Pub. L. No. 104-132, 110 Stat.
1214 (1996). Accordingly, the court applies AEDPA to his claims. See id. ' 107(c), 110 Stat. at
1226; McNair v. Campbell, 416 F.3d 1291, 1297 (11th Cir. 2005) (applying AEDPA to habeas
petitions filed after Act’s effective date); Hightower v. Schofield, 365 F.3d 1008, 1013 (11th Cir.
2004) (same); see also Martin v. Hadix, 527 U.S. 343, 356 (1999) (discussing retroactivity of
AEDPA amendments to ' 2254).

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(citing Williams v. Taylor, 529 U.S. 362, 403-04 (2000)). The deference that attends

state court findings of fact pursuant to ' 2254(e)(1) applies to all habeas claims,

regardless of their procedural stance. Thus, a presumption of correctness attaches to

a state court’s factual findings, even when a federal court examines a habeas claim

de novo. Mansfield v. Sec’y, Dep=t of Corr., 679 F.3d 1301, 1313 (11th Cir. 2012).

      And, “[b]y its terms ' 2254(d) bars relitigation of any claim ‘adjudicated on

the merits’ in state court, subject only to the exceptions in '' 2254(d)(1) and (d)(2).”

Harrington v. Richter, 562 U.S. 86, 98 (2011). It does not matter whether the state

court decision contains a lengthy analysis of the claim or is a summary ruling

“unaccompanied by explanation.” Id. Further, AEDPA’s “backward-looking

language” requires an examination of the state court decision on the date rendered.

Cullen v. Pinholster, 563 U.S. 170 (2011). Consequently, “[s]tate court decisions are

measured against [the Supreme] Court’s precedents as of ‘the time the state court

renders its decision.’” Id. at 182 (quoting Lockyer v. Andrade, 538 U.S. 63, 71-72

(2003)). Additionally, “review under ' 2254(d)(1) [and (d)(2)] is limited to the record

that was before the state court that adjudicated the claim on the merits,” Cullen, 563

U.S. at 181, and a federal habeas court conducting ' 2254(d) review should not

consider new evidence “in the first instance effectively de novo,” id. at 182.



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       Under ADEPA, a habeas court cannot grant relief unless it determines that the

state court’s adjudication of the claim either:

             (1) resulted in a decision that was contrary to, or involved an
       unreasonable application of, clearly established Federal law, as
       determined by the Supreme Court of the United States; or

              (2) resulted in a decision that was based on an unreasonable
       determination of the facts in light of the evidence presented in the State
       court proceeding.

28 U.S.C. ' 2254(d). 10 The “contrary to” and “unreasonable application” clauses of

' 2254(d) are “independent statutory modes of analysis.” Alderman v. Terry, 468

F.3d 775, 791 (11th Cir. 2006) (citing Williams, 529 U.S. at 405-07). 11 When


       10
          The Court has interpreted § 2254(d)(1)’s reference to “clearly established Federal law, as
determined by the Supreme Court of the United States” to cover only “the holdings, as opposed to
the dicta, of [the Court’s] decisions as of the time of the relevant state-court decision.” Williams,
529 U.S. at 412 (O’Connor, J., majority opinion with respect to part II); see also, e.g., Carey v.
Musladin, 549 U.S. 70, 74 (2006) (similar); Osborne v. Terry, 466 F.3d 1298, 1305 (11th Cir.
2006) (similar); Warren v. Kyler, 422 F.3d 132, 138 (3d Cir. 2005) (“[W]e do not consider those
holdings as they exist today, but rather as they existed as of the time of the relevant state-court
decision.”) (internal quotation marks and citation omitted).
       11
            As the Court explained in Williams:

               Section 2254(d)(1) defines two categories of cases in which a state prisoner
       may obtain federal habeas relief with respect to a claim adjudicated on the merits in
       state court. Under the statute, a federal court may grant a writ of habeas corpus if
       the relevant state-court decision was either (1) ‘contrary to . . . clearly established
       Federal law, as determined by the Supreme Court of the United States,’ or (2)
       ‘involved an unreasonable application of . . . clearly established Federal law, as
       determined by the Supreme Court of the United States.’”

Williams, 529 U.S. at 404 (O’Connor, J., majority opinion with respect to part II) (emphasis in
original).

                                                  18
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considering a state court’s adjudication of a petitioner’s claim, therefore, the habeas

court must consider these clauses separately.

                                                1.

       A state court determination can be “contrary to” clearly established Supreme

Court precedent in at least two ways:

       First, . . . if the state court arrives at a conclusion opposite to that reached
       by this Court on a question of law. Second, a state-court decision is also
       contrary to this Court’s precedent if the state court confronts facts that
       are materially indistinguishable from a relevant Supreme Court
       precedent and arrives at a result opposite to ours.

Williams, 529 U.S. at 405. 12 But as the Eleventh Circuit has noted, the majority

opinion in Williams does not limit the construction of ' 2254(d)(1)’s “contrary to”

clause to the two examples set forth above. Instead, the statutory language “simply

implies that ‘the state court’s decision must be substantially different from the

relevant precedent of [the Supreme] Court.’” Alderman, 468 F.3d at 791 (internal

quotation marks omitted) (quoting Williams, 529 U.S. at 405).




       12
          See also, e.g., Brown v. Payton, 544 U.S. 133, 141 (2005) (similar); Early v. Packer, 537
U.S. 3, 8 (2002) (per curiam) (similar); Putman v. Head, 268 F.3d 1223, 1240-41 (11th Cir. 2001)
(similar).
                                                19
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                                          2.

      A state court’s determination of a federal constitutional claim can result in an

“unreasonable application” of clearly established Supreme Court precedent in either

of two ways:

      First, a state-court decision involves an unreasonable application of this
      Court’s precedent if the state court identifies the correct governing legal
      rule from this Court’s cases but unreasonably applies it to the facts of
      the particular state prisoner’s case. Second, a state-court decision also
      involves an unreasonable application of this Court’s precedent if the
      state court either unreasonably extends a legal principle from our
      precedent to a new context where it should not apply or unreasonably
      refuses to extend that principle to a new context where it should apply.

Williams, 529 U.S. at 407. But, “an unreasonable application of federal law is

different from an incorrect application of federal law.” Id. at 410 (emphasis in

original). Consequently, a federal habeas court “may not issue the writ simply

because that court concludes in its independent judgment that the relevant state-court

decision applied clearly established federal law erroneously or incorrectly. Rather,

that application must also be unreasonable.” Id. at 411. Therefore, “a federal habeas

court making the ‘unreasonable application’ inquiry should ask whether the state

court’s application of clearly established federal law was objectively unreasonable,”

and not whether the state court “correctly” applied Supreme Court precedent. Id. at




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409.13 “Objectively unreasonable” means “that the state court’s ruling . . . was so

lacking in justification that there was an error well understood and comprehended in

existing law beyond any possibility for fairminded disagreement.” Richter, 562 U.S.

at 103. Thus, if fairminded jurists can debate the correctness of a state court’s denial

under federal law, then the outcome is not “objectively unreasonable,” and the second

clause of § 2254(d)(1) precludes relief.

                                                  3.

       The “unreasonable determination of the facts” clause of ' 2254(d)(2)

“imposes a ‘daunting standard—one that will be satisfied in relatively few cases.’”

Cash v. Maxwell, 565 U.S. 1138, 132 S. Ct. 611, 612 (2012) (Sotomayor, J.,

respecting denial of certiorari) (quoting Maxwell v. Roe, 628 F.3d 486, 500 (9th Cir.

2010)). As the Supreme Court has noted

       in related contexts, “[t]he term ‘unreasonable’ is no doubt difficult to
       define.” Williams v. Taylor, 529 U.S. 362, 410, 120 S. Ct. 1495, 146 L.
       Ed. 2d 389 (2000). It suffices to say, however, that a state-court factual
       determination is not unreasonable merely because the federal habeas
       court would have reached a different conclusion in the first instance.
       Cf. id., at 411, 120 S. Ct. 1495.


       13
           See also Bell, 535 U.S. at 694 (observing that the “focus” of the inquiry into the
reasonableness of a state court’s determination of a federal constitutional issue “is on whether the
state court’s application of clearly established federal law is objectively unreasonable,” and stating
that “an unreasonable application is different from an incorrect one”); Richter, 562 U.S. at 100-03
(similar).

                                                  21
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Wood v. Allen, 558 U.S. 290, 301 (2010). Therefore, “even if ‘[r]easonable minds

reviewing the record might disagree’ about the finding in question, ‘on habeas

review that does not suffice to supersede the trial court’s . . . determination.’” Id.

(quoting Rice v. Collins, 546 U.S. 333, 341-42 (2006)) (alteration in Wood).

Conversely, “when a state court’s adjudication of a habeas claim result[s] in a

decision that [i]s based on an unreasonable determination of the facts in light of the

evidence presented in the state court proceeding, this Court is not bound to defer to

unreasonably-found facts or to the legal conclusions that flow from them.” Adkins

v. Warden, Holman Corr. Facility, 710 F.3d 1241, 1249 (11th Cir. 2013) (quoting

Jones v. Walker, 540 F.3d 1277, 1288 n. 5 (11th Cir. 2008) (en banc)).

                                           4.

      Section 2254(d)(2), which governs federal court review of state court findings

of fact, limits the availability of federal habeas relief on any claims that are grounded

in a state court’s factual findings, unless the findings were “based on an unreasonable

determination of the facts in light of the evidence presented in the State court

proceeding.” 28 U.S.C. ' 2254(d)(2). Moreover, ' 2254(e)(1) provides that state

court factual determinations are “presumed to be correct” and that the habeas

petitioner bears “the burden of rebutting the presumption of correctness by clear and

convincing evidence.” 28 U.S.C. ' 2254(e)(1). The Supreme Court has not “fully
                                          22
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explored the interaction of ' 2254(d)(2)’s ‘unreasonableness’ standard and '

2254(e)(1)’s ‘clear and convincing evidence’ standard.” Cave v. Sec’y, Dep’t of

Corr., 638 F.3d 739, 744-45 (11th Cir. 2011) (quoting Gore v. Sec’y, Dep’t of Corr.,

492 F.3d 1273, 1294 n. 51 (11th Cir. 2007)). Still, federal habeas courts “must

presume the state court’s factual findings to be correct unless the petitioner rebuts

that presumption by clear and convincing evidence.” Ward v. Hall, 592 F.3d 1144,

1177 (11th Cir. 2010) (citing ' 2254(e)(1); Parker v. Head, 244 F.3d 831, 835-36

(11th Cir. 2001)). And ' 2254(e)(1) “commands that for a writ to issue because the

state court made an ‘unreasonable determination of the facts,’ the petitioner must

rebut ‘the presumption of correctness [of a state court’s factual findings] by clear and

convincing evidence.’” Id. at 1155 (alteration in original).

                                          D.

      Federal habeas “exists only to review errors of constitutional dimension.”

McFarland v. Scott, 512 U.S. 849, 856 (1994). Additionally, “[w]hen the process of

direct review . . . comes to an end, a presumption of finality and legality attaches to

the conviction and sentence.” Barefoot v. Estelle, 463 U.S. 880, 887 (1983). Two

consequences flow from these fundamental principles: (1) the habeas petitioner bears

the burden of overcoming the presumption of “legality” that attaches to the state court

conviction and sentence, and of establishing a factual basis demonstrating that federal
                                          23
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post-conviction relief should be granted,14 and (2) the habeas petitioner must meet

“heightened pleading requirements.” 15 The mere assertion of a ground for relief,

without sufficient factual detail, does not satisfy either the petitioner’s burden of

proof under ' 2254(e)(1), or the requirements of Rule 2(c) of the Rules Governing

Section 2254 Cases in the United States District Courts, which requires a state

prisoner to “specify all the grounds for relief available to the petitioner,” and “state

the facts supporting each ground.” Rule 2(c)(1) and (2), Rules Governing Section

2254 Cases; see also 28 U.S.C. ' 2242 (stating that an application for writ of habeas

corpus “shall allege the facts concerning the applicant’s commitment or detention”).

       Under the heightened pleading standard, a habeas petitioner must support each

claim with facts sufficient to justify a favorable decision if the allegations are proven

true. See, e.g., Blackledge v. Allison, 431 U.S. 63, 75 n. 7 (1977) (observing that a

habeas petition must “state facts that point to a ‘real possibility of constitutional

error’”) (quoting Advisory Committee Notes to Rule 4 of the Rules Governing

Section 2254 Cases). Additionally, “[c]itation of the controlling constitutional,



       14
         See, e.g., 28 U.S.C. ' 2254(d) and (e)(1); Hill v. Linahan, 697 F.2d 1032, 1036 (11th Cir.
1983) (“The burden of proof in a habeas proceeding is always on the petitioner.”).
       15
          McFarland, 512 U.S. at 856; Borden v. Allen, 646 F.3d 785, 810 (11th Cir. 2011) (holding
that Section 2254 requires “fact pleading,” and not merely “notice pleading”).

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statutory, or other bases for relief for each claim also should be stated.” 1 Randy

Hertz & James S. Liebman, Federal Habeas Corpus Practice and Procedure ' 11.6,

at 654 (5th ed. 2005). As another district court has held:

      It is not the duty of federal courts to try to second guess the meanings of
      statements and intentions of petitioners. Rather the duty is upon the
      individual who asserts a denial of his constitutional rights to come forth
      with a statement of sufficient clarity and sufficient supporting facts to
      enable a court to understand his argument and to render a decision on
      the matter.

Nail v. Slayton, 353 F. Supp. 1013, 1019 (W.D. Va. 1972).

                                        III.

      The court turns now to Windsor’s claims, which number 17 in total, Claims A-

Q. The court divides Windsor’s claims into three sections. In section A the court

addresses Windsor’s guilt-phase claims, the penalty-phase claims in section B, and

the claims Windsor has abandoned or failed to pursue in section C. Within each

subsection, the court considers the claims in alphabetical order.

                                          A.

                                          1.

      Windsor challenges in Claim A purportedly improper comments by the

prosecutor during the guilt phase. At issue are the following comments the prosecutor

made during the guilt-phase closing arguments:

                                          25
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      Intent is a state of mind--anything that is rarely capable of positive proof.
      I expect the judge will tell you that. If we could get into that mind over
      there and put out here what is in there, we would have no reason for a
      jury.

Vol. 5, Tab 13 at 990. After the trial court overruled Windsor’s objection, the

prosecutor continued:

      I’ll tell you that he did have the intent to kill. If you find the intent to
      kill, there can be but one verdict. The state of mind--not capable of
      positive proof. How can you decide what his intent was? We have to
      prove--to find him guilty of capital murder--the intent. Intent can be
      inferred from his actions. Judge Austin will tell you in his charge that
      the intent can be inferred from his actions. Let’s look at his actions. What
      did he do? How do we decide his intent? What are his actions?

Id. Windsor objected again and pointed out that “[t]here has been no proof of any gun

that killed [Mr. Howard].” Id. at 991. The trial court overruled the objection after

stating that “[t]he jury has heard the evidence.” Id.

                                           a.

      Windsor contends that the prosecutor’s reference to “get[ting] into that mind

over there and put[ting] out here what is in there” violated his Fifth Amendment rights

to avoid self-incrimination, remain silent, due process, a fair trial, and a reliable

sentencing under the Fifth, Sixth, Eighth, and Fourteenth Amendments. Doc. 16 at

12 ¶ 26. Windsor raised this claim on direct appeal to the ACCA, in which he alleged

violations of these four amendments within the claim’s caption. Vol. 9, Tab 32 at i,

                                           26
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7-9. The Respondents contend, however, that Windsor did not fairly present federal

claims under the Sixth or Eighth Amendment at the state level and that “a state court

remedy is no longer available.” Doc. 26 at 18-19. In reply, Windsor maintains that

“[t]o the extent it may be significant in these proceedings,” he addressed but did not

argue the Sixth and Eighth Amendment claims on direct appeal, in reply, and on

certiorari. Doc. 28 at 6; Vol. 9, Tab 32 at 7; Vol. 10, Tab 34 at 5; Vol. 10, Tab 37 at

1. Windsor points out also that in Windsor II, the Alabama Supreme Court certified

that it had reviewed the issues that Windsor raised for plain error and considered the

appropriateness of the death penalty judgment. See doc. 28 at 6-7 (citing Windsor II,

683 So. 2d at 1061-62).

      After reviewing the referenced filings, this court has confirmed that Windsor

identified the Sixth and Eighth Amendments in the caption of the claim in state court.

But within the body of these documents, Windsor did not discuss either amendment,

much less factually support an underlying constitutional right that either amendment

protects. A petitioner must fairly present the federal right he contends is at stake and

give the state court the “first opportunity to hear th[at] claim. . . .” Picard, 404 U.S.

at 275. Referencing a constitutional amendment in headings without developing the

corresponding right under that amendment’s umbrella does not meet the exhaustion



                                           27
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requirement. 16 Moreover, even accepting Windsor’s position that he exhausted the

claim under the Sixth and Eighth Amendments, Windsor’s allegations are too

conclusive and nonspecific to satisfy Rule 2(c)’s requirement that federal habeas

petitioners meet heightened pleading requirements. 17 Finally, in his briefing before

this court, Windsor has not developed why those amendments entitle him to habeas

relief. Merely alleging a habeas claim without developing argument constitutes either

abandonment or a failure to meet the burden of proof. See Tharpe v. Humphrey, No.

5:10-CV-433 CAR, 2014 WL 897412, at *3 n. 4 (M.D. Ga. Mar. 6, 2014), aff’d sub

nom. Tharpe v. Warden, 834 F.3d 1323 (11th Cir. 2016). Therefore, Windsor has



       16
          Windsor does not dispute that dismissing his Sixth and Eighth Amendment claims without
prejudice and allowing him to exhaust them in state court would be futile under Alabama law.
Compare Doc. 26 at 20, with Doc. 28 at 2-7. Windsor does not invoke the cause and prejudice,
firmly established, or fundamental injustice exception to excuse his procedural default. See § II.B.2
supra. Consequently, whether procedural default precludes substantive review of these claims rises
or falls on the court’s fair presentation assessment. See Al-Amin v. Shartle, No. 1:12-CV-1688-AT-
GGB, 2016 WL 10718765, at *17 (N.D. Ga. Mar. 24, 2016) (“[A] failure to provide any citation to
authority or arguments in support waives an issue.”), report and recommendation adopted in part,
rejected in part on other grounds, No. 1:12-CV-1688-AT-GGB, 2017 WL 6596602 (N.D. Ga. Sept.
29, 2017), aff’d sub nom. Al-Amin v. Warden Georgia Dep’t of Corr., 932 F.3d 1291 (11th Cir.
2019), cert. denied, Al-Amin, v. Ward, 2020 WL 1668291, at *1 (U.S. Apr. 6, 2020); see Shartle,
2016 WL 10718765, at *17 (citing Eleventh Circuit waiver cases and observing that “[t]he same
principles apply at the district court level”).
       17
          See Rule 2(c), Rules Governing Section 2254 Cases (requiring petitioner to “specify all
the grounds for relief[,]” “state the facts supporting each ground[,]” and “state the relief requested”);
McFarland, 512 U.S. at 856 (explaining that habeas Rule 2(c) requires heightened pleading); Mayle
v. Felix, 545 U.S. 644, 649 (2005) (contrasting that Rule 2(c) “requires a more detailed statement”
than Federal Civil Procedure Rule 8(a)(2)’s “short and plain statement of the claim” standard).

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either abandoned or not proven an entitlement to habeas relief under the Sixth and

Eighth Amendments. 18

                                                 b.

       Windsor claims under the Fifth and Fourteenth Amendments fare no better. In

his brief in state court, Windsor cited Griffin v. California, 380 U.S. 609 (1965),19

and presented the federal claim as one arising under the Fifth Amendment’s self-

incrimination clause. Vol. 9, Tab 32 at 7. Although the ACCA granted Windsor relief

on his Griffin claim, the Alabama Supreme Court reversed. Windsor I, 683 So. 2d at

1023. In reversing the ACCA, the Court observed that “[a] prosecutor must be

extremely careful not to overstep the mark or to break with the established protocol

regarding statements about th[e] privilege [against self-incrimination].” Id. After

identifying the Fifth Amendment as the source of Windsor’s federal claim, the Court

evaluated the prosecutor’s comment under Eleventh Circuit precedent. Id. at 1024

(quoting Marsden v. Moore, 847 F.2d 1536, 1547 (11th Cir. 1988), and citing United


       18
         The court understands that Windsor relies on the Fourteenth Amendment for the purpose
of constitutional incorporation only. But to the extent Windsor contends that the Fourteenth
Amendment provides an independent basis for habeas relief, that theory fails under Rule 2(c),
abandonment, or lack of proof too.
       19
          Griffin held that “the Fifth Amendment, in its direct application to the Federal Government
and in its bearing on the States by reason of the Fourteenth Amendment, forbids either comment by
the prosecution on the accused’s silence or instructions by the court that such silence is evidence of
guilt.” Griffin, 380 U.S. at 615.

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States v. Betancourt, 734 F.2d 750, 758 (11th Cir. 1984)).20 The Court determined

that the prosecutor, rather than intentionally commenting on Windsor’s failure to

testify, “was explaining the difference between felony murder and capital murder,

and arguing that the State had proven Windsor guilty of capital murder” and

clarifying to the jury that “[i]n order to do so, the State had to prove Windsor’s intent

to kill.” Id. at 1023. The Court concluded that “[i]n this narrow context,” the

prosecutor’s remarks correlated with the State’s reliance on circumstantial evidence

to prove Windsor’s intent to kill. Id. at 1023; see also id. at 1024 (“We cannot say

that the [prosecutor] . . . intended to . . . remark on Windsor’s failure to testify [or] .



       20
            The Eleventh Circuit explained that:

                Convictions can be overturned where a comment on a defendant's exercise
       of his right to remain silent, either by the prosecutor or by counsel for a co-defendant,
       impairs the integrity of that right. See, United States v. Aguiar, 610 F.2d 1296, 1302
       (5th Cir.1980), cert. denied, 449 U.S. 827, 101 S.Ct. 91, 66 L.Ed.2d 31 (1981).
       However, not every statement is an impermissible comment on silence. The standard
       for determining if the comment was impermissible is “whether the statement was
       manifestly intended or was of such a character that a jury would naturally and
       necessarily take it to be a comment on the failure of an accused to testify.” United
       States v. Dearden, 546 F.2d 622, 625 (5th Cir.), cert. denied, 434 U.S. 902, 98 S.Ct.
       295, 54 L.Ed.2d 188 (1977). In making this determination the court must “look to
       the context in which the statement was made . . . to determine the manifest intention
       which prompted it and its natural and necessary impact upon the jury.” United States
       v. Forrest, 620 F.2d 446, 455 (5th Cir.1980), quoting Samuels v. United States, 398
       F.2d 964, 967 (5th Cir.), cert. denied, 393 U.S. 1021, 89 S.Ct. 630, 21 L.Ed.2d 566
       (1969).

Betancourt, 734 F.2d at 758.

                                                   30
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. . that the natural and necessary reaction of the jury would be to conclude that the

prosecutor was referring to Windsor’s failure to take the stand[.]”). Thus, the Court

found that “the trial court properly overruled the objection to the prosecutor’s

statement.” Id. at 1024.

       To obtain habeas relief on his exhausted Griffin claim, Windsor must show

that the Alabama Supreme Court’s ruling “resulted in a decision that was contrary to,

or involved an unreasonable application of, clearly established Federal law, as

determined by the Supreme Court of the United States.” 28 U.S.C. § 2254(d)(1). To

meet this standard, 21 Windsor relies on three cases discussed above—Griffin,

Betancourt, Marsden—as well as Solomon v. Kemp, 735 F.2d 395 (11th Cir. 1984),

Bui v. Haley, 321 F.3d 1304 (11th Cir. 1994),22 and the ACCA opinion from his


       21
         “[T]he ‘contrary to’ and ‘unreasonable application’ clauses [have] independent meaning.”
Williams, 529 U.S. at 405 (O’Connor, J., majority opinion with respect to part II).

       Under the “contrary to” clause, a federal habeas court may grant the writ if the state
       court arrives at a conclusion opposite to that reached by this Court on a question of
       law or if the state court decides a case differently than this Court has on a set of
       materially indistinguishable facts. Under the “unreasonable application” clause, a
       federal habeas court may grant the writ if the state court identifies the correct
       governing legal principle from this Court’s decisions but unreasonably applies that
       principle to the facts of the prisoner’s case.

Williams, 529 U.S. at 412-13.
       22
         The reliance on Bui, which quoted the district court’s acknowledgment of the axiom that
“‘one cannot know another’s state of mind,’” Bui, 321 F.3d at 1314, is misplaced. That language is
not a holding, and Bui is not an improper prosecutorial comment case but an equal protection
decision under Batson v. Kentucky, 476 U.S. 79 (1986). Bui, 321 F.3d at 1307.
                                               31
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death penalty proceedings in Colbert County (Windsor (Colbert Cty.)). Docs. 16 at

11-12 ¶ 25; 28 at 2. None of the cases is helpful.

       The Griffin Court did not endorse a test for lower courts to use when

determining whether a prosecutorial comment violated a defendant’s right not to

testify. Solomon clarified that the Eleventh Circuit’s improper prosecutorial comment

test comes from the former Fifth Circuit Court of Appeals, 23 which in turn relied on

decisions that trace back to the Tenth and Second Circuit Court of Appeals,24 and to

Morrison v. United States, 6 F.2d 809 (8th Cir. 1925), the apparent original source of

the standard. 25 But Windsor does not challenge the Alabama Supreme Court’s

reliance on the Eleventh Circuit’s prosecutorial constitutional test. Instead, Windsor

contends that the Court’s reasoning and result were deficient under AEDPA’s




       23
        Solomon, 735 F.2d at 401 & n. 2 (quoting Dearden, 546 F.2d at 625, and noting that, in
Bonner v. Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the Eleventh Circuit adopted
Dearden as binding precedent upon its split from the Fifth Circuit).
       24
          See Davis v. United States, 357 F.2d 438, 441 (5th Cir. 1966) (citing Tenth and Second
Circuits’ Fifth Amendment standard); see also Knowles v. United States, 224 F.2d 168, 170 (10th
Cir. 1955) (“[T]he test is whether the language used was manifestly intended or was of such
character that the jury would naturally and necessarily take it to be a comment on the failure of the
accused to testify.”); United States v. Fay, 349 F.2d 957, 961 (2d Cir. 1965) (adopting Knowles
holding).
       25
          Knowles, 224 F.2d at 170 (citing Morrison); see Morrison, 6 F.2d at 811 (“The test is:
Was the language used manifestly intended to be, or was it of such character that the jury would
naturally and necessarily take it to be a comment on the failure of the accused to testify?”).
                                                32
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contrary to and unreasonable application clauses. Doc. 16 at 12 ¶ 26. The court

disagrees.

      To support his claim, Windsor relies primarily on the outcome of the “Colbert

County capital murder conviction [which was] . . . reversed due to an improper

comment on [Windsor’s] decision not to testify.” Doc. 28 at 5. But that case involved

unrelated conduct by the prosecutor. Specifically, during closing argument in that

trial, the prosecutor stated:

      And the strongest piece of circumstantial evidence that you have in this
      case, and [defense counsel] just glossed over this—State’s Exhibit No.
      31 [the victim’s gun], it has been identified a number of ways in this
      case, but they can’t explain this—they can’t explain why this weapon
      was in the defendant’s pocket when he was arrested. Can you offer me
      another reasonable hypothesis as to how that weapon got there?

Windsor (Colbert Cty.), 593 So. 2d at 90. Windsor’s counsel objected and moved for

a mistrial, based on the prosecutor’s ‘“point[ing] to the defendant”’ when he said

‘“[t]hey cannot explain why he had the deceased’s pistol in his possession at the time

of his arrest.’” Id. In response, the prosecutor maintained that the argument was a

response to an inadequate explanation from Windsor’s counsel “‘of how the gun

could have gotten there.’” Id. The prosecutor admitted pointing in the defense’s

direction but contended that the context of his statement showed that the gesture was




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a reference to counsel instead of Windsor. Id. at 90-91. The trial court denied the

motion and gave no curative instructions. Id. at 92-93.

      Relying mostly on Alabama law and a blocked quotation from an Eleventh

Circuit opinion, the ACCA granted Windsor a new trial. Windsor (Colbert Cty.), 593

So. 2d at 91, 93. The ACCA explained that

      because the prosecutor’s comment, especially in conjunction with his
      gesture towards the defense table at which the appellant was seated,
      constituted an indirect comment on the appellant’s failure to testify and
      because, from the evidence presented, only the appellant could have
      explained why he had possession of the victim’s handgun, the
      prosecutor’s comment could have been construed as “alerting the jury
      to the [appellant’s] opportunity to refute the State’s case.” Ex parte
      Tucker, 454 So.2d 552, 553 (Ala.1984).

Id. at 92. In reversing, the ACCA also noted that “the trial court . . . took no action to

eradicate the prosecutor’s comment.” Id.

      The different outcome in Windsor (Colbert Cty.) does not establish that the

rejection of Windsor’s Griffin claim in the St. Clair County proceedings involved a

contrary to or unreasonable application of federal constitutional law. Importantly, the

St. Clair County prosecutor did not point at the defense table when he uttered “if we

could get into that mind over there and put out here what is in there. . . .” And unlike

the Colbert County case in which only Windsor could explain the presence of the

gun, the Alabama Supreme Court reasoned that the context of the prosecutor’s

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remarks supported a meaning separate from Windsor’s failure to testify, i.e. the

State’s burden to prove circumstantially Windsor’s intent to kill Mr. Howard.

Windsor I, 683 So. 2d at 1023.

       Moreover, even if Windsor is correct that the state courts addressed his Fifth

Amendment rights differently or inconsistently in separate (but factually related)

proceedings, it does not open the door to habeas relief.26 To carry his habeas burden,

Windsor must show that the different Fifth Amendment outcome in the St. Clair

County case was objectively unreasonable under Griffin. To prevail, Windsor must

do more than argue that this court would have decided his Griffin claim differently.

Rather, Windsor must show instead that the Alabama Supreme Court’s opinion was

in contravention of U.S. Supreme Court precedent or “so lacking in justification that

there was an error well understood and comprehended in existing law beyond any

possibility for fairminded disagreement.” Richter, 562 U.S. at 103. He has failed to

do so, and, accordingly, the court denies Claim A.




       26
          The ACCA did not mention Griffin, the Fifth Amendment, or the federal right against self-
incrimination in Windsor (Colbert Cty.). Consequently, the decision is of questionable Fifth
Amendment value. But even if the ACCA had invoked the Fifth Amendment, an Alabama court’s
interpretation of the Fifth Amendment is not “clearly established Federal law, as determined by the
Supreme Court of the United States.” 28 U.S.C. § 2254(d)(1).
                                                35
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                                                 2.

       Windsor contends in Claim B that the State introduced unreliable and tainted

identification witness testimony in violation of his rights to due process, a fair trial,

and a reliable sentencing proceeding under the Fifth, Sixth, Eighth, and Fourteenth

Amendments. Doc. 16 at 12, 20 ¶¶ 27, 38.

                                                 a.

       One of the witnesses, Sammie Sue Osborne, whose house was “about five

miles” from Mr. Howard’s convenience store, identified Windsor as the man who

visited her home with Guthrie “[a]bout midday” on the date of Mr. Howard’s

murder. 27 Vol. 2, Tab 11 at 388, 389; Vol. 3 at 402-03. Ms. S.S. Osborne, who knew

Guthrie through another trial witness, Ms. B. Osborne, Vol. 2, Tab 11 at 388-89,

testified at a hearing that Guthrie and Windsor arrived in the same car and that Guthrie

told her that Windsor’s first name was “Harvey,” id. at 389, 390, 401; Vol. 3 at 402,

403. Ms. S.S. Osborne recalled that Windsor and Guthrie drank Budweiser beer and

“stayed for about thirty minutes.” Vol. 3 at 403. Ms. S.S. Osborne recalled that




       27
          Windsor and the Respondents spell Ms. S.S. Osborne’s last name with an “e” in their
habeas filings. See, e.g., docs. 16, 26, 28. The court reporter who transcribed Ms. S.S. Osborne’s
testimony omitted the “e”. Vol. 2, Tab 11 at 388. Consistent with the Alabama Supreme Court’s
spelling in Windsor II and the habeas record, this court includes an “e” unless quoting from a source
that omits it. The same is true for witness Bobbie Osborne referenced below.
                                                  36
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Windsor wore an old army coat and jeans, but she could not remember details about

his physical appearance. Vol. 2, Tab 11 at 390; Vol. 3 at 405, 406.

      When Ms. S.S. Osborne testified that she could identify Windsor in the

courtroom as the man who came with Guthrie to her home on the day of the murder,

Windsor objected. Vol. 2, Tab 11 at 390-91. The trial court instructed the prosecutor

that he would “have to lay a predicate if [Ms. S.S. Osborne] ha[d] an independent

recollection of [Windsor that was] independent of a lineup” before asking her to

identify Windsor in the courtroom. Id. at 391. As a result, the prosecutor asked Ms.

S.S. Osborne if the Alabama Bureau of Investigation had visited her or if she had

seen case-related photographs before trial. Id. Ms. S.S. Osborne testified that

someone with the St. Clair County Sheriff’s Office showed her a book of

photographs, id. at 391-92, and that she identified Windsor as the person who

accompanied Guthrie to her home after reviewing the pictures, id. at 393. And Ms.

S.S. Osborne then identified Windsor as the person who came with Guthrie to her

house by pointing him out in the courtroom and describing the clothes he was

wearing. Id. at 394-95. She added that Windsor “sat right across [from her at] the

[kitchen] table,” and that Windsor was the same person she had selected from the

photo array before trial. Id. at 395. She affirmed that her identification of Windsor in

the courtroom was an independent recollection. Id.
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      On cross-examination, Windsor’s counsel asked Ms. S.S. Osborne if she

remembered telling him a few days before the trial that she did not remember how

Windsor looked and only remembered what he was wearing. Vol. 2, Tab 11 at 396.

Ms. S.S. Osborne responded, “I told you if I s[aw] [Windsor], I could probably

identify him.” Id. Windsor’s counsel argued that he needed to review the photographs

Ms. S.S. Osborne viewed in order to evaluate the reliability of her courtroom

identification. Id. The trial court disagreed:

      If her in-court identification is not based on the photographs, then the
      photographs aren’t relevant. What she just said sounds like it came from
      the textbooks. She did not remember what he looked like. She could not
      even describe him in the photographs; but her seeing the gentleman in
      the courtroom today, “That is the guy I saw”, that is based on seeing him
      today. If it had been written in the textbook, it wouldn’t be any better
      than that. The Court finds the in-court identification is not based on
      being tainted by the photographs. It is an independent identification
      based on recollection. [The] Court will allow the State to go into it
      without a hearing concerning the photographic lineup.

Id. at 396-97.

      Windsor’s counsel objected:

      I object in that the photographs that she is making an identification from
      has never been presented. We are saying any subsequent identification
      would be tainted as a result of that photograph being shown to her in that
      it could be--again I will put in the record it is our understanding there
      was writing on it. The writing could be so prejudicial so as to influence
      this lady’s identification. It could have had anything on it that would
      have influenced her identification. Until we see that, I’m going to object
      to any further identification.
                                           38
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Id. at 397-98. The trial court stated that Windsor was entitled to see the photographs

and that Windsor’s counsel could cross-examine Ms. S.S. Osborne on her

independent recollection of Windsor based on that evidence. Id. at 398. After the

prosecutor stated that he did not have the photographs and Ms. S.S. Osborne

reiterated that she could not recall who showed them to her, the trial court overruled

the objection:

      I have just held a hearing whereby she made an independent
      identification of the defendant. Where that happens, the argument you
      are asserting does not apply.

Id. at 400. The trial resumed, and Ms. S.S. Osborne identified Windsor in front of the

jury as the person she saw with Guthrie on February 25, 1988. Id. at 401.

                                          b.

      The other witness, Tommy Pepper, is the son of the homicide victim in

Windsor’s Colbert County case. Mr. T. Pepper identified Windsor in a pretrial

photographic lineup and in the courtroom during the St. Clair County trial “as the

man he had seen running from his father’s . . . store on the night of his father’s

murder.” Windsor II, 683 So. 2d at 1051. Windsor argued that Mr. T. Pepper’s

admission that he saw “Windsor’s picture in the newspaper before seeing the

photographic lineup” tainted the identifications. Id.

                                          39
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      During a hearing outside the jury’s presence, Mr. T. Pepper identified Windsor

as the man he saw running out of his father’s store on the day of his father’s murder.

Vol. 4 at 701-03. Mr. T. Pepper testified that he remembered meeting with Doug

Hargett and another person from the sheriff’s office shortly after the murder during

which he selected Windsor’s picture from a photo array, and initialed and dated the

picture “[i]n the bottom righthand corner.” Id. at 703-04, 708. Mr. T. Pepper recalled

reviewing six unmarked photographs “lined up side by side in two rows,” id. at 704,

705, 707, and added that he identified Windsor independently from a photograph, id.

at 709-710.

      On cross-examination, Mr. T. Pepper denied following investigative coverage

of his father’s murder, including an article in his local paper on the morning of the

pretrial identification. Vol. 4 at 711, 712, 713. Windsor’s counsel asked Mr. T. Pepper

if he remembered testifying about reading the paper in a similar hearing in Colbert

County, and Mr. T. Pepper responded that he did not recall. Id. at 711. Windsor’s

counsel showed Mr. T. Pepper two photographs from the article and queried if

Windsor’s picture from the lineup was an exact match with the newspaper. Id. at 712-

13. Mr. T. Pepper answered that he was unable to identify the photograph from the

paper because he did not read the article, and that he did not recall telling anyone that



                                           40
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he had read the article before or finding out Windsor’s name after the pretrial

identification. Id. at 713-15, 719, 720.

      Hargett, an investigator with the Colbert County Sheriff’s Office, testified also

during the screening hearing. Vol. 4 at 721, 723, 751. Hargett recalled that before the

pretrial interview, Mr. T. Pepper “gave . . . a general physical description of the

subject that he saw” on the night of his father’s homicide in a written statement. Id.

at 726. However, the sheriff’s office did not complete a sketch based on the

description due to “[t]he size of [the] department.” Id. at 727. Hargett recalled that

the sheriff’s office arrested Windsor on March 6, 1988 and provided the picture for

the photo array. Vol. 4 at 721-22. Hargett stated that he met with Mr. T. Pepper the

next day, id. at 721, and that Mr. T. Pepper reviewed “a photo spread consisting of

six colored photographs of all white males,” id. at 723. Hargett remembered seeing

“some photographs in the local paper[,]” but he could not recall the date. Id. at 722.

When Windsor’s counsel showed Hargett the front page of the local newspaper from

the day Hargett met with Mr. T. Pepper, Hargett identified the publication and

confirmed that the district attorney released Windsor’s photograph to the paper. Id.

at 722-23. And Hargett testified that Mr. T. Pepper stated that he had read the local

paper before the pretrial identification interview. Id. at 723. While Hargett was unsure

if the photos in the paper and the array were identical, he stated that the images were
                                           41
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“in close proximity.” Id. at 724. And when the prosecutor asked Hargett if Mr. T.

Pepper indicated “whether or not he (Mr. T. Pepper) could make an independent

identification of Windsor,” Hargett responded, “Yes, sir, he did.” Id. Finally, Hargett

added that after Mr. T. Pepper identified Windsor in the photo array, Mr. T. Pepper

initialed and dated the back of the photograph. Id. at 724-25.

      The trial court denied the motion to quash Mr. T. Pepper’s identification after

determining that the totality of the photographic lineup was “not unduly suggestive.”

Windsor II, 683 So. 2d at 1051. The court found that the pictures were of white

younger males with similar hair and beard styles and color, but for one substantially

different photo. Id. The court found insufficient evidence existed to establish that the

newspaper photo tainted Mr. T. Pepper’s pretrial photographic and in-court

identifications. Id.; see also Vol. 4 at 728.

      After the hearing, Mr. T. Pepper identified Windsor in open court. Vol. 4 at

732. He denied following the news coverage about his father’s homicide and testified

that he did not recall telling Hargett about seeing an article before the interview. Id.

at 733-34. Mr. T. Pepper stated that he saw Windsor for “a matter of seconds” from

about thirty yards away on the evening of the crime, id. at 735, that it was dark outside

with some lighting and shadows, and he was running toward the store when he saw



                                            42
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Windsor, id. at 736. Windsor’s counsel inquired twice if Mr. T. Pepper had gotten a

“good look” at Windsor, and Mr. T. Pepper responded affirmatively. Id. at 735-36.

      When Hargett returned to testify before the jury, Windsor’s counsel asked him

about the interview with Mr. T. Pepper. Vol. 4 at 765. Hargett testified that they

arrested Windsor the day before he met with Mr. T. Pepper and that either the district

attorney or the sheriff released Windsor’s photograph to the press. Id. at 766. Hargett

described the picture of Windsor in the photo spread and in the press release as

“[s]ubstantially the same.” Id. at 767. Hargett testified that the local paper ran an

article the morning he met with Mr. T. Pepper that contained the press release photo

of Windsor, and that Mr. T. Pepper stated that he had read the article. Id. at 767-68.

On cross, Windsor’s counsel asked Hargett if the district attorney influenced the

sheriff’s office’s decision to use the photo array instead of a lineup. Vol. 4 at 773.

Hargett confirmed that the district attorney wanted to use a photo array, and that the

sheriff’s office discussed with the district attorney the lineup option given the media

coverage of Windsor’s arrest. Id.

                                           c.

      Windsor challenged unsuccessfully the reliability of the trial identification

testimony on direct appeal. Vol. 9, Tab 32 at iv, 50-56; Vol. 11, Tab 38 at i, 4-19, 15;

Vol. 11, Tab 42 at i, 1-12. Windsor alleged violations of his rights to due process, a
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fair trial, and a reliable verdict under the Fifth, Sixth, Eighth, and Fourteenth

Amendments. Vol. 11, Tab 42 at 2-3. Citing Neil v. Biggers, 409 U.S. 188 (1972) and

Manson v. Brathwaite, 432 U.S. 98 (1977), Windsor presented his federal claim to

the Alabama Supreme Court as one arising under the Fourteenth Amendment’s due

process clause.28 Vol. 11, Tab 42 at 16-18. The court will review these cases first

before addressing Windsor’s claim.

       In Biggers, the Supreme Court disagreed with the district court’s conclusion

that a rape victim’s pretrial identification of a defendant at a single-suspect showup

(versus a lineup) violated due process. Biggers, 409 U.S. at 193, 195, 200. Before

answering this question, the Court summarized the facts and holdings from four other

eyewitness testimony opinions, 29 id. at 196-98, and provided “[s]ome general

guidelines [that] emerge[d] from these cases[:]”


       28
          In Barron v. Baltimore, 32 U.S. (7 Pet.) 243 (1833), the Supreme Court held that it lacked
jurisdiction to hear a Fifth Amendment takings claim against the City of Baltimore, Maryland
because the Fifth Amendment of the United States Constitution (and the Bill of Rights more
broadly) limit the power of the federal government rather than the states. Id. at 248-49, 250-51.
Because Windsor challenges state conduct under 28 U.S.C. § 2254, the Fifth Amendment provides
no basis for habeas relief except through the Fourteenth Amendment incorporation process. While
Windsor is without a cognizable Fifth Amendment due process claim, the Fourteenth Amendment
provides similarly that states may not “deprive any person of life, liberty, or property without due
process of law.” U.S. Const. amend XIV, § 1.
       29
         Stovall v. Denno, 388 U.S. 293, 301-02 (1967) (holding that a totality of the circumstances
standard applies when a defendant claims that the suggestiveness of a pretrial identification
procedure such as a showup violated due process), abrogated on other grounds by United States v.
Johnson, 457 U.S. 537 (1982), Johnson in turn abrogated by Griffith v. Kentucky, 479 U.S. 314
                                               44
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              It is, first of all, apparent that the primary evil to be avoided is ‘a
       very substantial likelihood of irreparable misidentification.’ Simmons v.
       United States, 390 U.S., at 384, 88 S.Ct., at 971. While the phrase was
       coined as a standard for determining whether an in-court identification
       would be admissible in the wake of a suggestive out-of-court
       identification, with the deletion of ‘irreparable’ it serves equally well as
       a standard for the admissibility of testimony concerning the out-of-court
       identification itself. It is the likelihood of misidentification which
       violates a defendant’s right to due process, and it is this which was the
       basis of the exclusion of evidence in Foster. Suggestive confrontations
       are disapproved because they increase the likelihood of
       misidentification, and unnecessarily suggestive ones are condemned for
       the further reason that the increased chance of misidentification is
       gratuitous. But as Stovall makes clear, the admission of evidence of a
       showup without more does not violate due process.

              What is less clear from our cases is whether, as intimated by the
       District Court, unnecessary suggestiveness alone requires the exclusion
       of evidence. While we are inclined to agree with the courts below that
       the police did not exhaust all possibilities in seeking persons physically
       comparable to respondent, we do not think that the evidence must
       therefore be excluded. The purpose of a strict rule barring evidence of
       unnecessarily suggestive confrontations would be to deter the police
       from using a less reliable procedure where a more reliable one may be
       available, and would not be based on the assumption that in every
       instance the admission of evidence of such a confrontation offends due
       process. Clemons v. United States, 133 U.S.App.D.C. 27, 48, 408 F.2d
       1230, 1251 (1968) (Leventhal, J., concurring); cf. Gilbert v. California,
       388 U.S. 263, 273, 87 S.Ct. 1951, 1957, 18 L.Ed.2d 1178 (1967); Mapp

(1987); Simmons v. United States, 390 U.S. 377, 384 (1968) (holding that eyewitness identification
at trial after a pretrial photographic identification “will be set aside on that ground only if the
photographic identification procedure was so impermissibly suggestive as to give rise to a very
substantial likelihood of irreparable misidentification”); Foster v. California, 394 U.S. 440, 442
(1969) (holding that pattern of suggestive pretrial identification procedures violated the defendant’s
due process rights); and Coleman v. Alabama, 399 U.S. 1, 5-6 (1970) (upholding trial court’s
admission of an in-court identification over the petitioners’ claim that an “‘impermissibly
suggestive’” pretrial lineup “‘g[a]ve rise to a very substantial likelihood of irreparable
misidentification’”) (quoting Simmons).
                                                  45
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      v. Ohio, 367 U.S. 643, 81 S.Ct. 1684, 6 L.Ed.2d 1081 (1961). Such a
      rule would have no place in the present case, since both the confrontation
      and the trial preceded Stovall v. Denno, supra, when we first gave notice
      that the suggestiveness of confrontation procedures was anything other
      than a matter to be argued to the jury.

Id. at 198-99 (footnotes omitted). Against this backdrop, the Court assessed whether

under the totality of the circumstances the victim’s “identification was reliable even

though the confrontation procedure was suggestive.” Id. at 199. The Court

summarized the reliability factors to include:

      the opportunity of the witness to view the criminal at the time of the
      crime, the witness’ degree of attention, the accuracy of the witness’ prior
      description of the criminal, the level of certainty demonstrated by the
      witness at the confrontation, and the length of time between the crime
      and the confrontation.

Id. at 199-200. “Weighing all the factors,” including the victim’s “more than

ordinarily thorough” description of her assailant and the “‘no doubt’” certainty of her

identification, the Court found “no substantial likelihood of misidentification” and

upheld the trial court’s admission of the eyewitness evidence. Id. at 201.

      And in Manson, the Court clarified that, post-Stovall, the totality of

circumstances test rather than a blanket exclusionary rule applies to a suggestive

pretrial identification procedure comprising of one photograph. Manson, 432 U.S. at

106-07; see also id. at 114 (“We therefore conclude that reliability is the linchpin in

determining the admissibility of identification testimony for both pre- and post-
                                          46
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Stovall confrontations.”). Although the Court observed that using a photographic

array would be a better practice, balancing the Biggers factors, “[t]he defect, if there

be one, goes to weight and not to substance.” Id. at 114.

                                                 d.

       In analyzing Windsor’s claim that the trial court erred in admitting the

identification testimony of Ms. S.S. Osborne and Mr. T. Pepper, the Alabama

Supreme Court referenced several Supreme Court decisions. 30 Based on these cases,

the Court concluded the trial court properly admitted the identification testimony,

noting as to Ms. S.S. Osborne that she based her in-court identification on Windsor’s

visit to her home during which Windsor sat across from her at the kitchen table, and

that the record lacked “evidence suggesting misidentification.” Windsor II, 683 So.

2d at 1051. As for Mr. T. Pepper, the Court found his testimony supported the trial

court’s decision to admit his out-of-court and in-court identifications. Id. Specifically,

the Court focused on Mr. T. Pepper’s testimony that he did not recall telling anyone



       30
          The Alabama Supreme Court cited Stovall, Biggers, Manson, Simmons. The Court also
cited a Seventh Circuit case, United States v. Briggs, 700 F.2d 408 (7th Cir. 1983), and several state
court decisions. Windsor II, 683 So. 2d at 1050. In Briggs, the Seventh Circuit found that “it is
incumbent upon a defendant to establish that the confrontation procedure in fact was suggestive
prior to reaching the threshold ‘totality of the circumstances’ test of reliability.” Briggs, 700 F.2d
at 412. The Alabama cases underscored the acceptability of admitting an in-court identification
based on a witness’s recollection that was independent from a suggestive pretrial identification
procedure. Windsor II, 683 So. 2d at 1050.

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about seeing the newspaper photo of Windsor before the photographic lineup, that

“he got a good look at [Windsor] on the evening of the crime,” and that he identified

Windsor independently from the photographs. Id.

       To obtain habeas relief on the exhausted due process claim, 31 Windsor must

show that the Alabama Supreme Court’s ruling “resulted in a decision that was

contrary to, or involved an unreasonable application of, clearly established Federal

law, as determined by the Supreme Court of the United States.” 28 U.S.C. §

2254(d)(1). Windsor relies on a litany of decisions to support his position. 32 But

Windsor does not explain how these authorities meet the objective unreasonableness

standard. And to the extent that these cases suggest a different due process result,



       31
           Windsor alleges conclusively in his petition that the trial court’s admission of the
eyewitness testimony violated his Fifth, Sixth, Eighth, and Fourteenth Amendment rights. Doc. 16
at 20 ¶ 38. The Fifth Amendment is inapplicable here. See n. 28 supra. Because Windsor does not
elaborate why he has a cognizable constitutional right under the Sixth or Eighth Amendment, the
court dismisses Windsor’s claims based on those amendments as abandoned, underdeveloped, or
unproven. See, e.g., United States v. Krasnow, 484 F. App’x 427, 429 (11th Cir. 2012) (“A party
abandons all issues on appeal that he or she does not ‘plainly and prominently’ raise in his or her
initial brief.” (quoting United States v. Jernigan, 341 F.3d 1273, 1283 n. 8 (11th Cir. 2003))); U.S.
Steel Corp. v. Astrue, 495 F.3d 1272, 1287 n. 13 (11th Cir. 2007) (explaining that a court need not
address a “perfunctory and underdeveloped argument” that lacks legal authority or elaboration).
       32
         Windsor cites Manson, Simmons, Biggers, Foster, Perry v. New Hampshire, 565 U.S. 228
(2012), Berger v. United States, 295 U.S. 78 (1935), Napue v. Illinois, 360 U.S. 264 (1959), Miller
v. Pate, 386 U.S. 1 (1967), an excerpt from Justice Brennan’s dissenting opinion in Watkins v.
Sowders, 449 U.S. 341, 351 (1981), Mardsen v. Moore, 847 F.2d 1536 (11th Cir. 1988), O’Brien
v. Wainwright, 738 F.2d 1139 (11th Cir. 1984), United States v. Owens, 682 F.3d 1358 (11th Cir.
2012), and other cases. Doc. 16 at 14-15, 17 ¶¶ 30, 33; Doc. 28 at 7-8, 14.

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none demonstrates that the Alabama Supreme Court’s reliability assessment

obviously conflicts with clearly established Supreme Court precedent. For example,

the Supreme Court found in Foster that the “suggestive elements” of the pretrial

identification process “made it all but inevitable that [the witness] would identify

[the] petitioner whether or not he was in fact ‘the man.’” Foster, 394 U.S. at 443

(quoting Biggers v. Tennessee, 390 U.S. 404, 407 (1968)(Douglas, J., dissenting)).

The constitutionally-deficient identification steps in Foster included two suggestive

lineups in which the petitioner “was the only person” to participate twice and an

intervening “one-to-one confrontation between the petitioner and witness.” Foster,

394 U.S. at 443.

       Unlike the situation in Foster, Ms. S.S. Osborne’s pretrial identification

process contained no element of suggestiveness. While Windsor argued that the

sheriff’s office could have tainted the photo array, 33 Windsor had the burden to show

(not simply suggest) the existence of suggestiveness. In that respect, he should have

pressed harder for the pretrial production of the photo array to substantiate his

contention of a compromised identification process. In the absence of a tainted




       33
          See Vol. 2, Tab 11 at 397-98 (stating that “[the photo array] could have had anything on
it that would have influenced her identification”).

                                                49
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procedure linked to law enforcement, Windsor’s due process claim based on Ms. S.S.

Osborne’s identification testimony fails. 34

       The due process claim based on Mr. T. Pepper’s testimony is a closer

constitutional call because of the substantially similar photographs in the newspaper

and the photo array and the conflicting testimony about whether Mr. T. Pepper read

the newspaper on the day at issue. Windsor cites Berger, 35 Napue,36 and Miller,37 as

well as non-Supreme Court cases, 38 for the proposition that “authorities [who]


       34
         See Windsor II, 683 So. 2d at 1051 (observing that the record lacked “evidence suggesting
misidentification”); Briggs, 700 F.2d at 412 (explaining that establishing a suggestive confrontation
procedure is a prerequisite to reaching the Biggers reliability factors) (Briggs cited with approval
in Windsor II).
       35
         Berger, 295 U.S. at 88 (observing that “[t]he United States Attorney is the representative
not of an ordinary party to a controversy, but of a sovereignty whose obligation to govern
impartially is as compelling as its obligation to govern at all; and whose interest, therefore, in a
criminal prosecution is not that it shall win a case, but that justice shall be done”).
       36
          Napue, 360 U.S. at 265, 272 (holding that a prosecutor’s failure to correct a witness’s false
testimony that the witness “had received no promise of consideration in return for his testimony”
violated the petitioner due process rights and may have impacted the jury’s guilty verdict).
       37
          Miller, 386 U.S. at 5-6, 7 (concluding that the prosecutor’s deliberate misrepresentation
to the jury that stains on shorts introduced at trial were from blood (not paint) entitled the petitioner
to habeas relief).
       38
         Because these cases are not Supreme Court holdings, they are not clearly established law.
See 28 U.S.C. § 2254(d)(1). Alternatively, the cited cases do not show that the Alabama Supreme
Court’s treatment of this claim was objectively unreasonable. See, e.g., Watkins, 449 U.S. at 351
(quoting excerpt from Justice Brennan’s dissenting opinion about the unreliability of eyewitness
testimony); Mardsen, 847 F.2d at 1545-46 (concluding that due process required the exclusion of
eyewitness testimony as unreliable after a suggestive identification procedure of “only [one] male
in the photograph”); O’Brien, 738 F.2d at 1141 (denying habeas relief and explaining that the
evidence which weakened the eyewitness identification “was ‘grist for the jury mill.’”) (quoting
                                                50
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deliberately set out to exploit a potentially suggestive identification” act

unconstitutionally. Doc. 16 at 17 ¶ 33. Allegedly, whether “by design or coincidence,

the photograph of Windsor shown to Mr. [T.] Pepper was either identical or a close

approximation of the photo that appeared on the front page of the paper the day that

Mr. [T.] Pepper made the identification.” Id. at 17 ¶ 32. And Windsor notes that the

district attorney “instructed the sheriff to use a photo spread rather than a more

reliable line up procedure,” and that the authorities did not do anything “to safeguard

the reliability of the identification process despite knowing that Mr. [T.] Pepper had

. . . read the March 7th edition [of the newspaper]” that contained Windsor’s picture.

Id. at 17 ¶ 33.

       These facts trigger reliability concerns. Still, they fall short of the prosecutorial

misconduct addressed in Berger, Napue, and Miller, and the inevitable pretrial

identification in Foster. Indeed, Windsor acknowledges that nothing in the record

confirms that the sheriff’s office deliberately used a picture in the photo array that




Manson, 432 U.S. at 116); Owens, 682 F.3d at 1360, 1362 (Barkett, J., dissenting) (discussing the
unreliable nature of eyewitness testimony); New Jersey v. Henderson, 27 A.3d 872, 896 (N.J. 2011)
(summarizing studies on how an administrator’s expectations may influence the outcome of a lineup
or photo array identification) (cited in Owens dissenting opinion); United States ex rel. Kirby v.
Sturges, 510 F.2d 397, 405-06 (7th Cir. 1975) (concluding that the due process clause does not
require the exclusion of showup identification evidence even though the prosecutor cannot “justify
the failure to use a more reliable identification procedure”).

                                               51
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was substantially similar to the one published in newspaper and concedes that a

coincidental closeness of the images may not call for constitutional exclusion. Doc.

16 at 17 ¶ 32. Windsor argues instead that the sheriff’s office should have used a

lineup procedure in light of the timing of the newspaper article and Mr. T. Pepper’s

interview to produce a more reliable identification. Id. at 17-18 ¶ 33. But accepting

that contention does not mean that due process precedent required it or that the

Alabama Supreme Court’s rejection of Windsor’s reliability claim was objectively

unreasonable. See Simmons, 390 U.S at 384 (declining to prohibit pretrial

identification by photograph “as a matter of constitutional requirement”). And while

the Alabama Supreme Court did not write about each Biggers factor, its reference to

Mr. T. Pepper’s “got a good look” testimony signifies that the Court placed

significant value on the reliability test’s first and second factors—opportunity to view

the suspect and degree of attention paid. Finally, although the Court did not discuss

whether “the photographic identification procedure was so impermissibly suggestive

as to give rise to a very substantial likelihood of irreparable misidentification[,]”

Simmons, 390 U.S. at 384, its reference to Simmons is consistent with an implicit

conclusion that the risk posed did not require exclusion of the evidence.39


       39
         See Neal v. Puckett, 239 F.3d 683, 695 (5th Cir.) (“[I]t is not immediately clear to us
whether a federal habeas court looks exclusively to the objective reasonableness of the state court’s
ultimate conclusion or must also consider the method by which the state court arrives at its
                                                52
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       To close, Windsor has the burden of satisfying the unreasonable application

standard and failed to do so on this unreliable testimony claim. 40 Thus, the court

denies Claim B.

                                                3.

       Windsor contends in Claim C that the State did not offer race-neutral reasons

for striking two African Americans from the venire in violation of Batson, Powers v.

Ohio, 499 U.S. 400 (1991), and his rights under the Fifth, Sixth, Eighth, and

Fourteenth Amendments. Docs. 16 at 22 ¶ 41; 28 at 15. Allegedly, the record does

not support the prosecutor’s explanations for striking the two prospective jurors. Doc.

16 at 21 ¶ 39. The court disagrees.

                                                a.

       Using peremptory challenges to exclude potential jurors “solely on account of

their race” is a violation of the Fourteenth Amendment’s equal protection clause.



conclusion.”), reh’g en banc granted by 239 F.3d 683 (5th Cir.), habeas relief denied en banc by
264 F.3d 1149 (5th Cir. 2001); Wright v. Sec’y for Dep’t of Corr., 278 F.3d 1245, 1254 & n. 2 (11th
Cir. 2002) (holding that “the summary nature of a state court’s decision does not lessen the
deference that it is due” on habeas review and quoting with approval Neal and Hennon v. Cooper,
109 F.3d 330, 335 (7th Cir. 1997)); Hennon, 109 F.3d at 335 (limiting the scope of unreasonable
application review to “whether the determination is at least minimally consistent with the facts and
circumstances of the case”).
       40
        Windsor invokes the “contrary to” clause too. Doc. 16 at 20 ¶ 38. Based on this court’s
unreasonable application analysis, Windsor has not shown a contrary application of Supreme Court
precedent either.
                                               53
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Batson, 476 U.S. at 89. 41 The Court has established a “three-step inquiry” for

evaluating a “defendant’s Batson challenge to a peremptory strike.” Rice, 546 U.S.

at 338.

       First, the trial court must determine whether the defendant has made a
       prima facie showing that the prosecutor exercised a peremptory
       challenge on the basis of race. Second, if the showing is made, the
       burden shifts to the prosecutor to present a race-neutral explanation for
       striking the juror in question. Although the prosecutor must present a
       comprehensible reason, the second step of this process does not demand
       an explanation that is persuasive, or even plausible; so long as the reason
       is not inherently discriminatory, it suffices. Third, the court must then
       determine whether the defendant has carried his burden of proving
       purposeful discrimination. This final step involves evaluating the
       persuasiveness of the justification proffered by the prosecutor, but the
       ultimate burden of persuasion regarding racial motivation rests with, and
       never shifts from, the opponent of the strike.

Id. (quoting Purkett v. Elem, 514 U.S. 765, 767-68 (1995); citing Batson, 476 U.S. at

96-98 (internal quotations and citations omitted)).

       At trial, the court overruled Windsor’s challenge to the strikes, noting that

Windsor did not have “a prima facie case of racial discrimination under Batson”

because the prosecutor “used two of its seventeen peremptory strikes to” remove two

of the four black venire members and that the jury panel had “more blacks

proportionately . . . than . . . the venire.” Vol. 2 at 286, 287. Despite this finding, the



       41
         In Powers, the Supreme Court held that a criminal defendant’s race is irrelevant when
considering a Batson claim. Powers, 499 U.S. at 402.
                                              54
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court required the prosecutor nonetheless to provide “race neutral reasons” to

facilitate subsequent review of the Batson claim. Id. at 286-87. In response, as to the

first challenged juror, the prosecutor cited failing to report, appearing late or being

under the influence of alcohol for jury service, opposing jury service for conflicting

work-related reasons, and expressing opposition to the death penalty initially. Id. at

288-89. And for the second juror, the prosecutor cited a disbelief in “capital

punishment except for certain cases.” Id. at 289. The prosecutor added that the State

had used peremptory strikes on everyone who disbelieved in capital punishment. Id.

Consequently, the trial court found that the prosecutor’s explanations were race

neutral – “such that [a prosecutor] would strike any juror regardless of [the person’s]

race.” Vol. 2 at 289-290. And on direct appeal, the Alabama Supreme Court

“conclude[d] that the reasons given by the prosecutor were race-neutral and that the

striking of the two African–Americans from the jury did not violate Batson . . . [or]

Powers[.]” Windsor II, 683 So. 2d at 1050.

                                          b.

      The court accepts that Windsor has made a prima facie case. Consequently, the

court proceeds to the next two steps of the analysis and finds that the prosecutor’s

reasons for striking the two venire members were unrelated to race and satisfy step



                                          55
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two.42 As the Purkett Court has noted, “[w]hat it means by a ‘legitimate reason’ is

not a reason that makes sense, but a reason that does not deny equal protection.” 514


       42
        The Purkett Court provided the following guidance on the second and third steps of a
Batson habeas claim:

               The Court of Appeals appears to have seized on our admonition in Batson
       that to rebut a prima facie case, the proponent of a strike “must give a ‘clear and
       reasonably specific’ explanation of his ‘legitimate reasons’ for exercising the
       challenges,” Batson, supra, 476 U.S., at 98, n. 20, 106 S.Ct., at 1724, n. 20 (quoting
       Texas Dept. of Community Affairs v. Burdine, 450 U.S. 248, 258, 101 S.Ct. 1089,
       1096, 67 L.Ed.2d 207 (1981)), and that the reason must be “related to the particular
       case to be tried,” 476 U.S., at 98, 106 S.Ct., at 1724. See 25 F.3d, at 682, 683. This
       warning was meant to refute the notion that a prosecutor could satisfy his burden of
       production by merely denying that he had a discriminatory motive or by merely
       affirming his good faith. What it means by a “legitimate reason” is not a reason that
       makes sense, but a reason that does not deny equal protection. See Hernandez, supra,
       at 359, 111 S.Ct., at 1866; cf. Burdine, supra, at 255, 101 S.Ct., at 1094 (“The
       explanation provided must be legally sufficient to justify a judgment for the
       defendant”).

              The prosecutor’s proffered explanation in this case-that he struck juror
       number 22 because he had long, unkempt hair, a mustache, and a beard-is race
       neutral and satisfies the prosecution’s step two burden of articulating a
       nondiscriminatory reason for the strike. “The wearing of beards is not a
       characteristic that is peculiar to any race.” EEOC v. Greyhound Lines, Inc., 635 F.2d
       188, 190, n. 3 (CA3 1980). And neither is the growing of long, unkempt hair. Thus,
       the inquiry properly proceeded to step three, where the state court found that the
       prosecutor was not motivated by discriminatory intent.

               In habeas proceedings in federal courts, the factual findings of state courts
       are presumed to be correct, and may be set aside, absent procedural error, only if
       they are “not fairly supported by the record.” 28 U.S.C. § 2254(d)(8). See Marshall
       v. Lonberger, 459 U.S. 422, 432, 103 S.Ct. 843, 849, 74 L.Ed.2d 646 (1983). Here
       the Court of Appeals did not conclude or even attempt to conclude that the state
       court’s finding of no racial motive was not fairly supported by the record. For its
       whole focus was upon the reasonableness of the asserted nonracial motive (which it
       thought required by step two) rather than the genuineness of the motive. It gave no
       proper basis for overturning the state court’s finding of no racial motive, a finding
       which turned primarily on an assessment of credibility, see Batson, 476 U.S., at 98,
       n. 21, 106 S.Ct., at 1724, n. 21. Cf. Marshall, supra, at 434, 103 S.Ct., at 850.
                                                 56
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U.S. at 769. Therefore, to prevail at step three, Windsor must overcome the state

court’s finding of no purposeful racial discrimination with clear and convincing

evidence.43 Windsor has failed to make this showing.

       Windsor correctly points out that the trial judge stated that “I don’t have

evidence of [the first prospective juror’s drinking alcohol yesterday.]” Vol. 2 at 269.

Still, the prosecutor’s reliance on the stricken venire members’ capital punishment

statements outweighs that evidentiary deficit and supports the trial court’s

conclusion. Nothing about the prosecutor’s death penalty-driven rationale was

inherently discriminatory. And Windsor does not refute the prosecutor’s statement

that he used peremptory strikes on white venire members who shared similar views




Purkett, 514 U.S. at 769. The Court’s reference to 28 U.S.C. § 2254(d)(8) and the “fairly supported
by the record” standard corresponds with the pre-AEDPA version of § 2254.
       43
            As the Court held in Rice,

               On direct appeal in federal court, the credibility findings a trial court makes
       in a Batson inquiry are reviewed for clear error. Under AEDPA, however, a federal
       habeas court must find the state-court conclusion an unreasonable determination of
       the facts in light of the evidence presented in the State court proceeding. Thus, a
       federal habeas court can only grant [the habeas] petition if it was unreasonable to
       credit the prosecutor’s race-neutral explanations for the Batson challenge. State-
       court factual findings, moreover, are presumed correct; the petitioner has the burden
       of rebutting the presumption by clear and convincing evidence.

Rice, 546 U.S. at 338-39 (internal citations and quotations omitted).


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about capital punishment, nor does Windsor challenge the prosecutor’s explanation

that he also struck the first individual due to his or her conflicting work-related

reasons for opposing jury service. And, even if Windsor is correct that the second

stricken individual was not “unequivocally” against the death penalty, see doc. 16 at

21 ¶ 39, the focus of Batson is the sincerity of the prosecutor’s motive for the strike

rather than the reasonableness of the decision. While the prospective juror may

perhaps support the death penalty in some circumstances, there is nothing inherently

discriminatory about a prosecutor focusing only on the anti-death penalty component

of the juror’s answers if the prosecutor does so consistently across the panel.

       To close, Windsor has not rebutted the correctness of the trial court’s findings

with clear and convincing evidence to show he is entitled to habeas relief under

Batson. 44 Consequently, the court denies Claim C. 45


       44
          Windsor alleges that he is entitled to habeas relief under both prongs of 28 U.S.C. §
2254(d)(1). Doc. 16 at 22 ¶ 41. Consistent with binding Batson authorities, this court has evaluated
Windsor’s Batson claim under 28 U.S.C. § 2254(d)(2). See doc. 28 at 15 (“Windsor thinks that the
facts and citations to authority contained in his First Amended Petition for Writ of Habeas Corpus
are sufficient for this Court to review this issue.”). Still, the foregoing analysis shows that the
Alabama Supreme Court’s Batson review was neither contrary to nor an unreasonable application
of Supreme Court precedent. Thus, Windsor cannot obtain habeas relief under § 2254(d)(1) either.
       45
         Windsor alleges conclusively in his petition that the state’s Batson-conflicting strikes
violated his Fifth, Sixth, Eighth, and Fourteenth Amendment rights. Doc. 16 at 22 ¶ 41. But the
Fifth Amendment is inapplicable here. See n. 28 supra. And because Windsor does not elaborate
why he has a cognizable constitutional right under the Sixth or Eighth Amendment, Windsor’s
claims based on those amendments are abandoned, underdeveloped, or unproven.

                                                58
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                                            4.

       Windsor maintains in Claim D that the State’s reliance on Mr. T. Pepper’s

identification testimony violated his rights to due process, a fair trial, and a reliable

sentencing procedure under the Fifth, Sixth, Eighth, and Fourteenth Amendments.46

Doc. 16 at 25 ¶ 46. As to this claim, Windsor does not rely on an unreasonable

application of Biggers as discussed in Claim B. Rather, Windsor proceeds on a theory

of a contrary to or objectively wrong outcome under Johnson v. Mississippi, 486 U.S.

578 (1988), Gardner v. Florida, 430 U.S. 349 (1977), and Woodson v. North

Carolina, 428 U.S. 230 (1976).47 Docs. 16 at 24, 25 ¶¶ 44, 46; 28 at 15.

       This claim is based on the life sentence Windsor received in his retrial for the

murder of the elder Mr. Pepper in Colbert County. In that retrial, Mr. T. Pepper did


       46
          Although Windsor alleges in his petition that the State’s reliance on Mr. T. Pepper’s
eyewitness testimony violated his Fifth, Sixth, Eighth, and Fourteenth Amendment rights, doc. 16
at 25 ¶ 46, Windsor focuses only on Eighth and Fourteenth Amendment authorities in framing this
constitutional issue. Doc. 16 at 24 ¶ 44; Doc. 28 at 15. Thus, he has abandoned his claims, if any,
related to these other amendments. Moreover, the Fifth Amendment is inapplicable here. See n. 28
supra. And, because Windsor does not elaborate why he has a cognizable constitutional right under
the Sixth Amendment, that claim is abandoned, underdeveloped, or unproven.
       47
          In Johnson, the Supreme Court held that the state court incorrectly concluded that “the
reversal of [a prior] conviction did not affect the validity of a death sentence based on that
conviction” and ordered “a reexamination of [the] petitioner’s death sentence” under the Eighth
Amendment. Johnson, 486 U.S. at 580, 584. The Supreme Court considered the constitutionality
of a presentence report process and a mandatory death sentence statute in Gardner and Woodson.
See Gardner, 430 U.S. at 351 (holding that a trial court’s reliance on undisclosed portions of a
presentence investigative report to impose a death sentence violated the Fourteenth Amendment’s
due process clause); Woodson, 428 U.S. at 305 (concluding that death sentences “under North
Carolina’s mandatory death sentence statute violated the Eighth and Fourteenth Amendments”).
                                                59
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not identify Windsor as the man running from his father’s store because the

prosecution consented to the suppression of that testimony. Doc. 16 at 22, 24 ¶¶ 42,

44. Windsor contends that the absence of Mr. T. Pepper’s testimony is the “singular

difference” in his two Colbert County criminal trials. Id. Consequently, he argues that

the modified scope of Mr. T. Pepper’s testimony and the lesser-included offense

verdict in the Colbert County retrial undermine the reliability of the St. Clair County

death sentence. Doc. 16 at 22 ¶ 42. And, Windsor theorizes that without Mr. T.

Pepper’s identification testimony, the jury in his St. Clair County case also would not

have returned a death sentence. Vol. 11, Tab 38 at 2. The Rule 32 court disagreed and

rejected the claim as procedurally barred under Rule 32.2(a). Vol. 15 at 210-15; Vol.

15, Tab 55 at 267. The ACCA affirmed:

      The circuit court properly found that this claim was precluded because
      several arguments about [Mr. T.] Pepper’s testimony were raised and
      addressed at trial and on direct appeal. See Rule 32.2(a)(2) and (4), Ala.
      R.Crim. P. To the extent Windsor may raise additional arguments about
      [Mr. T.] Pepper’s testimony, those arguments are precluded because he
      could have raised them at trial and on direct appeal, but did not. See Rule
      32.2(a)(3) and (5), Ala. R.Crim. P.

Windsor Rule 32, 89 So. 3d 805, 825 (Ala. Crim. App. 2009).

                                          a.

      The Respondents contend that Windsor has procedurally defaulted on this

claim, asserting that the independent and adequate state ground doctrine normally
                                          60
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precludes a habeas court from considering a claim dismissed under Rule 32.2(a) and

that Windsor has not alleged facts that establish an exception to the habeas procedural

bar.48 Doc. 26 at 27. Windsor concedes that “[t]he State’s argument that this claim

was not raised on direct appeal is correct.” Doc. 28 at 16. Still, based on his contention

that “[t]he facts relevant to this issue did not occur until [he] was retried on his Colbert

County charge on February 1, 1993,” Windsor argues that he “can prevail upon a

claim of newly discovered evidence” under Rule 32.1(e)(1)49 and that “the issue was

properly before the State Courts in [his] Rule 32 Petition.” Id.

        The court revisits some of the procedural history in light of Windsor’s

temporal-based argument. Briefly, after the jury returned a capital offense verdict in

the St. Clair County case, the trial court sentenced Windsor to death in June 1992.

Vol. 6, Tab 28 at 1127; Vol. 8, Tab 30 at 13-28. After the court denied Windsor’s

motion for a new trial, Vol. 8, Tab 30 at 9-11, Windsor appealed and filed his initial


        48
          See Wainwright, 433 U.S. at 87 (treating a waived trial objection like a state procedural
waiver and holding that a petitioner cannot obtain habeas review of the claim absent establishing
cause and prejudice); see also Brownlee v. Haley, 306 F.3d 1043, 1065-66 (11th Cir. 2002) (holding
that an Alabama court’s denial of post-conviction relief under Rules 32.2(a)(3) and (5) creates a
habeas procedural bar subject to two exceptions—cause and prejudice and fundamental miscarriage
of justice).
        49
          Ala. R. Crim. P. 32.1(e)(1) states: “The facts relied upon were not known by the petitioner
or the petitioner’s counsel at . . . trial or sentencing[,] . . . posttrial[,] . . . or in . . . a[] previous
collateral proceeding and could not have been discovered by any of those times through the exercise
of reasonable diligence[.]”

                                                     61
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brief with the ACCA in November 1992, Vol. 9, Tab 32 at 71. Windsor filed his post-

remand brief in April 1994, Vol. 11, Tab 38 at i, 32, but did not present this

unreliability claim in his brief even though by his own admission the facts relevant

to this issue occurred in his “retrial on his Colbert County charge on February 1,

1993.” Doc. 28 at 16. Because of that admitted default, Windsor cannot rely on Rule

32.1(e) to save this claim. In particular, Windsor’s noncompliance with Rule

32.2(a)(5)—Rule 32’s direct appeal procedural bar—precludes him from relying on

Rule 32.1(e)’s new evidence opening. 50 And because Windsor does not identify,

much less demonstrate, why an exception may entitle him to habeas review despite

the independent and adequate state ground hurdle, he has abandoned challenging the

application of this habeas bar.

                                                 b.

       Alternatively, to the extent Windsor is seeking to invoke the cause and

prejudice exception based on his contention that the timing of the Colbert County

retrial prevented him from arguing this claim to the trial court, see doc. 28 at 16,

cause requires that Windsor “show that some objective factor external to the defense


       50
          See Ala. R. Crim. P. 32.1(e)(1) (providing that “[s]ubject to the limitations of Rule 32.2,”
a petitioner may seek relief based on “[n]ewly discovered material facts” that were unknown and,
despite reasonable diligence, undiscoverable during trial, sentencing, posttrial, or a “previous
collateral proceeding”).

                                                 62
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impeded counsel’s efforts to comply with the State’s procedural rule.” Carrier, 477

U.S. at 488. Examples of acceptable cause include when the facts support a federal

claim which “is so novel that its legal basis is not reasonably available to counsel,”

or when a claim involves “‘some interference by officials.’” Id. (citations omitted).51

In Windsor’s case, however, he has not argued that an evolving constitutional

principle or official interference caused his noncompliance with Rule 32.2(a)(3) or

(5). Instead, he relies on the favorable prospective developments in the Colbert

County retrial as cause for not complying with Rule 32.2(a). However, Windsor

offers no support for his contention that the court can construe the scope of the cause

test that broadly. Moreover, he does not explain why he omitted this February 1993

claim when he filed his post-remand brief in April 1994. Vol. 11, Tab 38 at i, 32.

Consequently, Windsor has not shown cause.

       Windsor also cannot satisfy the prejudice standard, which requires that he

demonstrate that a constitutional error actually and substantially disadvantaged his

defense. Frady, 456 U.S. at 170. Windsor has not substantiated why the State’s

tactical consent to the motion to suppress and the non-death verdict in the Colbert



       51
         See also Reed, 468 U.S. at 17 (describing three categories of novel federal law—when the
Court overrules prior precedent, overturns a practice “which a near-unanimous body of lower court
authority has expressly approved[,]” or rejects a practice previously approved in other of the Court’s
decisions) (internal quotation marks omitted) (citing and quoting Johnson, 457 U.S. at 549, 551.
                                                  63
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County retrial transformed the State’s prior reliance on Mr. T. Pepper’s identification

testimony in the St. Clair County case into an unconstitutional act. “[A petitioner]

must shoulder the burden of showing, not merely that the errors at his trial created a

possibility of prejudice, but that they worked to his actual and substantial

disadvantage, infecting his entire trial with error of constitutional dimensions.” Id.

(emphasis in original). He cannot make that showing where, as here, Mr. T. Pepper

did not recant his testimony, and the Colbert County trial court did not suppress his

identification testimony. Instead, the State chose not to oppose Windsor’s motion to

suppress in that case. Johnson, Gardner, and Woodson do not hold that a

constitutional violation occurs if a state agrees to suppress (previously-used)

identification testimony in the retrial of a factually-related, but separate criminal case.

And absent a constitutional error, Windsor cannot meet the prejudice prong.52

       Finally, relief is not warranted because Johnson, Gardner, and Woodson do

not substantiate that the State violated Windsor’s constitutional rights, or that the




       52
          Windsor also cannot satisfy the fundamental miscarriage of justice exception since he does
not allege or show that his actual or factual innocence entitles him to habeas review. See Schlup,
513 U.S. at 315-16 (“Schlup’s claim of innocence is thus ‘not itself a constitutional claim, but
instead a gateway through which a habeas petitioner must pass to have his otherwise barred
constitutional claim considered on the merits.’” And, explaining that when a petitioner alleges that
his trial was unfair, he must offer sufficient evidence of “doubt about his guilt to justify the
conclusion that his execution would be a miscarriage of justice”).

                                                64
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ACCA acted contrary to or unreasonably applied Supreme Court precedent.

Therefore, for all these reasons, the court denies Claim D.

                                              5.

       Windsor cites “irregularities” with the jury summoning and empaneling

processes in Claim E. Doc. 16 at 25-26 ¶ 47. Allegedly, the St. Clair County Clerk’s

Office’s practice of excusing potential jurors without appearing before the trial judge,

the sheriff’s inability to locate some potential jurors, and the trial court’s reduction

of potential jurors through a lottery system constitutionally compromised the

venire.53 Id. Windsor asserts that the excusal practice and “the sheriff’s inability to

locate and serve some potential jurors, resulted in the removal of 102 potential jurors

from the venire list before [his] jury venire was summoned to appear.” Id. (emphasis

in original). Windsor objects also to the trial court’s lottery-based dismissal of other

prospective jurors which he contends reduced the venire for his case to 60 members.

Id. Allegedly, “[t]he trial court’s refusal to quash the venire given the irregularities

in the composition” violated his rights to due process, a fair trial by an impartial jury



       53
         In reply, Windsor abandons the challenge that the state denied him the “right to be present
during the illegal granting of excuses to prospective jurors by court personnel . . . .” Doc. 28 at 17;
cf. Lewis v. United States, 146 U.S. 370, 376 (1892) (holding that because preemptory “challenges
[are] an essential part of a trial,” a defendant has the right under the confrontation clause to be
present for that process).

                                                   65
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selected from a fair cross section of the community, and a reliable sentencing

proceeding under the Fifth, Sixth, Eighth, and Fourteenth Amendments.54 Id. at 28 ¶

51.

                                                   a.

       Windsor challenged the constitutionality of the clerk office’s practice of

approving excuses without judicial involvement before the ACCA successfully. The

ACCA held that the trial court’s noncompliance with two statutes applicable to

excusing persons summoned for jury service—§§ 12-16-74 and 12-16-145 of the

Code of Alabama (1975) 55 —violated Windsor’s federal due process rights and


       54
         Windsor alleges in his petition that the jury venire composition violated his Fifth, Sixth,
Eighth, and Fourteenth Amendment rights. Doc. 16 at 28 ¶ 51. However, the Fifth Amendment is
inapplicable here. See n. 28 supra. And because Windsor does not elaborate why he has a
cognizable right under the Eighth Amendment, that claim is abandoned, underdeveloped, or
unproven.
       55
            Section 12-16-74 provides partially:

       The court shall require the names to be called from the venire list of all persons who
       have been served with a summons to appear in court that day for service as jurors
       and whose service has not been previously excused or postponed. The court may
       hear any excuses not previously heard and shall pass upon the qualifications of those
       in attendance for grand jury service. The court may in any case, including capital
       cases, excuse or postpone the service of any prospective juror outside the presence
       of the parties and their counsel in accordance with the provisions for excusal
       contained in Section 12-16-63.

Ala. Code § 12-16-74. And, Under Alabama’s alternate juror selection and qualification plan, “the
presiding circuit judge, or a court official designated by him, shall have the authority to disqualify
the prospective juror or to excuse or postpone his service to any future date, notwithstanding the
provisions of any other law.” Ala. Code § 12-16-145.
                                                   66
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“impinge[d] the integrity of the jury selection process.” Windsor I (ACCA), 683 So.

2d at 1015, 1016. The court found that “the due process rights of American citizens”

attach to Alabama’s statutory options for excusing potential jurors and that, because

only a trial judge or a presiding judge’s designee has the authority to excuse

prospective jurors, the dismissal of prospective jurors by the clerk’s office denied

Windsor due process under the Fourteenth Amendment. Id. at 1015, 1017.

       The Alabama Supreme Court reversed. Windsor I, 683 So. 2d at 1027. The

Court noted that Windsor objected to “the practice in St. Clair County of excusing

jurors by telephone []as arbitrary[,] . . . unlawful[,] and result[ing] in a ‘tainted jury,’”

and that Windsor’s claim “seem[ed] to involve a Sixth Amendment fair-cross-section

argument.” 56 Id. at 1025. The Court determined however that Windsor’s allegations

“d[id] not truly rise to the level of a constitutional challenge to the array.” Id. In


       56
          The Sixth Amendment provides that “[i]n all criminal prosecutions, the accused shall
enjoy the right to a speedy and public trial, by an impartial jury of the State and district wherein the
crime shall have been committed[.]” U.S. Const. amend. VI. The Supreme Court has interpreted
this language to prohibit systematic exclusion of demographic groups from jury service:
“Defendants are not entitled to a jury of any particular composition, but the jury wheels, pools of
names, panels, or venires from which juries are drawn must not systematically exclude distinctive
groups in the community and thereby fail to be reasonably representative thereof.” Taylor v.
Louisiana, 419 U.S. 522, 538 (1975) (citations omitted). Whether a petitioner is part of the excluded
group is inconsequential to a constitutional cross-section claim. See Taylor, 419 U.S. at 523, 537
(holding unconstitutional a Louisiana statute which “provided that a woman should not be selected
for jury service unless she had previously filed a written declaration of her desire to be subject to
jury service” in male defendant’s case); Duren v. Missouri, 439 U.S. 357, 359 (1979) (holding
unconstitutional statute which “provided an automatic exemption from jury service for any women
requesting not to serve” in male petitioner’s case).
                                                   67
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particular, after examining the “two alternative plans and procedures for qualifying,

selecting, drawing, summoning, and empaneling juries in Alabama” and “four

distinct stages” of the jury selection process, the Court discussed the record of

excuses in Windsor’s case. Id. at 1024-25. Based on the county clerk’s testimony, the

Court found that she, her assistant clerks, and occasionally a judge excused 30

prospective jurors, but that “[e]xactly which jurors were excused for what reasons

[wa]s not clear from the record.” Id. at 1025. Generally, the clerk recalled that

“‘students [who] were taking exams and people who were on vacations and elderly

people and physically impaired people’” received excuses. Id. The Court found that

“[n]one of these reasons would be inappropriate if a juror presented it to the judge

after appearing.” Id. The Court observed that the State “could have avoided this

problem entirely” by delegating authority under either jury selection plan and

providing “some catalog of acceptable excuses to guide those so empowered[.]” Id.

at 1026.

      The Court highlighted one “suggestion of impropriety” in which the clerk

acknowledged that the practice did not preclude a friend of someone in the courthouse

from obtaining an excuse based on that relationship. Windsor I, 683 So. 2d at 1026.

The clerk “‘suppose[d]’” that such a situation could have occurred in Windsor’s case.



                                         68
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Id. Still, the Court found no evidence of legal fraud under Ala. Code § 12-16-80 or

purposeful demographic interference in the resulting venire: 57

       Windsor has shown nothing to indicate any purposeful and systematic
       exclusion of any identifiable class of potential jurors, nor has he shown
       that he suffered any harm as a result of such an alleged exclusion.
       Although there may be some slight discrepancy between the percentages
       of certain classes of persons living in St. Clair County and the
       percentages of those same classes as represented on the venire from
       which Windsor’s jury was chosen, no statistical analysis would reveal
       the invidious discrimination already prohibited by Alabama law.

Id. The Court concluded that “the actions of the clerk, her staff, and possibly a judge

or two, were not a usurpation of authority, but, instead were the natural result of an

attempt to conform to the spirit, if not the letter, of the statutes.” Id. at 1027.

                                               b.

       Turning to the Sixth Amendment analysis first, Windsor relies on Duren and

Taylor to argue that the Alabama Supreme Court’s rejection of his cross-section claim

contradicted or unreasonably applied Supreme Court precedent.58 Doc. 16 at 27, 28


       57
        Section 12-16-80 of the Alabama Code gives a trial court the power to quash a jury venire
upon proof of legal fraud. Ala. Code § 12-16-80.
       58
           Additionally, Windsor cites Castaneda v. Partida, 430 U.S. 482 (1977), doc. 16 at 27 ¶
48, and Duncan v. Louisiana, 391 U.S. 145 (1968), doc. 28 at 17, to support his Sixth Amendment
cross-section claim. But neither case advances Windsor’s Sixth Amendment contention. In
Castaneda, the Supreme Court applied the Fourteenth Amendment’s equal protection clause “in
the context of grand jury selection.” 430 U.S. at 494. In Duncan, the Supreme Court held that “the
Fourteenth Amendment guarantees a right of jury trial in all criminal cases which—were they to be
tried in a federal court—would come within the Sixth Amendment's guarantee.” 391 U.S. at 150.

                                               69
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¶¶ 48, 51. To prove a Sixth Amendment fair-cross-section violation, Windsor must

show

       (1) that the group alleged to be excluded is a “distinctive” group in the
       community; (2) that the representation of this group in venires from
       which juries are selected is not fair and reasonable in relation to the
       number of such persons in the community; and (3) that this
       underrepresentation is due to systematic exclusion of the group in the
       jury-selection process.

Duren, 439 U.S. at 364. Windsor meets the first element—he contends that “the

arbitrary process used to compose the venire in this case—which the Circuit Clerk

admitted might be subject to abuse—resulted in a venire in which African-Americans

were underrepresented . . . .” Doc. 16 at 27 ¶ 48. However, Windsor cannot meet the

second element. He has not offered a statistical analysis or other proof to substantiate

an underrepresentation of African Americans in his venire. 59 Nor does this court

believe that a quantitative assessment would show an underrepresentation of African

Americans. As the Alabama Supreme Court noted, Windsor’s counsel argued that

“the population of St. Clair County is . . . 10% African-American” and although “the

fair-cross-section requirement is inapplicable to petit juries,” 16% of the jurors in

Windsor’s trial were African Americans. Windsor I, 683 So. 2d at 1025 n. 2.


       59
           See Duren, 439 U.S. at 365-66 (“Given petitioner’s proof that in the relevant community
slightly over half of the adults are women, we must disagree with the conclusion of the court below
that jury venires containing approximately 15% women are ‘reasonably representative’ of this
community.”).
                                                70
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Therefore, because Windsor is without a prima facie cross-section claim, 60 the

Alabama Supreme Court’s rejection of this alleged Sixth Amendment violation was

neither contrary to nor an unreasonable application of Supreme Court precedent.

                                                 c.

       The rest of Windsor’s arguments are also unconvincing. First, Windsor alleges

that the deficiently-formed jury venire violated his right to fundamental fairness in a

capital case. Docs. 16 at 28 ¶ 51; 28 at 18-19. Citing several decisions in which the

Supreme Court identified the need for heightened reliability in death penalty cases,61

Windsor argues that the arbitrary composition of the venire resulted in an unreliable



       60
           Windsor also cannot satisfy the third element because none of the challenged practices—
i.e. the clerk’s testimony about a potential for friendship-based abuse in the practice of approving
excuses, the sheriff’s inability to locate persons summoned for jury service because of bad
addresses, and the trial court’s lottery-based reduction of venire members—do not evidence
purposeful race exclusion.
       61
           See Woodson, 428 U.S. at 305 (“Because of th[e] qualitative difference [between the death
penalty and a sentence of imprisonment], there is a corresponding difference in the need for
reliability in the determination that death is the appropriate punishment in a specific case.”);
Gardner, 430 U.S. at 357-58 (“From the point of view of society, the action of the sovereign in
taking the life of one of its citizens also differs dramatically from any other legitimate state
action.”); Lockett v. Ohio, 438 U.S. 586, 604 (1978) (“We are satisfied that this qualitative
difference between death and other penalties calls for a greater degree of reliability when the death
sentence is imposed.”); Beck v. Alabama, 447 U.S. 625, 637-38 (1980) (“‘It is of vital importance
to the defendant and to the community that any decision to impose the death sentence be, and appear
to be, based on reason rather than caprice or emotion.’”) (quoting Gardner, 430 U.S. at 358); see
also Gregg v. Georgia, 428 U.S. 153, 188 (1976) (“While Furman did not hold that the infliction
of the death penalty per se violates the Constitution’s ban on cruel and unusual punishment, it did
recognize that the penalty of death is different in kind from any other punishment imposed under
our system of criminal justice.”).
                                                  71
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and unconstitutional conviction and death sentence. Doc. 16 at 26 ¶ 48. But none of

the cases establishes that the State denied Windsor due process because irregularities

in forming the jury venire resulted in an unreliable conviction and sentence.

       Second, although he acknowledges that “a mere error of state law” is not “a

denial of due process,” 62 doc. 28 at 18, Windsor contends that his situation exceeds

this because the Alabama statutes governing juror excuses create liberty interests in

which federal due process attaches. Id. at 18-19. To support this contention, Windsor

relies on cases in which the Supreme Court applied the due process clause to

infringements unrelated to jury venire challenges. 63 And because the Alabama

Supreme Court did not expressly address whether the State violated Windsor’s

Fourteenth Amendment due process rights, Windsor contends that this court’s review


       62
          See Grygor v. Burke, 334 U.S. 728, 731 (1948) (“We cannot treat a mere error of state
law, if one occurred, as a denial of due process; otherwise, every erroneous decision by a state court
on state law would come here as a federal constitutional question.”).
       63
          See Hicks v. Oklahoma, 447 U.S. 343, 346 (1980) (“Where, however, a State has provided
for the imposition of criminal punishment in the discretion of the trial jury, it is not correct to say
that the defendant’s interest in the exercise of that discretion is merely a matter of state procedural
law.”); Hicks, 447 U.S. at 346 (“The defendant in such a case has a substantial and legitimate
expectation that he will be deprived of his liberty only to the extent determined by the jury in the
exercise of its statutory discretion.”); Vitek v. Jones, 480, 487-88 (1980) (holding that a state
prisoner has a liberty interest under the due process clause to challenge an involuntary transfer to a
mental facility); Barclay v. Florida, 463 U.S. 939, 941-42, 958 (1983) (finding no constitutional
defect in a death sentence involving a trial court’s reliance on an improper aggravating
circumstance); Barclay, 463 U.S. at 985 (Marshall, J., dissenting) (arguing that Florida’s
prohibition against “reliance on non-statutory aggravating circumstances” triggered the Hicks’s
liberty interest analysis).

                                                  72
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is “unconstrained by § 2254(d)(1) because the state-court decision falls within that

provision’s ‘contrary to’ clause.” Doc. 28 at 20 (quoting Williams, 529 U.S. at 406).64

The court disagrees. In reversing the ACCA and finding no viable constitutional

claim based on the “array” of venire members, the Alabama Supreme Court held

implicitly that Windsor had no cognizable liberty interest or other federal due process

right based on a noncompliance with “the letter” of Ala. Code §§ 12-16-74 and 12-

16-145. Windsor does not discuss the Alabama Supreme Court’s implicit holding or

cite binding authority which shows that the decision “contradicts the governing

law[.]” See Romine, 253 F.3d at 1364 (internal quotation marks omitted) (quoting

Williams, 529 U.S. at 405). Nor has Windsor established that the Court made an

objectively unreasonable determination that he lacked a cognizable federal claim.

Consequently, a § 2254(d)(1) dismissal is appropriate.

       Finally, under de novo review, Windsor has not persuaded this court that the

practice of excusing jurors (without strictly following Ala. Code §§ 12-16-74 and 12-

16-145) deprived him of a liberty interest 65 or fundamental fairness in the trial

       64
          See also Romine v. Head, 253 F.3d 1349, 1365 (11th Cir. 2001) (“Failure to apply that
governing law (or the same rule in state law) is tantamount to applying a rule that contradicts
governing law, for these purposes.”); id. (“In other words, when there is grave doubt about whether
the state court applied the correct rule of governing federal law, § 2254(d)(1) does not apply.”).
       65
          Liberty under the due process clause as broader than the “mere freedom from bodily
restraint” and “extends to the full range of conduct which [an] individual is free to pursue[.]” Bolling
v. Sharpe, 347 U.S. 497, 499 (1954), supplemented sub nom. Brown v. Bd. of Educ., 349 U.S. 294
                                                  73
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proceedings. The due process clause “‘imposes . . . an exercise of judgment upon the

whole course of the proceedings (resulting in a conviction) in order to ascertain

whether they offend those canons of decency and fairness . . . even toward those

charged with the most heinous offenses.’” Rochin v. California, 342 U.S. 165, 169

(1952) (quoting Malinski v. New York, 324, 416-17 (1945)). Consequently, consistent

with Grygor, see n. 62 supra, Windsor has shown (at most) a state procedural error

that does not benefit from Fourteenth Amendment due process protection.66

          For all these reasons, the court denies Claim E.

                                             6.

          In Claim F Windsor contends that the trial court’s denial of a continuance

violated his Sixth Amendment right to counsel. 67 Docs. 16 at 30 ¶ 55; 28 at 20. “In

all criminal prosecutions, the accused shall enjoy the right . . . to have the Assistance



(1955).
          66
          Windsor offers no explanation why the sheriff’s inability to serve prospective jurors or the
trial court’s lottery-based dismissal of prospective jurors violated his federal due process rights.
Thus, those issues are underdeveloped and unproven and are not entitled to any relief.
          67
           Although Windsor alleges in his petition that the trial court’s denial of a continuance
violated his Fifth, Sixth, Eighth, and Fourteenth Amendment rights, doc. 16 at 30 ¶ 55, Windsor
focuses only on the Sixth Amendment in reply, doc. 28 at 20-23. Thus, he has waived his claims,
if any, related to these other amendments. Moreover, the Fifth Amendment is inapplicable here. See
n. 28 supra. And, because Windsor does not elaborate why he has a cognizable Eighth or (aside
from incorporation) Fourteenth Amendment right, the claims based on those amendments are
abandoned, underdeveloped, or unproven.

                                                  74
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of Counsel for his defence.” U.S. Const. amend. VI. Under this provision, “a criminal

defendant has a [non-absolute] right to retain counsel of his choice.” United States v.

Koblitz, 803 F.2d 1523, 1527, 1528 (11th Cir. 1986) (citing Chandler v. Fretag, 348

U.S. 3, 9-10 (1954)).68 Protection of this right “requires that a criminal defendant

have ‘a fair or reasonable opportunity to obtain particular counsel, and [suffer from]

no arbitrary action prohibiting the effective use of such counsel.’” Koblitz, 803 F.2d

at 1527 (quoting Gandy v. Alabama, 569 F.2d 1318, 1323 (5th Cir. 1978)). An

“erroneous deprivation of the right to counsel of choice, with consequences that are

necessarily unquantifiable and indeterminate, unquestionably qualifies as structural

error.” United States v. Gonzalez-Lopez, 548 U.S. 140, 150 (2006) (internal quotation

marks omitted) (quoting Sullivan v. Louisiana, 508 U.S. 275, 282 (1993)).

Consequently, if a trial court wrongfully denies a defendant “the right to counsel of

choice, . . . . [n]o additional showing of prejudice is required to make the violation

‘complete.’” Gonzalez-Lopez, 548 U.S. at 146.

       But “[n]ot every restriction on counsel’s time or opportunity to investigate or

to consult with his client or otherwise to prepare for trial violates a defendant’s Sixth



       68
         See also Wheat v. United States, 486 U.S. 153, 159 (1988) (“[T]he right to select and be
represented by one’s preferred attorney is comprehended by the Sixth Amendment. . . . [but] is
circumscribed in several important respects.”).

                                               75
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Amendment right to counsel.” Morris v. Slappy, 461 U.S. 1, 12 (1983) (citing

Chambers v. Maroney, 399 U.S. 42, 53-54 (1970)). And because “judges necessarily

require a great deal of latitude in scheduling trials[,] . . . . broad discretion must be

granted [to] trial courts on matters of continuances[.]” Morris, 461 U.S. at 12.

However, a trial court violates the counsel clause when it “unreasoning[ly] and

arbitrar[ily] ‘insist[s] upon expeditiousness in the face of a justifiable request for

delay[.]’” Id. (quoting Ungar v. Sarafite, 376 U.S. 575, 589 (1964)).

                                           a.

      On the first day of trial, Windsor sought a “continuance to allow an additional,

experienced attorney, Kevin Doyle [a lawyer with the Alabama Capital Resource

Center], . . . to join [the] defense team[,]” Windsor II (ACCA), 683 So. 2d at 1032,

and “prepare for trial.” Windsor II, 683 So. 2d at 1047. In the motion, Doyle stated

that he “want[ed] to become involved in the defense of [Windsor,]” but that he “could

not familiarize himself with the facts and issues of th[e] case unless” the court delayed

the trial. Vol. 7 at 308 ¶ 2. Doyle indicated that he would enter an appearance “upon

the court granting a continuance of the trial of this matter[.]” Id. at 308 ¶ 4. In

addressing the motion, the trial court sought clarification several times why Doyle




                                           76
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had delayed entering an appearance. 69 In response, Doyle cited an “understanding

that [there] was a plea bargain agreement on the table[.]” Vol. I, Tab 5 at 37. The

court stated, “Now I talked with y’all a week or so ago and told you that that was not

the case.” Id. Doyle acknowledged that “a misunderstanding” about a plea bargain

had caused him “not [to] foresee the necessity of . . . becoming involved formally on

the trial level.” Id. at 38. The court expressed “concern[] with the timing of the

motion,” stating that it “was informed, as late as Friday--or that something like this

might be done Friday, but it was not,” and that “[t]he Jury is here and everybody else

is here, and now we have this motion.” Id. at 38-39. The court denied the motion and

one of Windsor’s trial attorneys inquired about the number of cases set for trial,

arguing that “[a] continuance, in the sense of judicial economy, would not be a waste

for the State” because the court could use the venire for the other cases. Vol. I, Tab 5

at 41-42. The court stated its belief that two other defendants had cases on the docket

and moved to the next pretrial motion. Id. at 42. Doyle never appeared as additional

trial counsel. Id.




       69
          See Vol. I, Tab 5 at 36 (“Mr. Doyle, you are not going to make an appearance until the
motion is granted?”); id. at 36 (“I just want to know if it is a fact that it is your position that you
will not enter an appearance unless and until this motion is granted.”); id. at 38 (“That is my point.
As far as I know, you still have not entered a Motion to Appear.”).
                                                 77
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      The ACCA denied Windsor’s counsel clause claim on direct appeal and the

Alabama Supreme Court affirmed. Relying on two Sixth Amendment decisions—

United States v. Llanes, 374 F.2d 712 (2d Cir. 1967) and Bowman v. United States,

409 F.2d 225 (5th Cir. 1969)—, the ACCA found that the trial “court refused to grant

the continuance at such a late date, but did not in any way prohibit the new attorney

from joining in representing the appellant.” Windsor II (ACCA), 683 So. 2d at 1032.

For its part, without referencing the Sixth Amendment, the Alabama Supreme Court

pointed out that Windsor had two lawyers representing him and held that “[t]he trial

judge did not abuse his discretion by refusing on the day of trial to grant a continuance

in order for an additional attorney to join in Windsor’s defense.” Windsor II, 683 So.

2d at 1046-47.

                                           b.

      Because a “federal [habeas] court should ‘look through’ [an] unexplained

decision to the last related state-court decision that does provide a relevant rationale

. . . [and] then presume that the unexplained decision adopted the same reasoning,”

Wilson v. Sellers, __ U.S. __, 138 S. Ct. 1188, 1192 (2018), the court discusses first

Llanes and Bowman which the ACCA cited. In Llanes, an attorney expressed

“uncertain[ty]” to the district court about whether the representation should continue

at a trial calendar setting in light of the defendant’s dissatisfaction with his services.
                                           78
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Llanes, 374 F.2d at 717. “The judge declined to make a different appointment.” Id.

The defendant moved for the appointment of new counsel two days later, and the

district court denied that request. Id. On appeal, the Second Circuit affirmed, noting

that “the right to counsel ‘cannot be . . . manipulated so as to obstruct the orderly

procedure in the courts or to interfere with the fair administration of justice,’” and

that “[j]udges must be vigilant that requests for appointment of a new attorney on the

eve of trial should not become a vehicle for achieving delay.” Id. (citations omitted).

And in Bowman, the old Fifth Circuit found no Sixth Amendment violation when the

trial court denied the defendant’s “request[] [for] new counsel or a continuance . . .

[to] procure [new] counsel of his own choosing” made on the morning of trial.

Bowman, 409 F.2d at 226.

                                          c.

      In support of his claim, Windsor cites Gonzalez-Lopez, Morris, Koblitz,

Strickland v. Washington, 466 U.S. 668 (1984), and Ungar. Docs. 16 at 29 ¶ 52; 28

at 20-22. Windsor relies on these cases mostly for core right-to-counsel principles

and offers little insight on why these opinions show that the state appellate courts

contradicted or unreasonably applied Supreme Court precedent when it rejected his

claim. These cases are not helpful. Morris and Ungar involve representation-based

continuance requests. But neither case holds that a trial court infringes on a
                                          79
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defendant’s right to counsel if it denies a continuance request made on the trial’s first

day based on a lawyer’s desire to formally appear as additional counsel. In fact, in

both cases, the Supreme Court found no constitutional violation in circumstances that

included a situation that was more compelling than the one in Windsor’s case. 70

Given these holdings, Morris and Ungar do not satisfy Windsor’s contrary to or

unreasonable application burden.

       Next, although he agrees that “this issue was correctly evaluated on the basis

of an abuse of discretion by the trial court,” Windsor maintains that the Alabama

Supreme Court abused its discretion under Gonzalez-Lopez if it considered “the fact

that Windsor had two lawyers” as “mitigat[ion] against any prejudice resulting from

the refusal to continue the case.” Doc. 28 at 21. This point is unpersuasive. The Court

did not mention prejudice, and Windsor’s belief on this point is admittedly

speculative: “But to the extent the Alabama Supreme Court used this fact . . . .” See

id. The status of Windsor’s representation was relevant to the Court’s abuse of




       70
         See Morris, 461 U.S. at 6-8, 13 (concluding that trial court did not violate the respondent’s
Sixth Amendment right to counsel by denying a “midtrial motion” to continue until the hospitalized
public defender “initially assigned to defend [the respondent] was available”); Ungar, 376 U.S. at
590 (holding that court committed no constitutional violation in denying one-week continuance
request for counsel to prepare because, in part, the defendant (who was a lawyer) sought relief on
“the day of the scheduled hearing” and was “familiar with the court’s practice of not granting
adjournments”).

                                                 80
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discretion inquiry because Windsor sought additional counsel of choice as opposed

to replacement counsel. 71 In any event, Gonzalez-Lopez is distinguishable. The

Supreme Court found that after an erroneous deprivation of counsel has occurred, the

Strickland-based concept of prejudice is unnecessary to complete the Sixth

Amendment violation. 548 U.S. at 146. However, because the government conceded

that the trial court deprived the defendant of his right to use his chosen lawyer, the

Court did not address the constitutional contours of a Sixth Amendment erroneous

deprivation. And, because the Alabama Supreme Court did not find an erroneous

deprivation of additional counsel in Windsor’s case, the reliance on Gonzalez-Lopez

does not satisfy the contrary to or unreasonable application burden.

                                               d.

       Finally, Windsor maintains that “[t]o deny a continuance based on a

misunderstanding without any on the record analysis of why the trial court thought it

should not be granted was an abuse of discretion.” Doc. 28 at 22. Windsor

oversimplifies the trial court’s reasoning. Instead of the purported misunderstanding

about the plea, the trial court expressed concerns about the lateness of Doyle’s motion

and the conditional appearance he included within it. See Vol. I, Tab 5 at 36 (“You



       71
          Windsor states in his reply that Mr. Doyle was “to join the team as lead counsel[,]” but
neither the hearing transcript nor the motion supports this statement. Doc. 28 at 21.
                                                 81
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are not now appearing on behalf of Windsor?”); id. at 38-39 (expressing “concern[]

with the timing of the motion.”). Consequently, the trial court did not unreasoningly

or arbitrarily reject Doyle’s late request to postpone the trial. Morris, 461 U.S. at 12.

       To close, Windsor has not shown a contrary or unreasonable application of the

Supreme Court right-to-counsel precedent in the denial of his trial continuance

request claim. Thus, the court denies Claim F.

                                            7.

       In Claim G Windsor contends that the trial court violated his Sixth Amendment

rights of confrontation and cross-examination when it admitted hearsay testimony

concerning statements that Guthrie made about him. 72 Doc. 16 at 31 ¶ 56. The two

statements at issue are (1) Ms. S.S. Osborne’s testimony that Guthrie identified

Windsor as “Harvey” when they visited her home on the day of Mr. Howard’s

murder, and (2) Ms. B. Osborne’s testimony that Guthrie referred to the man who


       72
          Although Windsor alleges in his petition that the trial court’s admission of hearsay
statements attributable to Guthrie violated his Fifth, Sixth, Eighth, and Fourteenth Amendment
rights, doc. 16 at 33-34 ¶ 60, Windsor discusses only the Sixth Amendment as incorporated through
the Fourteenth Amendment in framing this constitutional issue, doc. 16 at 31 ¶ 56; doc. 28 at 23,
25; see Vol. 11, Tab 42 at 28 (describing the rights to confront and cross-examine witnesses as
rights protected by the Sixth and Fourteenth Amendments); see also Pointer v. Texas, 380 U.S. 400,
404 (holding that the confrontation clause applies to the states through the Fourteenth Amendment
and includes a right to cross-examine witnesses). But, the Fifth Amendment is inapplicable here.
See n. 28 supra. And, because Windsor does not elaborate why he has a cognizable Eighth or (aside
from incorporation) Fourteenth Amendment right, the claims based on those amendments are
abandoned, underdeveloped, or unproven.

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was with him when they stopped outside of her residence that same day as a “buddy”.

Doc. 16 at 31-32 ¶ 57; see also Vol. 2, Tab 11 at 390; Vol. 2, Tab 11 at 376-77. The

ACCA and the Alabama Supreme Court rejected this claim on appeal. Windsor II

(ACCA), 683 So. 2d at 1034; Windsor II, 683 So. 2d at 1053.

                                                 a.

        “A petitioner has the burden of establishing his right to federal habeas relief

and of proving all facts necessary to show a constitutional violation.” Romine, 253

F.3d at 1357 (citations omitted). Windsor relies on Bruton v. United States,73 391

U.S. 123 (1968), Cruz v. New York, 74 481 U.S. 186 (1977), and Crawford v.

        73
           In Bruton, the Supreme Court faced the question of “whether the conviction of a defendant
at a joint trial should be set aside [under the confrontation clause] although the jury was instructed
that a codefendant’s confession inculpating the defendant had to be disregarded in determining his
guilt or innocence.” 391 U.S. at 123-24. The Court rejected limiting instructions directing the jury
to disregard the truth of the co-defendant’s hearsay confession as constitutionally inadequate:

        Here the introduction of Evans’ confession posed a substantial threat to petitioner’s
        right to confront the witnesses against him, and this is a hazard we cannot ignore.
        Despite the concededly clear instructions to the jury to disregard Evans’
        inadmissible hearsay evidence inculpating petitioner, in the context of a joint trial
        we cannot accept limiting instructions as an adequate substitute for petitioner’s
        constitutional right of cross-examination. The effect is the same as if there had been
        no instruction at all. See Anderson v. United States, 318 U.S. 350, 356—357, 63
        S.Ct. 599, 602, 87 L.Ed. 829; cf. Burgett v. State of Texas, 389 U.S. 109, 115, 88
        S.Ct. 258, 262, 19 L.Ed.2d 319.

Id. at 136.
        74
         In Cruz the Court considered “whether Bruton applies where the defendant’s own
confession, corroborating that of his codefendant, is introduced against him.” Cruz, 481 U.S. at
188. Before answering this question of “interlocking confessions,” the Court observed that
“[o]rdinarily, a witness is considered to be a witness ‘against’ a defendant for purposes of the
                                               83
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Washington, 75 541 U.S. 36 (2004), to support his confrontation claim. Docs. 16 at 31

¶ 56; 16 at 32 ¶ 58; 16 at 33 ¶ 59. These cases do not support Windsor’s contention

that a confrontation clause violation occurred in his trial. To begin, Bruton and Cruz

are inapplicable as the State did not try Windsor and Guthrie jointly in St. Clair

County for the death of Mr. Howard, and the guilt-phase of Windsor’s trial contained

no confession evidence. Additionally, because Guthrie made the statements at issue



Confrontation Clause only if his testimony is part of the body of evidence that the jury may consider
in assessing his guilt.” Id. at 190-91. Overturning the plurality opinion in Parker v. Randolph, 442
U.S. 62, 99 (1979), the Court held that the confrontation clause bars “a nontestifying codefendant’s
confession incriminating the defendant [that] is not directly admissible against the defendant . . .
even if the jury is instructed not to consider it against the defendant, and even if the defendant’s
own confession is admitted against him.” Id. at 191, 193.
       75
         In Crawford the Court reversed a state conviction for a stabbing under the confrontation
clause when the jury considered the petitioner’s wife’s “tape-recorded statement to the police
describing the [offense], even though [the petitioner] had no opportunity for cross-examination.”
541 U.S. at 38, 69. The Court drew a distinction between nontestimonial hearsay and testimonial
evidence:

               Where nontestimonial hearsay is at issue, it is wholly consistent with the
       Framers’ design to afford the States flexibility in their development of hearsay law—
       as does Roberts, and as would an approach that exempted such statements from
       Confrontation Clause scrutiny altogether. Where testimonial evidence is at issue,
       however, the Sixth Amendment demands what the common law required:
       unavailability and a prior opportunity for cross-examination. We leave for another
       day any effort to spell out a comprehensive definition of “testimonial.” Whatever
       else the term covers, it applies at a minimum to prior testimony at a preliminary
       hearing, before a grand jury, or at a former trial; and to police interrogations. These
       are the modern practices with closest kinship to the abuses at which the
       Confrontation Clause was directed.

Id. at 68 (footnote omitted). Because the petitioner’s wife’s statement was the result of a police
interrogation and, therefore, testimonial, “the only indicium of reliability sufficient to satisfy
constitutional demands [wa]s the one the Constitution actually prescribes: confrontation.” Id. at 69.
                                                84
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to witnesses outside of a testimonial setting, the constitutional requirement for cross-

examination is inapplicable, and the State’s hearsay rules govern the admission of the

nontestimonial evidence. Crawford, 541 U.S. at 69. In that respect, Windsor’s

contention that the state appellate courts improperly concluded the out-of-court

statements fell within an exception to the hearsay rule, see doc. 28 at 24-25, is

unavailing. “A federal court may not issue the writ on the basis of a perceived error

of state law.” Pulley v. Harris, 465 U.S. 37, 41 (1984).76

       Finally, Windsor argues in reply that this court should review this claim de

novo consistent with Williams, 529 U.S. at 406, and Romine, 253 F.3d at 1364,

because the state appellate courts did not provide any Sixth Amendment analysis.

Doc. 28 at 25-26. But even accepting that de novo review applies, Windsor has not

proven a confrontation clause violation under Bruton, Cruz, or Crawford, much less

demonstrated that the non-structural constitutional error had a “substantial-and-

injurious-effect” on his trial.77


       76
          See also McCullough v. Singletary, 967 F.2d 530, 535 (11th Cir. 1992) (“A state’s
interpretation of its own laws or rules provides no basis for federal habeas corpus relief, since no
question of a constitutional nature is involved.”); Hunt v. Tucker, 93 F.3d 735, 737 (11th Cir. 1996)
(“[F]ederal courts must follow the interpretation of Alabama law made by the highest court of that
State absent a constitutional violation.”).
       77
         Before AEDPA, “the Supreme Court held [in Brecht] that on federal habeas, courts must
assess the prejudicial impact of constitutional error in a state criminal trial under the ‘substantial-
and-injurious-effect’ standard.” Wellons v. Hall, 554 F.3d 923, 939 (11th Cir. 2009), judgment
vacated on other grounds, 558 U.S. 220 (2010). Under the Brecht standard, “habeas petitioners
                                                 85
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       For all these reasons, the court denies Claim G.

                                             8.

       Windsor maintains in Claim K alleged violations of his Eighth and Fourteenth

Amendment rights based on the State’s purported failure to introduce sufficient

evidence for a reasonable jury to conclude beyond a reasonable doubt that he

intentionally killed Mr. Howard. 78 Doc. 16 at 45 ¶ 77. Windsor cites the State’s

“introduc[tion] . . . of subsequent criminal acts [involving the robbery and killing of

Mr. Pepper in Colbert County that occurred the evening of February 25, 1988],

tainted and unreliable identifications [of Windsor by witnesses Ms. S.S. Osborne and

Mr. T. Pepper], and [unspecified] irrelevant and prejudicial evidence.” Doc. 16 at 45

¶ 77. The core contention is “that there was insufficient evidence of [Windsor’s]

specific intent to kill” Mr. Howard during the course of the robbery. See, e.g.,



may obtain plenary review of their constitutional claims, but they are not entitled to habeas relief
based on trial error unless they can establish that it resulted in ‘actual prejudice.’” Wellons, 554
F.3d at 939-940 (internal quotation marks omitted) (quoting Brecht, 507 U.S. at 637). Although
Brecht is a pre-AEDPA decision, the Court “confirmed the application of Brecht’s more deferential
‘substantial-and-injurious-effect’ standard when assessing the prejudicial impact of constitutional
error on federal habeas review” post-AEDPA in Fry v. Pliler, 551 U.S. 112 (2007). Id. at 940.
       78
          Although Windsor alleges in his petition that the State’s insufficient evidence to support
a conviction violated his Fifth, Sixth, Eighth, and Fourteenth Amendment rights, doc. 16 at 45 ¶ 77,
Windsor focuses on Eighth and Fourteenth Amendment authorities in framing this issue, id; doc.
28 at 35. For the reasons stated earlier, the Fifth Amendment is inapplicable here. See n. 28 supra.
And, because Windsor does not elaborate why he has a cognizable right under the Sixth
Amendment, this claim is abandoned, underdeveloped, or unproven.

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Johnson v. Alabama, 256 F.3d 1156, 1169 (2001). Basically, Windsor pleads a

violation of Jackson v. Virginia, 443 U.S. 307 (1979), which held that a petitioner “is

entitled to habeas corpus relief if it is found that upon the record evidence adduced at

the trial no rational trier of fact could have found proof of guilt beyond a reasonable

doubt.” Jackson, 443 U.S. at 324.79

                                                a.

       The ACCA denied this claim on direct appeal, Windsor II (ACCA), 683 So. 2d

at 1036, and the Alabama Supreme Court affirmed, finding sufficient circumstantial

evidence existed for a jury to convict Windsor of capital murder:

       The evidence offered at the trial placed Harvey Lee Windsor in the
       company of Colon Lavon Guthrie on the date of the crime. The two men
       were identified as being in a Ford Mustang automobile bearing the word
       “Boss” and matching the description of the vehicle used by the suspects,
       and bearing a license plate that had been on an automobile in the yard
       of Windsor’s uncle. The Mustang automobile, when the police
       recovered it, contained articles tying the automobile and Windsor to the
       murder of [Mr.] Howard.




       79
         See also Jackson, 443 U.S. at 316 (“[A]n essential of the due process guaranteed by the
Fourteenth Amendment[is] that no person shall be made to suffer the onus of a criminal conviction
except upon sufficient proof—defined as evidence necessary to convince a trier of fact beyond a
reasonable doubt of the existence of every element of the offense.”) (citing In re Winship, 397 U.S.
358 (1970)); Enmund v. Florida, 458 U.S. 782, 787, 797 (1982) (concluding that “the Eighth
Amendment [forbids the] imposition of the death penalty on one . . . who aids and abets a felony in
the course of which a murder is committed by others but who does not himself kill, attempt to kill,
or intend that a killing take place or that lethal force will be employed”).

                                                87
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Windsor II, 683 So. 2d at 1056. Windsor’s connection to the Mustang included a

partial fingerprint found on a cigarette butt left inside the vehicle.80 See Vol. 5 at 936;

Windsor II (ACCA), 683 So. 2d at 1030.

                                                 b.

       Consistent with Jackson, “federal courts must look to state law for the

substantive elements of the criminal offense, but the minimum amount of evidence

that the Due Process Clause requires to prove the offense is purely a matter of federal

law.” Coleman v. Johnson, 566 U.S. 650, 655 (2012) (internal quotation marks and

citation omitted) (quoting Jackson, 443 U.S. at 324 n.16). Thus, this court must

“gauge[]” the adequacy of the State’s evidence “in the light most favorable to the


       80
          In addition to the evidence cited by the Alabama Supreme Court, as discussed previously,
Ms. S.S. Osborne identified Windsor as the man who accompanied Guthrie to her home
approximately one hour before Mr. Howard’s murder. Vol. 3 at 403. Ms. S.S. Osborne testified also
that she lived about five miles from Mr. Howard’s convenience store. Id. And Mr. T. Pepper
identified Windsor as the man he saw running from his father’s convenience store after the separate
murder of his father in Colbert County.80 Vol. 4 at 695-96, 701-03. Mr. T. Pepper added that he
saw Windsor thirty yards away “dancing or jumping around in a real frisky type movement from
the store,” heard him utter, “‘Shit, man,’” and “saw the outline of a[nother] person in the vehicle.”
Id. at 697-99. The State offered this testimony about the murder of Mr. Pepper as circumstantial
evidence of an earlier joint plan between Windsor and Guthrie to rob and murder Mr. Howard. Vol.
6, Tab 16 at 1050-51. As the Alabama Supreme Court stated, “[t]he robbery and murder of [Mr.]
Howard and the robbery and murder of Randall Earl Pepper occurred only hours apart, on the same
day. Both victims were convenience store owners, and the crimes were factually similar.” Windsor
II, 683 So. 2d at 1053. Finally, after officers arrested Windsor, they found a .25 caliber pistol on
his person (which belonged to Mr. Pepper) and a sawed-off shotgun in the Mustang. Vol. 5 at 848,
859; see also Windsor II (ACCA)), 683 So. 2d at 1030 (pointing out that Windsor possessed “a .25
automatic pistol that had belonged to Mr. Pepper” on day of arrest); doc. 16 at 66 ¶ 107 (Windsor’s
confirming that the trial evidence substantiated that the automatic pistol in his possession was Mr.
Pepper’s).
                                                  88
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prosecution” that Windsor intended for Mr. Howard to die under “applicable

[Alabama criminal] law[.]” Jackson, 443 U.S. at 324. Moreover, this court may set

aside the jury’s verdict “only if no rational trier of fact could have agreed with the

jury,” and may only set aside the State court’s decision if it was “objectively

unreasonable.” Coleman, 566 U.S. at 651. To put it bluntly, Windsor “face[s] a high

bar” when pursuing a Jackson claim because of the dual deferential layers. Id. And

because federal courts owe “due respect to the role of the jury and the state courts”

under AEDPA, a petitioner will not prevail on a Jackson claim unless the conviction

“was so insupportable as to fall below the threshold of bare rationality.” Id. at 656.

                                           i.

      The Grand Jury of St. Clair County indicted Windsor for the capital offense of

murdering Mr. Howard during a robbery or an attempted robbery in violation of §

13A-5-40(a)(2) of Alabama’s Criminal Code. Vol. 6, Tab 29 at 201. The State tried

Windsor as an accomplice to Guthrie in the murder. Vol. 6, Tab 16 at 1056. Under

Alabama’s criminal complicity statute,

      [a] person is legally accountable for the behavior of another constituting
      a criminal offense if, with the intent to promote or assist the commission
      of the offense:

      (1) He procures, induces or causes such other person to commit the
      offense; or

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      (2) He aids or abets such other person in committing the offense; or

      (3) Having a legal duty to prevent the commission of the offense, he fails
      to make an effort he is legally required to make.

Ala. Code § 13A-2-23.

      The trial court charged the jury on accomplice liability, explaining without any

objection, that “to hold an individual liable of a criminal offense as an accomplice,

the State must prove beyond a reasonable doubt that he aided and abetted in the

crime.” Vol. 6, Tab 16 at 1056, 1069. The trial court defined aiding and abetting as

“all assistance rendered by acts or words of encouragement or by support, [and] actual

or constructive presence to render assistance should it become necessary.” Id. at

1056. The trial court clarified that “to prove the charge of capital murder by

accomplice liability, the State must prove beyond a reasonable doubt that the

accomplice had a particularized intent to kill . . . because . . . capital murder involves

an intentional murder.” Id. at 1057. The trial court cautioned the jury twice that

finding Windsor guilty of capital murder required a determination that he had “an

intent to kill” Mr. Howard beyond a reasonable doubt. Id. at 1057.

                                           ii.

      Windsor cites several Alabama cases that he contends support his position that

the State failed to present sufficient evidence for a conviction. First, Windsor

                                           90
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references Hallford v. State, 548 So. 2d 526 (Ala. Crim. App. 1988), for the elements

of § 13A-5-40(a)(2), doc. 16 at 44-45 ¶ 76, which is “a single offense beginning with

the act of robbing or attempting to rob and culminating in the act of intentionally

killing the victim; the offense consists of two elements, robbing and intentional

killing.” 548 So. 2d at 534. But, the defendant in Hallford “was not an accomplice,

but the actual killer,” id. at 546, and consequently, Hallford does not advance

Windsor’s claim.

      Next, Windsor cites Sweat v. State, 326 So. 2d 671 (Ala. Crim. App. 1975), as

an example of a conviction overturned due to insufficient evidence. Doc. 16 at 46-47

¶ 77. But, in Sweat, no witness testified that the bullet in the automatic pistol in the

defendant’s hand matched the caliber of the one used in the crime. Sweat, 326 So. 2d

at 673. The ACCA reversed the conviction “because the jury was left to rely on

conjecture and suspicion as to the guilty person [out of three burglars] who wounded

Officer Westcott with the [.25 caliber] bullet extracted from his body.” Id. The court

concluded that “[t]he trial court erred in refusing defendant’s written request for the

affirmative charge” which challenged the adequacy of the state’s evidence and

ordered a new trial. Id. While the outcome in Sweat may lend some support to

Windsor’s unintentional killing claim, a state court holding in a criminal assault case

is insufficient to satisfy AEDPA’s deferential standard.
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      Windsor also discusses Chatom v. State, 348 So. 2d 828, 835 (Ala. Crim. App.

1976), rev’d and remanded on other grounds by 348 So. 2d 838 (Ala. 1977), because

of the court’s observation that “[u]nless circumstantial evidence is sufficiently strong

to point toward the appellant as the guilty party, it is insufficient, standing alone, to

support a conviction.” 348 So. 2d at 835. The defendant in Chatom challenged his

conviction for the murders of two deputies based “entirely of circumstantial

evidence.” Id. at 829, 830. Briefly, Mike Wilson and Chatom, who was riding as a

passenger in Wilson’s car, became involved in “a high speed chase” after a deputy

pulled Wilson over for speeding. Id. at 830. During the chase, Chatom fired shots

from a .12 gauge shotgun at a deputy’s car. Id. Chatom and Wilson retreated to a

swamp and when some officers entered the area, “[a] fierce gun battle ensued in

which fifteen to twenty shots were fired within a matter of seconds.” Id. Other officers

found the slain deputies and Wilson’s body within sixty feet of each other. Id. None

of the officers witnessed the shootings. Id. The bullets which killed the two deputies

were from “a .20 gauge shotgun which was the same as found along with a pistol

beside Wilson’s body.” Id. Chatom had “a .12 shotgun and other weapons, which he

abandoned in the swamp,” and was subsequently captured. Id. At trial, the State

presented evidence that the results of an atomic absorption test showed that Wilson

had not fired a gun on the day of the murders. Id. at 831.
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      On appeal, the ACCA determined that the trial court should have granted

Chatom’s motion to exclude that inculpatory evidence because of an “[im]proper

predicate for the admission of the atomic absorption test[.]” Id. at 834. The court

found that “the circumstantial evidence . . . d[id] not point toward the [defendant] as

the person who fired the fatal shots. Instead, it strongly point[ed] toward Wilson.” Id.

at 835. The court stated that in a retrial “there must be sufficient evidence presented

to establish beyond a reasonable doubt that [the defendant] shot [the deputies] or that

he aided or abetted Wilson in shooting them per Title 14, §14, Code of Alabama

1940.” Id. at 834. On rehearing, the ACCA clarified that “the conviction of [Chatom]

was not reversed due to insufficiency of the evidence.” Id. at 837. Instead, “the

reversal was due to the introduction into evidence of the atomic absorption test

without a proper predicate.” Id. The court stated that “Section II of the opinion was

intended as a helpful comment, directed to the District Attorney, pointing out obvious

weaknesses in the remaining circumstantial evidence at the first trial” and

“emphasiz[ed] that [the] reversal result[ed] solely from admission of the improperly

predicated test.” Id. at 835. Thus, because the sufficiency of evidence discussion in

Chatom is dicta in light of the rehearing opinion, it is not useful in analyzing

Windsor’s claim.



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       A more on-point case Windsor cites is Ex parte Raines, 429 So. 2d 1111 (Ala.

1982). Doc. 16 at 45 ¶ 76. A jury convicted the Raines defendant under § 13A–5–

31(a)(2) for killing a store employee during the course of a robbery. Raines, 429 So.

2d at 1112. The defendant received a death sentence even though he was not the

triggerman. Id. The defendant argued on appeal that his death penalty conviction was

“disproportional to the crime [and a] violation of the eighth and fourteenth

amendments” because he “did not actually kill the victim and was convicted solely

as an accomplice to the robbery.” Id. The Alabama Supreme Court disagreed and

held that “it is still the law in this state that a non-triggerman accomplice may be

convicted of a capital offense and sentenced to death if the state proves that the

defendant was an accomplice to the intentional killing.” Raines, 429 So. 2d at 1112.

The Court noted that requiring proof of a “‘particularized intent to kill’” on the part

of a non-triggerman accomplice was “entirely consistent” with the Supreme Court’s

decision in Enmund.81 Id at 1112.

       The Alabama Supreme Court evaluated the evidence in Raines and found that

“the testimony concerning the defendant’s words and actions during the course of the

robbery” supported an inference of his intent to kill as an accomplice. 429 So. 2d at


       81
         Enmund, 458 U.S. at 795 (observing that juries have rejected the death penalty in cases . .
. where the defendant did not commit the homicide, was not present when the killing took place,
and did not participate in a plot or scheme to murder”).
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1113. After confirming that the trial court had instructed the jury properly regarding

intent, the Court found no basis for disturbing the capital conviction:

             Pulling the trigger is only one factor in determining intent to kill.
      Ritter v. State, 375 So.2d 270, 274–275 (Ala.1979). From the testimony
      concerning the defendant’s words and actions during the course of the
      robbery, the jury had sufficient evidence from which to infer that the
      defendant was prepared to kill, intended to kill, and supported Watkins
      in his killing of Mr. Mayfield and, thus, that the defendant was an
      accomplice to the intentional killing of Mr. Mayfield.

             To affirm a finding of a “particularized intent to kill,” the jury
      must be properly charged on the intent to kill issue, and there must be
      sufficient evidence from which a rational jury could conclude that the
      defendant possessed the intent to kill. The Court of Criminal Appeals
      found in the affirmative on both parts of this two-part test; and, upon
      careful review of the record, we discern no basis for disturbing that
      finding.

Id. at 1113. Thus, Raines does not help Windsor.

      In reply, Windsor quotes extensively from Ex parte Brown, 499 So. 2d 787

(1986), doc. 28 at 35-36, a case where the jury convicted the defendant of murder

because “the defendant was in possession of various items which had belonged to the

victim, and that the defendant was staying a few blocks from where the victim’s

stolen car was recovered.” 499 So. 2d at 787. The prosecution relied also on a witness

who later recanted his testimony and “stated that he was coerced into making the

statement [that the defendant had confessed to the murder] through threats of the

interrogating officers[.]” Id. at 791. Based on the trial testimony of investigating
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officers, another suspect had “relayed certain facts to the police officers that were not

common knowledge and that fit the fact pattern of the Smith murder.” Id. at 790. On

appeal, the Alabama Supreme Court described the standard for using circumstantial

evidence to support a conviction:

      The humane provisions of the law are, that a prisoner, charged with a
      felony, should not be convicted on circumstantial evidence, unless it
      shows by a full measure of proof that the defendant is guilty. Such proof
      is always insufficient, unless it excludes, to a moral certainty, every
      other reasonable hypothesis, but that of the guilt of the accused. No
      matter how strong the circumstances, if they can be reconciled with the
      theory that some other person may have done the act, then the defendant
      is not shown to be guilty, by that full measure of proof which the law
      requires.

Brown, 499 So. 2d at 787-88 (quoting Ex parte Acree, 63 Ala. 234, 234 (1879)).

The Court added:

            Thus, if the circumstances can be reconciled with the theory that
      someone else may have done the act, then the conviction is due to be
      reversed. We are of the opinion that, in the case before us, the
      circumstances are such that the act might very well have been done by
      someone other than the defendant. Therefore, the conviction must be
      reversed.

Id. at 788.

                                           c.

      Windsor argues that only circumstantial evidence links him to the murder of

Mr. Howard as an intentional accomplice and that the prosecution did not rule out the

                                           96
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hypothesis that Guthrie was the only robber who had an intent to kill Mr. Howard.

This contention overlooks that “the State is not required to rule out every hypothesis

except that of the guilt of the defendant[.]” Johnson, 256 F.3d at 1172 (citing Jackson,

443 U.S. at 326). Moreover, whether this court “believes the evidence was sufficient

to sustain a conviction” under Alabama law is irrelevant. See Coleman, 566 U.S. at

655. Instead, habeas relief is only available if “‘no rational trier of fact could have

could have agreed with the jury[,]’” and if the state court unreasonably applied

Supreme Court precedent. Id. at 651 (quoting Cavazos v. Smith, 565 U.S. 1, 2 (2011)

(per curiam)). Windsor has not overcome this high bar. Rather, based on the State’s

circumstantial evidence case, a rational trier of fact could infer beyond a reasonable

doubt that Windsor “knew that [Guthrie] was armed with a shotgun; knew that

[Guthrie] intended to kill [Mr. Howard];” and assisted Guthrie with that plan,

regardless of whether Windsor entered the convenience store or stayed in the

Mustang to facilitate their getaway. Coleman, 566 U.S. at 656. And, that Windsor did

not retreat but remained with Guthrie afterwards, including when they committed a

second murder later that evening, bolsters a rational inference that Windsor was an

intentional accomplice in the killing of Mr. Howard. Therefore, Windsor does not

clear the first deferential habeas hurdle.



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      Nor does Windsor satisfy the second hurdle. Although Windsor cites to

Enmund, Jackson, and Winship, see doc. 16 at 44-45 ¶ 76; id. at 45 ¶ 77, he does not

explain why these cases establish that the Alabama Supreme Court contradicted or

unreasonably applied Supreme Court precedent in upholding his conviction. In fact,

Jackson and Winship are not accomplice liability death penalty cases. As for the third

case, unlike the petitioner in Enmund who received a death sentence based on a felony

murder conviction as an accomplice, Windsor’s accomplice capital conviction was

based on the jury’s finding that Windsor had a particularized intent to kill Mr.

Howard.

      Finally, Windsor has not shown that the Alabama Supreme Court’s decision

“was based on an unreasonable determination of the facts in light of the evidence

presented in the State court proceeding” or overcome the court’s factual

determination that the record contained sufficient evidence to support his

particularized intent to kill Mr. Howard. See 28 U.S.C. §§ 2254(d)(2), (e)(1).

      For all these reasons, the court denies Claim K.

                                      9.

      Windsor contends in Claim M that the trial court’s failure to instruct the jury

on voluntary intoxication and manslaughter violated his Fifth, Sixth, Eighth, and



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Fourteenth Amendments rights. 82 Doc. 16 at 49; id. at 51 ¶ 86. Allegedly, the

evidence supported a reasonable inference of his intoxication at the time of Mr.

Howard’s death. As proof of his intoxication, Windsor relies on (1) Ms. S.S.

Osborne’s testimony that Windsor and Guthrie visited her home “[a]bout midday” on

the day of the murder, drank Budweiser beer, and “stayed for about thirty minutes,”

Vol. 3 at 402-03; doc. 16 at 50 ¶ 83; (2) Thomas Kerr’s testimony that about five-

thirty p.m. that day, he saw two people “set two [Budweiser] beer cans out on the

righthand side” and drive off “in a hurry” from his convenience store in a black Boss

Mustang, Vol. 4 at 632, 633, 638, 642, 645; doc. 16 at 50 ¶ 83; and (3) the

prosecutor’s comments in closing that Windsor drank alcohol, doc. 16 at 50 ¶ 83.

       Windsor raised this claim on his direct appeal, listing alleged violations of the

Fifth, Sixth, Eighth, and Fourteenth Amendments within the claim’s caption. Vol. 9,

Tab 32 at iv, 57-62; Vol. 11, Tab 42 at iv, 52-57. Although Windsor asserted that the

trial court’s erroneous instructions resulted in an unfair trial under Alabama and

federal law, his briefs focused on Alabama law exclusively. Vol. 9, Tab 32 at 57-62;


       82
          Although Windsor alleges in his petition that the absence of the intoxication and
manslaughter charges violated his Fifth, Sixth, Eighth, and Fourteenth Amendment rights, doc. 16
at 51 ¶ 86, Windsor focuses only on Eighth and Fourteenth Amendment authorities in framing this
constitutional issue, id. at 50-51 ¶ 84; doc. 28 at 37-38, 39-40. But the Fifth Amendment is
inapplicable. See n. 28 supra. And, because Windsor does not elaborate why he has a cognizable
constitutional right under the Sixth Amendment, the court dismisses Windsor’s claim based on it
as abandoned, underdeveloped, or unproven.
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Vol. 11, Tab 42 at 52-57. And, noting that Windsor did not challenge the jury

instructions at trial, 83 the ACCA explained that a court should instruct a jury on

intoxication and manslaughter only when the evidence supported a reasonable doubt

about an accused’s level of intoxication and intent to kill. Windsor II (ACCA), 683

So. 2d at 1037. The court found no error in the trial court’s omission of those charges

in Windsor’s case because “there was no evidence concerning the quantity of beer

[Windsor] consumed that day at the time of the murder” or other proof of intoxication

from drinking alcohol for the jury to consider. Id. The Alabama Supreme Court

agreed, finding that “no ‘reasonable theory’ . . . support[ed] an instruction on

intoxication because there was no evidence of intoxication.” Windsor II, 683 So. 2d

at 1058 (quoting Windsor II (ACCA), 683 So. 2d at 1037).

                                                 a.

       To obtain habeas relief on this claim, Windsor must show that the state

appellate courts’ decisions to affirm “resulted in a decision that was contrary to, or



       83
         Consequently, the ACCA reviewed the claim for plain error. Windsor II (ACCA), 683 So.
2d at 1037. Under that standard, the court

       shall notice any plain error or defect in the [death penalty] proceedings under review,
       whether or not brought to the attention of the trial court, and take appropriate
       appellate action by reason thereof, whenever such error has or probably has
       adversely affected the substantial right of the appellant.

Ala. R. Crim. App. Proc. 45A.
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involved an unreasonable application of, clearly established Federal law, as

determined by the Supreme Court of the United States.” 28 U.S.C. § 2254(d)(1).

Windsor relies primarily on the Supreme Court’s due process decision in Beck in

support of this claim. 84 Doc. 16 at 50-51 ¶ 84. But even accepting that Windsor

exhausted this claim, Beck does not afford habeas relief because the trial court

charged the jury on the lesser included offenses of intentional homicide without


       84
        In Beck, the Supreme Court addressed Alabama’s previous capital punishment regimen
which precluded a judge from giving a

       jury the option of convicting the defendant of a lesser included offense. Instead, the
       jury [was] given the choice of either convicting the defendant of the capital crime,
       in which case it [was] required to impose the death penalty, or acquitting him, thus
       allowing him to escape all penalties for his alleged participation in the crime. If the
       defendant [was] convicted and the death penalty imposed, the trial judge [was then
       required to] hold a hearing with respect to aggravating and mitigating circumstances;
       after hearing the evidence, the judge [was permitted to] refuse to impose the death
       penalty, sentencing the defendant to life imprisonment without possibility of parole.

Beck, 447 U.S. at 628-29 (footnotes omitted). The State charged the defendant with the capital
offense of an intentional killing during a robbery. Id. at 627. The trial evidence supported an
instruction on felony murder as a lesser included offense, absent the Alabama statutory prohibition.
Id. at 630. The Court explained that

       [b]ecause of the statutory prohibition, the court did not instruct the jury as to the
       lesser included offense of felony murder. Instead, the jury was told that if petitioner
       was acquitted of the capital crime of intentional killing in the course of a robbery,
       he “must be discharged” and “he can never be tried for anything that he ever did to
       Roy Malone [the victim].” The jury subsequently convicted petitioner and imposed
       the death penalty; after holding a hearing with respect to aggravating and mitigating
       factors, the trial court refused to overturn that penalty.

Id. (record citation omitted). The Court held that Alabama’s blanket prohibition on lesser included
offense instructions in capital cases increased the risk of prejudicial harm in the factfinding process
when the evidence supported a noncapital offense guilty verdict. Id. at 628, 637.
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robbery in the first degree, robbery in the first degree without intentional homicide,

and felony murder—reckless or criminally negligent homicide with robbery in the

first degree. Vol. 6, Tab 16 at 1058-1063. Consequently, “[t]he central concern of

Beck is simply not implicated . . . [because the] jury [did] not face[] . . . an all-or-

nothing choice between the offense of conviction (capital murder) and innocence.”

Schad v. Arizona, 501 U.S. 624, 647 (1991). 85 Therefore, Windsor has not

demonstrated that the denial of his Beck claim involved a contradicting or

unreasonable application of Supreme Court precedent. To the contrary, the jury in

Windsor’s case did not face a binary choice of guilt or innocence on the capital

offense, and instead were also charged on the lesser included offenses which the

record reasonably supported. Moreover, as the state appellate courts noted, the

evidence did not support the intoxication defense. The limited evidence that Windsor

drank beer on the afternoon of the murders was insufficient for a reasonable jury to



       85
           In Schad, the defendant claimed that his death penalty conviction violated Beck because
the trial court did not charge the jury on robbery as a lesser included offense. Schad, 501 U.S. at
645. The trial court instructed the jury on the lesser included noncapital offense of second-degree
murder. Id. at 646. The Supreme Court clarified that Beck does not “entitle[] a defendant to
instructions on all offenses that are lesser than, and included within, a capital offense as charged.”
Id. at 627. Additionally, the Beck rule did not apply in Schad because the trial court’s second-degree
murder instruction satisfied the Supreme Court of the verdict’s reliability. Id.; see also Roberts v.
Comm’r, Alabama Dep’t of Corr., 677 F.3d 1086, 1094-95 (11th Cir. 2012) (“The Court concluded
that because the jury in Schad was instructed on second degree murder, and therefore ‘was not faced
with an all-or-nothing choice between the offense of conviction (capital murder) and innocence[,]’
Beck was not implicated.”).
                                                  102
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conclude that Windsor was inebriated to the point of insanity before killing Mr.

Howard or to support a reasonable theory that Windsor committed manslaughter due

to intoxication. See Ex parte Bankhead, 585 So. 2d 112, 120-21 (Ala. 1991)(holding

that the level of intoxication necessary to negate a specific intent to kill and support

a manslaughter charge “must amount to insanity.”).

       To close, under AEDPA, a presumption of correctness attaches to the state

courts’ factual findings. See 28 U.S.C. § 2254(e)(1). And Windsor does not offer

clear and convincing evidence to refute the finding. Accordingly, the court denies

Claim M.

                                           10.

       Windsor contends in Claim N that the trial court improperly admitted withheld

fingerprint evidence in violation of the Sixth and Fourteenth Amendments.86 Doc.

16 at 54-55 ¶ 92. Windsor describes the evidence as “photographic enlargements of

fingerprints and palm prints and other prints taken from [him].” Id. at 51 ¶ 87.

Windsor states that the prosecution produced “[m]ost of this evidence . . . too late for

       86
         Although Windsor alleges in his petition that the admission of the fingerprint evidence
violated his Fifth, Sixth, Eighth, and Fourteenth Amendment rights, doc. 16 at 54-55 ¶ 92, he
focuses only on Sixth and Fourteenth Amendment authorities in framing this issue, id. at 54 ¶ 90;
Doc. 28 at 41. Thus, he has abandoned his claims, if any, related to these other amendments.
Moreover, the Fifth Amendment is inapplicable. See n. 28 supra. And, because Windsor does not
elaborate why he has a cognizable constitutional right under the Eighth Amendment, the court
dismisses Windsor’s claim based on it as abandoned, underdeveloped, or unproven.

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[him] to obtain a fingerprint expert to independently evaluate it” and that the State

never produced the beer can fingerprint evidence. Id. at 51-52 ¶ 87. In rejecting

Windsor’s contention, the trial court noted:

      ‘The Court renews its finding and cannot find that the evidence--this
      fingerprint stuff--was in the possession of the District Attorney and not
      made available to the defendant in a timely fashion. The main problem
      with this case is the evidence in this case has been in St. Clair County,
      Colbert County, and one or two courts of appeal, and collected from
      different sources at different times. The Court has made available
      fingerprint records and the Court granted this morning the defendant
      funds for a fingerprint expert. The Court cannot find the Court’s order
      has been violated by the State. The Court will require the State to refrain
      from any other testimony concerning fingerprints for the remainder of
      the day, and allow the defendant a chance to review these fingerprint
      documents which are now in their possession.’

Windsor II (ACCA), 683 So. 2d at 1034; Vol. 3 at 575-76.

      The ACCA and the Alabama Supreme Court rejected this claim on direct

appeal. In doing so, the ACCA did not characterize Windsor’s claim as a federal one

and cited Alabama Rule of Criminal Procedure 16—Alabama’s criminal discovery

rule—as the governing authority. Windsor II (ACCA), 683 So. 2d at 1034. The court

observed that “after a lengthy discussion, the [trial] court found that the state had not

violated the discovery order.” Id. The court found that the trial court committed no

error in its finding that “the state had [not] violated the discovery order and Rule 16,”

and that while “[t]he state must make fingerprint evidence available to an accused as

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soon as it can do so,” no evidence existed that “the state failed to make that evidence

available as soon as practicable in this case.” Id. For its part, the Alabama Supreme

Court “agree[d] . . . that there was no violation of the discovery order,” and added

that “[t]he trial judge gave the defense additional time to examine the materials before

allowing the State to present testimony in relation thereto.” Windsor II, 683 So. 2d at

1055.

                                            a.

        The Respondents challenge one aspect of this claim as procedurally barred, i.e.

Windsor’s claim that “[b]ut for the State’s dilatory response to the trial court’s

discovery orders, an expert could have shown the jury that the partial fingerprint was

not [his].” Doc. 16 at 53 ¶ 88. The Respondents argue that the allegation is

procedurally defaulted in light of Windsor’s failure to raise this contention in his

direct appeal. Doc. 26 at 51. Windsor counters that because he argued on direct appeal

that he could not adequately rebut the State’s fingerprint expert witness’s testimony

without his own expert, this additional allegation “falls under the heading of rebuttal

evidence.” Doc. 28 at 42.

        “[I]n order to exhaust state remedies, a petitioner must fairly present every

issue raised in his federal petition to the state’s highest court, either on direct appeal

or on collateral review.” Ward, 592 F.3d at 1156 (citing Castille v. Peoples, 489 U.S.
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346, 351 (1989)). “The exhaustion requirement springs from principles of comity,

which protect the state court’s role in the enforcement of federal law and prevent

disruption of state court proceedings.” Id. (citing Rose v. Lundy, 455 U.S. 509, 518

(1982)). As it relates to exhaustion,

             The procedural default doctrine ensures that “state courts have
      had the first opportunity to hear the claim sought to be vindicated in a
      federal habeas proceeding.” Picard v. Connor, 404 U.S. 270, 276, 92
      S.Ct. 509, 512, 30 L.Ed.2d 438 (1971). To avoid procedural default, the
      defendant must have presented in his state appeal more than just the facts
      necessary to support his federal constitutional claim: “The substance of
      a federal habeas corpus claim must first be presented to the state courts.”
      Id. at 278, 92 S.Ct. at 513–14 (emphasis added); see Anderson v.
      Harless, 459 U.S. 4, 6, 103 S.Ct. 276, 277, 74 L.Ed.2d 3 (1982) (quoting
      Picard). However, the Supreme Court has also indicated that courts
      should exercise flexibility in determining whether defendants have met
      this requirement. Picard, 404 U.S. at 278, 92 S.Ct. at 513–14; see
      Mattox v. Dugger, 839 F.2d 1523, 1524 (11th Cir.), cert. denied, 488
      U.S. 833, 109 S.Ct. 92, 102 L.Ed.2d 68 (1988) (defendant need not
      “[label] his original claims as ‘federal’ constitutional ones”); Osborne v.
      Wainwright, 720 F.2d 1237, 1239 (11th Cir.1983) (specific words not
      necessary so long as state court has “adequate opportunity to consider a
      party’s objection”).

Cummings v. Dugger, 862 F.2d 1504, 1506-07 (11th Cir. 1989). The Eleventh Circuit

does not “require petitioners to give a separate federal law heading to each of the

claims they raise in state court to ensure exhaustion for federal review.” Kelley v.

Sec’y, Dep’t of Corr., 377 F.3d 1317, 1344 (11th Cir. 2004). But “petitioners [must]

present their claims to the state courts such that the reasonable reader would

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understand each claim’s particular legal basis and specific factual foundation.”

Kelly, 377 F.3d at 1344-45 (citing Picard, 404 U.S. at 277). And, a petitioner can

“expand on the topics raised earlier in state court . . . when they involve the same

issues raised there . . . in the context of [the federal] claim.” Pope v. Sec’y, Dep’t of

Corr., 680 F.3d 1271, 1287 (11th Cir. 2012).

       When briefing this claim to the Alabama Supreme Court, Windsor

conclusively alleged that the State’s withholding and the trial court’s admission of

the fingerprint evidence violated “his rights to confrontation, due process and a fair

trial guaranteed by the Fifth, Sixth, Eighth and Fourteenth Amendments and Alabama

law.” Vol. 11, Tab 41 at 44, 48. Windsor cited state law, developed state law

arguments, but left underdeveloped the alleged federal claims. 87 Id. at 44-48.

While one of the Alabama authorities that Windsor referenced—Ex parte Geeslin,

505 So. 2d 1246 (Ala. 1986)—evaluated whether the State’s failure to produce “an

exculpatory medical report” violated Brady v. Maryland, 373 U.S. 83 (1963),

Windsor did not present his fingerprint evidence claim as a Brady violation. And

Windsor did not raise a third-party defense. Instead, he argued that “the State’s failure




       87
         The court notes that Windsor included federal cases when he briefed this claim on appeal
to the ACCA. Vol. 9, Tab 32 at 47-48.
                                              107
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to comply with the Court’s discovery orders is not mitigated by the fact that this

material was not exculpatory in nature.” Vol. 11, Tab 41 at 47.

      Under these circumstances, and in the absence of any contention that the cause

and prejudice, firmly established, or fundamental injustice exceptions to procedural

default apply, Windsor’s additional allegation that a defense expert could show that

the partial fingerprint on the cigarette butt belonged to someone else is an expansion

of the claim he presented in state court instead of a refinement of that claim.

Consequently, that portion of Windsor’s claim is procedurally barred. Still, the court

considers this new allegation as it proceeds with the habeas analysis.

                                         b.

      Before considering the merits of this claim, the court must decide whether

AEDPA’s deferential or de novo review applies. Windsor argues that because the

state appellate court decisions do not address his federal claims, they are “contrary

to” Supreme Court precedent under Williams and Romine. Doc. 28 at 42. Again,

Windsor is correct that both state court opinions are devoid of federal analysis.

Also, the Respondents argue only that the defense expert portion of this habeas claim

is subject to dismissal as unexhausted. Doc. 26 at 51. Under these circumstances,

consistent with the court’s handling of the Romine issue when evaluating Windsor’s

other claims, the court applies de novo review.
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       Windsor relies primarily on the following cases in support of this claim—

Holmes v. South Carolina, 547 U.S. 319 (2004), Crane v. Kentucky, 476 U.S. 683

(1996), and Wardius v. Oregon, 412 U.S. 470 (1973).88 Doc. 16 at 54 ¶ 90; Doc. 28

at 41. For analysis purposes, the court accepts Windsor’s position that a trial error

occurred with respect to the fingerprint evidence. Given that assumption, the court

considers these and other Supreme Court cases to determine whether that evidentiary

error violated Windsor’s constitutional rights.

       The Supreme Court determined in Holmes that the exclusion of evidence

related to a third-party defense violated the constitutional “right to have a meaningful

opportunity to present a complete defense.” 547 U.S. at 331 (internal quotation marks

omitted) (quoting Crane, 476 U.S. at 690) (quoting in turn California v. Trombetta,

467 U.S. 479, 485 (1984)). And in Crane, the Court held that “foreclosing petitioner’s

efforts to introduce testimony about the environment in which the police secured his

confession” was unconstitutional in light of the meaningful and complete defense

rule. Crane, 476 U.S. at 691. Finally, the Court held in Wardius that “the Due Process



       88
          Windsor cites Flowers v. Wainwright, 783 F.2d 203 (11th Cir. 1986), for the proposition
that the Eleventh Circuit does not “review alleged state discovery violations unless they constitute
a denial of fundamental fairness.” Doc. 28 at 41. Windsor does not discuss the facts from Flowers,
and Westlaw identifies the non-binding authority as one listed “in a ‘Table of Decisions Without
Reported Opinions’ appearing in the Federal Reporter.” Therefore, the court has not included
Flowers in the constitutional analysis of this claim.
                                                  109
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Clause of the Fourteenth Amendment forbids enforcement of alibi rules unless

reciprocal discovery rights are given to criminal defendants,” and because the statute

the trial court applied in the petitioner’s case did not provide for reciprocal discovery,

the exclusion of the alibi evidence was unconstitutional. Wardius, 412 U.S. at 471-

72.

      On their face, none of these cases suggests that the trial court or the State

violated Windsor’s constitutional rights. Windsor’s claim is not based on the

exclusion of evidence helpful to defending his case. Windsor argues instead that the

trial court should have precluded the State from introducing the fingerprint evidence

because the State failed to comply with the discovery order and caused Windsor to

have insufficient time to rebut the evidence. Doc. 16 at 51, 53-54 ¶¶ 87, 89, 90. In

that respect, the cases Windsor cites are not on point.

      Moreover, a review of additional Supreme Court authorities confirm that

Windsor has no viable due process or Sixth Amendment claim based on these facts.

For example, in Weatherford v. Bursey, 429 U.S. 545 (1977), the Court clarified that

the Constitution does not entitle a criminal defendant to general discovery:

             Brady does not warrant the Court of Appeals’ holding. It does not
      follow from the prohibition against concealing evidence favorable to the
      accused that the prosecution must reveal before trial the names of all
      witnesses who will testify unfavorably. There is no general
      constitutional right to discovery in a criminal case, and Brady did not
                                           110
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      create one; as the Court wrote recently, “the Due Process Clause has
      little to say regarding the amount of discovery which the parties must be
      afforded. . . .” Wardius v. Oregon, 412 U.S. 470, 474, 93 S.Ct. 2208,
      2212, 37 L.Ed.2d 82 (1973). Brady is not implicated here where the only
      claim is that the State should have revealed that a government informer
      would present the eyewitness testimony of a particular agent against the
      defendant at trial.

429 U.S. at 559-560. As such, the Court has rejected a due process claim based on a

conviction obtained “with the aid of surprise testimony of an accomplice who was an

undercover agent.” Gray v. Netherland, 518 U.S. 152, 168 (1996).

      In Gray, the Court addressed a situation somewhat similar to Windsor’s claim

pre-AEDPA. The petitioner claimed that he received insufficient “notice of the

Commonwealth’s evidence[,]” including two witnesses “whom he was advised that

the prosecutor would call only on the evening before the sentencing hearing.” Gray,

518 U.S. at 167. The petitioner moved to exclude and in rejecting his claim, the Court

explained:

             On these facts, for petitioner to prevail on his notice-of-evidence
      claim, he must establish that due process requires that he receive more
      than a day’s notice of the Commonwealth’s evidence. He must also
      establish that due process required a continuance whether or not he
      sought one, or that, if he chose not to seek a continuance, exclusion was
      the only appropriate remedy for the inadequate notice. We conclude that
      only the adoption of a new constitutional rule could establish these
      propositions.




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Id. The Court contrasted “[a] defendant’s right to notice of the charges against which

he must defend” with a claim of “a right to notice of the evidence that the state plans

to use to prove the charges” and observed that the latter “stands on quite a different

footing.” Id. at 168 (emphasis by court). After considering Wardius and Weatherford,

the Court stated that “these cases do not compel a court to order the prosecutor to

disclose his evidence; their import, in fact, is strongly against the validity of

petitioner’s claim.” Id. In reaching the decision, the Court distinguished the

petitioner’s claim from Gardner because that defendant “literally had no opportunity

to even see the confidential information [contained in a presentence report], let alone

contest it.” Id. In contrast, the petitioner in Gray heard the challenged witnesses

testify and cross-examined them. Id.

      Based on these cases, Windsor has not carried his burden of demonstrating that

the State’s late disclosure and the trial court’s admission of fingerprint evidence

violated his constitutional rights. These cases confirm that ordinarily the due process

clause does not require a state to produce non-exculpatory evidence to a criminal

defendant prior to the trial. And consistent with these authorities, the State’s late

disclosure or non-disclosure (as in the beer can fingerprint evidence) of non-

exculpatory information is not a cognizable constitutional claim, especially when the

State’s reliance on the evidence at trial was unsurprising. Vol. 7 at 264-68; id. at 304-
                                          112
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05 (denying Windsor’s motion to depose the State’s fingerprint expert witnesses

because of the transcript from Guthrie’s prior trial in Colbert County which included

the same expert’s testimony).

                                          c.

      Windsor also had a meaningful opportunity to challenge the evidence.

During the discussion of Windsor’s objection to the fingerprint evidence, the trial

court ordered “all exhibits that were delivered to the Clerk’s Office [to be] brought

to the courtroom.” Vol. 3 at 565. The trial court provided Windsor with a set of

fingerprint exhibits, noted Windsor’s objection to their admission, and expressed

difficulty in “ascertain[ing] where they were” because “they were all in [and

transferred from] Colbert County . . . and then in the D.A.’s office.” Id. at 568. The

trial court found that the records “were equally available to the defendant as the

State.” Id. Concerning evidence located somewhere else than the D.A.’s office, the

trial court determined that the prosecution had no obligation to produce the exhibits,

“particularly [because the court] ha[d] approved an investigator and other special

expenses in this case” for Windsor. Id.

      The trial court gave Windsor’s counsel time to review the fingerprint evidence

and funds to retain a defense expert. Vol. 3 at 575-76; see also id. at 570-571 (“I

showed [Windsor’s counsel] the gun and told him the Colbert County exhibits were
                                          113
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here. If it will expedite this matter, I’ll give [Windsor’s counsel] the chance to

examine all this, and we will not ask any more fingerprint questions today.”).

Windsor’s counsel examined the State’s fingerprint expert on voir dire and cross-

examined her about the partial fingerprint. Vol. 5 at 916-17, 936-37. Based on these

facts, the trial court did not deny Windsor a meaningful opportunity to defend the

fingerprint evidence and committed no constitutional error. Moreover, Windsor could

have moved earlier to compel production of the fingerprint evidence pretrial based

on the State’s noncompliance with the trial court’s order requiring production, Vol.

7 at 304-05, 306; Vol. 5 at 916, or requested a continuance on the basis of

nonproduction and could have developed the defense expert witness theory and

sought relief from his conviction post-trial. Instead, the only relief he sought was to

exclude the fingerprint evidence, see Vol. 3 at 562-63—a remedy which he has not

shown that the constitution requires under these circumstances. 89

                                                 e.

       Finally, even if the trial court erred, Windsor has the additional burden of

showing that the non-structural error satisfies the “substantial-and-injurious-effect”


       89
         Cf. Gray, 518 U.S. at 169 (“[W]e have acknowledged that exclusion of evidence is not the
sole remedy for a violation of a conceded right to notice of an alibi witness.”); Taylor v. Illinois,
484 U.S. 400, 413 (1988) (recognizing that “a less drastic sanction [than exclusion] is always
available” for a failure to disclose a witness and that “granting a continuance” is an option).

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Brecht standard. 90 Windsor does not mention the Brecht standard or substantiate how

the fingerprint evidence caused him actual prejudice. While conceivably the new

partial fingerprint allegation could confirm actual prejudice, Windsor has made no

effort to prove a third-party defense theory based on his partial fingerprint in state or

federal court. ADEPA prohibits habeas consideration of a previously undeveloped

claim unless “the facts underlying the claim would be sufficient to establish by clear

and convincing evidence that but for constitutional error, no reasonable factfinder

would have found the applicant guilty of the underlying offense.” 28 U.S.C. §

2254(e)(2)(B).

       For all these reasons, the court denies Claim N.

                                           11.

       Windsor contends in Claim P that the trial court should have excluded

inculpatory evidence obtained from an unreasonable search and seizure in violation

of the Fourth Amendment. 91 Doc. 16 at 65-66 ¶ 107. At issue here is the investigatory


       90
            See Brecht, 507 U.S. at 638.
       91
          Although Windsor alleges in his petition that the admission of arrest-related evidence
violated his Fourth, Fifth, Sixth, Eighth, and Fourteenth Amendment rights, doc. 16 at 68-69 ¶ 111,
Windsor focuses only on Fourth Amendment authorities in framing this constitutional issue, id. at
66-67 ¶¶ 108, 109. Thus, he has abandoned his claims, if any, related to these other amendments.
Moreover, the Fifth Amendment is inapplicable here. See n. 28 supra. And, because Windsor does
not elaborate why he has a cognizable Sixth, Eighth, or (aside from incorporation) Fourteenth
Amendment right, his claims based on those amendments are abandoned, underdeveloped, or
unproven.
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stop that led to his arrest. Specifically, after confirming the identities of and arresting

Windsor and Guthrie based on a BOLO bulletin, authorities found a .25 caliber pistol

on Windsor and a sawed-off shotgun in the Mustang. Doc. 16 at 66 ¶ 107. Windsor

contends that the stop and subsequent search were improper. For procedural and

substantive reasons, the court denies this claim.

                                                a.

       The Fourth Amendment prohibits unreasonable searches and seizures. U.S.

Const. amend. IV. And “all evidence obtained by searches and seizures in violation

of the Constitution is, by that same authority, inadmissible in a state court.” Mapp v.

Ohio, 367 U.S. at 655. 92 In Windsor’s case, the ACCA denied this claim post-

remand. See Windsor II (ACCA), 683 So. 2d at 1031. The Alabama Supreme Court

affirmed, summarizing the circumstances of Windsor’s arrest:

              The BOLO, asking officers to be on the lookout for men
       resembling the bulletin description, contained a photograph of Windsor
       and Guthrie and described the vehicle in which they were thought to be
       traveling. The BOLO alerted the Tennessee police officer who spotted
       the two men asleep in a car matching the description given in the
       bulletin, at a rest area on or about March 6, 1988. The car was backed
       into the parking space, with the front tires sharply turned toward the exit
       ramp of the rest area. One of the occupants of the car was wearing a


       92
           See also Terry v. Ohio, 392 U.S. 1, 15 (1968) (“[P]olice conduct which is over-bearing or
harassing, or which trenches upon personal security without the objective evidentiary justification
. . . . must be condemned by the judiciary and its fruits must be excluded from evidence in criminal
trials.”).
                                                 116
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      dark-colored ball cap, as described in the bulletin. The officer called for
      reinforcements. Windsor and Guthrie were thereafter arrested and
      charged with the murder of [Mr.] Howard.

Windsor II, 683 So. 2d at 1052. Citing United States v. Hensley, 469 U.S. 221 (1985),

the Court found no Fourth Amendment violation because the arresting officer relied

on the BOLO description and the attached photograph in apprehending Windsor and

Guthrie. Id. The Alabama Supreme Court’s ruling is consistent with United States

Supreme Court precedent that an officer’s reliance on a BOLO containing

“articulable facts supporting a reasonable suspicion that the wanted person has

committed an offense . . . justifies a stop to check identification.” Hensley, 469 U.S.

at 232) (internal quotation marks omitted).

                                          b.

      The Respondents challenge this claim under 28 U.S.C. § 2244(d)(1)’s one-year

bar which expired several months before Windsor amended his petition. Docs. 26 at

58; 16. Windsor concedes this point but argues that his illegal search claim relates

back to the initial petition. Docs. 28 at 47; 1 at 21-24. “So long as the original and

amended petitions state claims that are tied to a common core of operative facts,

relation back will be in order.” Mayle, 545 U.S. at 664. Here, however, based on the

allegations Windsor relies on to support relation back, see docs. 1 at 21-24; 28 at 47,

application of the doctrine is inappropriate.
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       On page 21 of his original petition, Windsor includes a “Trial Counsel Failed

to Procure Necessary Expert Assistance” subheading and asserts that his lawyers

should have retained fingerprint, firearm and projectile, pathologist, and medical

experts. Doc. 1 at 21-22. And beginning on page 23, Windsor starts a new subsection

called “Trial Counsel Failed to Object to Egregious Instances of Prosecutorial

Misconduct in Closing Argument” and identifies several areas, including when the

prosecutor suggested to the jury that the gun found on Windsor may have been the

same gun used to kill Mr. Howard. Id. at 23-24. But Windsor does not assert a Fourth

Amendment search and seizure claim on these pages or elsewhere within the petition.

Thus, Windsor’s Mapp claim is without “a common core of operative facts” that ties

it to a timely habeas filing, and it is barred by § 2244(d)(1)’s statute of limitations. 93

                                             c.

       The Respondents argue alternatively that Stone v. Powell, 428 U.S. 465 (1976),

precludes a merits-based review of this claim. Doc. 26 at 59-60. Stone held that a

state prisoner cannot base habeas relief on a Mapp violation if “the state has provided

an opportunity for full and fair litigation of a Fourth Amendment claim[.]” Stone, 428

U.S. at 494. Citing Wallace v. Kato, 549 U.S. 384 (2007), Windsor maintains that



       93
          Windsor’s reliance upon Mandacina v. United States, 328 F.3d 995, 1000-01 (8th Cir.
2003), is unhelpful because the petitioner there asserted Brady violations in both petitions.
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Stone is inapplicable because he did not receive a full and fair hearing of this Fourth

Amendment claim. 94 Doc. 16 at 67 ¶ 109. The Court observed in Kato that “[u]nder

Stone, Fourth Amendment violations are generally not cognizable on federal habeas,

but they are cognizable when the State has failed to provide the habeas petitioner ‘an

opportunity for full and fair litigation of a Fourth Amendment claim.’” Kato, 549

U.S. at 395 n. 5 (emphasis in Kato) (quoting Stone, 428 U.S. at 482); Doc. 16 at 67 ¶

109. Windsor cites the ACCA’s differing views about the merits of this claim pre-

and post-remand to support his contention that the Stone exception applies. Docs. 16

at 67-68 ¶ 110; 28 at 48. Additionally, Windsor questions the Alabama Supreme

Court’s omission of the Fourth Amendment claim from its opinion on the first appeal

and its understanding of the underlying BOLO and investigatory stop facts on the

second appeal. Docs. 16 at 68 ¶110; 28 at 48. But Windsor does not substantiate why

the trial and direct appeal processes were insufficient under Stone’s parameters—an

unfavorable outcome does not mean that Windsor did not have a full and fair

opportunity to contest the reasonableness of his arrest under the Fourth


       94
          Windsor contested the reasonableness of his arrest and moved unsuccessfully to exclude
the seized pistol and shotgun under the Fourth Amendment. Vol. 7 at 281-85. The trial court denied
the motion. As mentioned in the background section, the ACCA questioned the soundness of the
trial’s court’s exclusionary ruling in Windsor’s first appeal. Windsor I (ACCA), 683 So. 2d at 1018.
But in the second appeal, the court had no Fourth Amendment concerns, see Windsor II (ACCA)),
683 So. 2d at1041, and the Alabama Supreme Court affirmed, Windsor II, 683 So. 2d at 1062.

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Amendment. 95 Therefore, the court finds that Stone bars the consideration of the

merits of the unreasonable search and seizure claim.

                                                d.

       The Respondents challenge also Windsor’s ability to show that the Alabama

Supreme Court contradicted or unreasonably applied Supreme Court precedent. Doc.

26 at 60-63. Windsor offered nothing in response to this argument. See doc. 28 at 46-

48. Based on Windsor’s silence, he has conceded the appropriateness of a §

2254(d)(1) dismissal. Alternatively, Windsor’s reliance on the BOLO bulletin’s

description of the suspects’ vehicle as a brown Plymouth Volare instead of a black

Mustang, doc. 16 at 68 ¶ 110, does not meet the contrary to or unreasonable

application standard. Other identifying information, including the dark-colored cap

and the attached photograph, reasonably supported the officer’s investigatory stop

and arrest of Windsor.

       For all these reasons, the court denies Claim P.




       95
          Windsor mentions that the Stone habeas bar may not apply in death penalty cases. Doc.
16 at 67 ¶ 109. “[The Eleventh Circuit], however, has applied this doctrine to capital cases in the
past, and [found] nothing in the language or reasoning of Powell itself or the Supreme Court’s more
recent pronouncements to support such a distinction.” Devier v. Zant, 3 F.3d 1445, 1455 (11th Cir.
1993) (footnote omitted).

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                                               B.

       The court turns now to Windsor’s claims related to the penalty phase, Claims

H and I.

                                               1.

       Windsor raises alleged improper prosecutorial comments in Claim H. More

specifically, he states that the cumulative impact of the prosecutor’s improper

penalty-phase closing argument rendered the jury’s death-sentence recommendation

unreliable in violation of his Eighth and Fourteenth Amendment rights. 96 Doc. 16 at

34 ¶ 61. At issue here are the following comments by the prosecutor:

       • that Windsor’s mother could not “remember how long” Windsor “ha[d]

            been sitting in prison” after describing Windsor’s life “over the past eight

            or ten years” as involving “stealing and sitting around a penitentiary. . . .

            [and] not just one or two stealings but a bunch of stealings . . . .” Doc. 16 at

            35 ¶ 62; Vol. 6, Tabs 22, 23 at 1095, 1100;




       96
          Although Windsor alleges in his petition that the prosecutor’s improper penalty-phase
closing violated his Fifth, Sixth, Eighth, and Fourteenth Amendment rights, doc. 16 at 39 ¶ 67,
Windsor focuses only on Eighth and Fourteenth Amendment authorities in framing this issue, id.
at 34, 35-36, 37-38 ¶¶ 61, 63, 64-65; doc. 28 at 26, 29-30. Thus, he has abandoned his claims, if
any, related to the other amendments. Moreover, the Fifth Amendment is inapplicable here. See n.
28 supra. And, because Windsor does not elaborate why he has a cognizable Sixth Amendment
right, the court dismisses the claim based on it as abandoned, underdeveloped, or unproven.

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      • that the jury “may disregard their mitigating circumstances.” Doc. 16 at 35

         ¶ 62; Vol. 6, Tab 23 at 1100;

      • suggesting that the jury show Windsor “the same mercy that he showed

         [Mr.] Howard when he walked into that store with that sawed off shotgun

         and blew his heart out” and judge Windsor “by the same standard that he

         judged [Mr.] Howard . . . . [Mr.] Howard was a good citizen.” Doc. 16 at

         36 ¶ 63; Vol. 6, Tab 23 at 1102;

      • invoking the prosecutorial office, his 12 years of experience “tr[y]ing scores

         of cases,” and his history of requesting the death penalty five times and

         asking the jury “on behalf of the State of Alabama . . . to do the right thing.

         . . . [and] sentence Harvey Lee Windsor to death by electrocution . . . . It is

         the right thing to do. I don’t hesitate one bit to ask each of you to do it.”

         Doc. 16 at 37 ¶ 64; Vol. 6, Tab 23 at 1097-98; and

      • comparing Windsor to a “cold . . . snake” that “went through this county”

         and “coiled up and struck,” and that “[t]he only thing [the jury] can do . . .

         to keep it from striking again is to cut its head off.” Doc. 16 at 38 ¶ 65.

Vol. 6, Tab 25 at 1110.




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                                         a.

      The court must evaluate the statements cumulatively, considering whether “the

misconduct of the prosecuting attorney was [more than] slight or confined to a single

instance, but . . . was pronounced and persistent, with a probable cumulative effect

upon the jury which cannot be disregarded as inconsequential.” Berger, 295 U.S. at

89. In this Circuit, the following framework applies when evaluating this type of

sentencing claim:

             The law relating to prosecutorial argument at the sentencing stage
      of a capital case has been settled in this circuit since four en banc
      decisions on the subject were released in Georgia cases 16 years ago.
      See Brooks v. Kemp, 762 F.2d 1383 (11th Cir.1985) (en banc), vacated
      on other grounds, 478 U.S. 1016, 106 S.Ct. 3325, 92 L.Ed.2d 732
      (1986), reinstated, 809 F.2d 700 (1987) (en banc); Drake v. Kemp, 762
      F.2d 1449 (11th Cir.1985) (en banc); Tucker (William) v. Kemp, 762
      F.2d 1480 (11th Cir.1985)(en banc), vacated on other grounds, 474 U.S.
      1001, 106 S.Ct. 517, 88 L.Ed.2d 452 (1985), extended and reinstated,
      802 F.2d 1293 (11th Cir.1986) (en banc); Tucker (Richard) v. Kemp,
      762 F.2d 1496 (11th Cir.1985) (en banc). Under that well-settled law,
      habeas relief is due to be granted for improper prosecutorial argument
      at sentencing only where there has been a violation of due process, and
      that occurs if, but only if, the improper argument rendered the
      sentencing stage trial fundamentally unfair. See Brooks, 762 F.2d at
      1400; Drake, 762 F.2d at 1458; see also Spivey v. Head, 207 F.3d 1263,
      1275 (11th Cir.2000). An improper prosecutorial argument has rendered
      a capital sentencing proceeding fundamentally unfair if there is a
      reasonable probability that the argument changed the outcome, Brooks,
      762 F.2d at 1401, which is to say that absent the argument the defendant
      would not have received a death sentence. A reasonable probability is
      one that is sufficient to undermine confidence in the outcome. Id.

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      (citation omitted); Drake, 762 F.2d at 1458; Spivey, 207 F.3d at 1275–
      76.

             The first step in analyzing any sentence stage prosecutorial
      argument is to determine if it is improper, because no matter how
      outcome-determinative it is[,] a proper argument cannot render the
      proceedings fundamentally unfair and therefore cannot be the basis for
      a constitutional violation. Brooks, 762 F.2d at 1403 (“A permissible
      argument, no matter how ‘prejudicial’ or ‘persuasive,’ can never be
      unconstitutional.”); Spivey, 207 F.3d at 1276 (“Proper arguments,
      regardless of their impact on the outcome of the case, do not render a
      trial unfair.”).

Romine, 253 F.3d at 1365-66. An improper argument is one that “encouraged the jury

to take into account matters that are not legitimate sentencing considerations.”

Johnson v. Wainwright, 778 F.2d 623, 630 (11th Cir. 1985). “If a reviewing court is

confident that, absent the improper remarks, the jury’s decision would have been no

different, the proceeding cannot be said to have been fundamentally unfair.” Tucker

v. Kemp, 802 F.2d 1293, 1296 (11th Cir. 1986) (en banc).

      If the prosecutor argued improperly, then “the second step of the legal analysis

. . . is to determine . . . . [whether] absent the argument, there is a reasonable

probability that the result would not have been a death sentence[.]” Romine, 253 F.3d

at 1368. Not all improper statements “warrant[] habeas relief. . . . because not all of

them render the proceeding unfair, which is the measure of a due process violation.”

Id. (citing Darden v. Wainwright, 477 U.S. 168, 179–181 (1986)). This second

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inquiry requires considering the impact of improper comments on “the entire context

of the judicial proceeding.” Id. (internal quotation marks omitted).

                                              b.

       The ACCA and the Alabama Supreme Court rejected this claim on appeal.

Windsor II (ACCA), 683 So. 2d at 1039-40; Windsor II, 683 So. 2d at 1061. Because

Windsor argues that de novo review applies, doc. 28 at 31, the court examines the

appellate courts’ decisions to determine if either court addressed Windsor’s federal

claim sufficiently under AEDPA’s contrary to test. 97 The ACCA found that “no error

occurred” from the prosecutor’s comments under Alabama’s plain-error doctrine.

Windsor II (ACCA), 683 So. 2d at 1040. The court noted that Windsor failed to object

to the remarks and quoted from a footnote in Wainwright on the issue of harmfulness:

       ‘This court has concluded that the failure to object to improper
       prosecutorial arguments . . . should be weighed as part of our evaluation
       of the claim on the merits because of its suggestion that the defense did
       not consider the comments in question to be particularly harmful.’

Id. (quoting Kuenzel v. State, 577 So. 2d 474, 489 (Ala. Crim. App. 1990), aff’d, 577

So. 2d 531 (Ala. 1991) (quoting in turn Wainwright, 778 F.2d at 629 n. 6)). The court

held that the prosecutor “permissibl[y] comment[ed] on facts in evidence or


       97
         See Romine, 253 F.3d at 1365 (applying de novo habeas review after expressing “grave
doubt that the Georgia Supreme Court applied federal law at all, let alone the governing law set
down in Supreme Court decisions”); Wilson, 138 S. Ct. at 1192 (describing “look through” habeas
presumption).
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arguments concerning the weight to accord aggravating and mitigating

circumstances.” Id. The court cited no other federal authorities, did not screen for

improper arguments under federal law, and did not reach the second inquiry of

whether a reasonable probability existed that, absent any improper comments, the

jury would have recommended a life sentence.

       For its part, the Alabama Supreme Court summarized Windsor’s challenged

remarks to include:

       that the State improperly urged the jury to disregard any mitigating
       evidence; that the State misled the jury into believing that the death
       penalty was mandatory; that the State referred to Windsor in
       inflammatory and prejudicial terms; and that the State urged the jury to
       abjure mercy.

Windsor II, 683 So. 2d at 1061. The Court’s analysis mirrored the ACCA in noting

an absence of trial objections and quoting Wainwright on harmlessness. Id. The Court

relied on United States v. Butler, 792 F.2d 1528, 1532 (11th Cir. 1986), a non-death

penalty case, to define plain error. Id. Opting not to analyze each area for plain error,

the Court considered the comments “in the full context of the prosecution’s remarks”

and found that the trial court’s “cautionary instruction to the jury following the State’s

remarks cured any error.”98 Id.


       98
         The trial court gave the curative instruction after the prosecutor compared Windsor to a
coiling and striking cold snake:

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       Based on the state appellate court opinions, this court, like the Eleventh Circuit

in Romine, has “grave doubt” that either court applied federal law consistent with

Supreme Court precedent when considering the merits of Windsor’s federal

sentencing-phase claim. See Romine, 253 F.3d at 1365. The court bases this

determination on the courts’ inclusion of Alabama plain error review only in their

analyses and the absence of a constitutional standard or a statement that the plain

error and federal framework for this claim are essentially the same. In reaching this

determination, this court notes that both state courts relied on a block quote from




       THE COURT: All right, Mr. Livingston, that is not proper.

       MR. LOWERY: We ask [that] it be excluded.

       THE COURT: Ladies and Gentlemen, of the Jury, your decision is based solely on
       weighing aggravating and mitigating circumstances and you are to consider nothing
       else.

Vol. 6, Tab 25 at 1110-11. After requesting a discussion outside the jury’s presence, Windsor’s
counsel moved for a directed-verdict finding of life without parole based on the snake analogy.
Id. at 1111. The trial court found no error because the prosecutor had completed half of the closing
statement and the jury had received a limiting instruction. Id. And before the prosecutor resumed
his closing, the trial court cautioned the jury again:

       Ladies and Gentlemen, any arguments that do not have to do with the aggravating
       circumstances referred to by the State, I will instruct you to exclude any other
       remarks by the District Attorney concerning any other factors or reasons for your
       decision.

Id. While the Alabama Supreme Court considered the impact of the trial court’s curative instruction
on the prosecutor’s remarks, it did so under plain error review without reference to a federal
standard. Windsor II, 683 So. 2d at 1061.
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Wainwright to evaluate the absence of objections, but failed to consider whether the

prosecutor’s argument was constitutional under the two-part test that the Eleventh

Circuit followed in Wainwright. Additionally, the courts relied on dicta from

Wainwright in the discussion of harmfulness when a defendant fails to object:

            Of the three arguments criticized by the petitioner, only one
      precipitated any objection on the part of the defense lawyer. This court
      has concluded that the failure to object to improper prosecutorial
      arguments does not necessarily preclude review, but should be weighed
      as part of our evaluation of the claim on the merits because of its
      suggestion that the defense did not consider the comments in question
      to be particularly harmful. See Brooks, 762 F.2d at 1397 n. 19; Drake,
      762 F.2d at 1461 n. 16; Tucker (William), 762 F.2d at 1484 n. 5; Tucker
      (Richard), 762 F.2d at 1505 n. 13. Because we conclude that the
      arguments being criticized here, when viewed in the context of the entire
      proceeding, failed to render the trial fundamentally unfair, we find it
      unnecessary to consider how the lack of an objection should be assessed.

Wainwright, 778 F.2d at 629 n. 6. Thus, the court reviews Windsor’s unfair

sentencing claim de novo.

                                          c.

      Windsor satisfies the first step of the penalty-phase claim—he has shown that

the challenged prosecutorial comments were improper or very close to that line. For

example, a prosecutor should not undermine a mitigating factor by commenting on a

defendant’s criminal or custodial history in a manner that the evidentiary record does

not substantiate. Otherwise, “the sentencer . . . [will be unable to] giv[e] [proper]

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independent mitigating weight to aspects of the defendant’s character and record and

to circumstances of the offense proffered in mitigation [and] creates the risk that the

death penalty will be imposed in spite of factors which may call for a less severe

penalty.” Lockett, 438 U.S. at 605. Also, a prosecutor should not argue that the jury

should not consider mercy. 99 “[T]he suggestion that mercy is inappropriate was not

only a misrepresentation of the law, but it withdrew from the jury one of the most

central sentencing considerations, the one most likely to tilt the decision in favor of

life.” 100 Drake, 762 F.2d at 1460. And a prosecutor should not pressure a jury to do

the right thing or endorse the imposition of the death penalty implicitly by invoking

his office and highlighting his experience.101 Finally, a prosecutor should not refer to


       99
          Windsor acknowledges that under Buttrum v. Black, 479 U.S. 902, 903 (1986), an
improper comment about mercy alone may not be sufficient to show a constitutional violation but
that in his case the “prosecutor bootstrap[ed] the mercy comments to the inference that the State
thinks death is the appropriate punishment for the murder of a good citizen.” Doc. 28 at 30.
       100
           Cf. Penry v. Lynaugh, 492 U.S. 302, 327 (1989) (“But as we made clear in Gregg, so long
as the class of murderers subject to capital punishment is narrowed, there is no constitutional
infirmity in a procedure that allows a jury to recommend mercy based on the mitigating evidence
introduced by a defendant.”), overruled on other grounds by Atkins v. Virginia, 536 U.S. 304
(2002), and holding modified by Boyde v. California, 494 U.S. 370 (1990); California v. Brown,
479 U.S. 538, 545-46 (1987) (O’Connor, J., concurring) (“[O]ne difficulty with attempts to remove
emotion from capital sentencing through instructions such as those at issue in this case is that juries
may be misled into believing that mitigating evidence about a defendant’s background or character
also must be ignored.”), holding modified by Boyde, 494 U.S. 370.
       101
          See, e.g., United States v. Young, 470 U.S. at 1, 18 (1985) (finding during guilt phase that
prosecutor erred in “try[ing] to exhort the jury to ‘do its job’ [because] that kind of pressure, whether
by the prosecutor or defense counsel, has no place in the administration of criminal justice”) (citing
ABA Standards for Criminal Justice, 3–5.8(c) and 4–7.8(c)); Brooks, 762 F.2d at 1410 (discussing
                                                   129
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a defendant as an animal, and the “use of the word ‘animal’ . . . . undoubtedly is

improper.”102 Darden, 477 U.S. at 180.

                                                 d.

       This court must decide in step two whether these improper comments resulted

in an unfair death sentence. The court must keep in mind that the measure of an unfair

death sentence is whether a reasonable probability exists that the jury would have

reached a different result absent the improper remarks. Romine, 253 F.3d at 1368-69.

Viewing the record as a whole and in relation to binding precedent, a reasonable

probability of a different outcome without the prosecutor’s challenged comments is

absent here. To begin, the prosecutor’s remark about Windsor’s indefinite amount of

time spent in prison was isolated and ambiguous. And “‘isolated, or ambiguous or

unintentional remarks must be viewed with lenity,’ Brooks, 762 F.2d at 1400, and a

brief remark is less likely to cause prejudice.” Romine, 253 F.3d at 1369.



years of criminal experience and “practice of seeking death only in a few cases” was improper as
argument “implied to the jury that the prosecutor’s office had already made the careful judgment
that this case, above most other murder cases, warranted the death penalty”); Berger, 295 U.S. at
88 (observing that a prosecutor’s “improper suggestions, insinuations, and, especially, assertions of
personal knowledge are apt to carry much weight” with an “average jury”).
       102
          But similar to the animal remark in Darden, the snake remark “did not manipulate or
misstate the evidence, nor did it implicate other specific [sentencing] rights of [Windsor].”
Darden, 477 U.S. at 182. Therefore, omitting the snake reference would not have a reasonable
probability of altering the sentencing outcome.

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Additionally, Windsor’s mother confirmed that Windsor “had spent a lot of his time

in the penitentiary” during Windsor’s counsel’s examination. Vol. 6, Tab 22 at 1083;

See also id. at 1087.

       The court considers the mitigation, mercy, prosecutorial experience, and snake

statements with more scrutiny and context. 103 No relief is warranted here because

while the prosecutor overstepped or misspoke at times in discussing mitigation and

mercy, he clarified to the jury that whether the aggravating circumstance of “a murder

committed during a robbery” outweighed any mitigating circumstances would “be a

call that each of you will be asked to make” and that “the defendant has th[e] right to

have you consider everything you possibly can about his life.” Vol. 6, Tab 23 at 1099,

1100. The prosecutor commented similarly on the jury’s weighing role in his opening

statement. Vol. 6, Tab 19 at 1074. In other words, he correctly informed the jury

regarding their role.

       Next, the prosecutor’s comments about his state office and prosecutorial

experience fall short of qualifying as direct or impactful as the challenged remarks in

Caldwell v. Mississippi, 472 U.S. 320 (1985). The Caldwell prosecutor told the jury

unequivocally to absolve themselves of any belief that they would be responsible for



       103
          See Cargill v. Turpin, 120 F.3d 1366, 1379 (11th Cir. 1997) (“[A] reviewing court should
not assess prosecutorial comments in isolation, shorn of their context.”).
                                                131
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killing the defendant because their decision was reviewable. Caldwell, 472 U.S. at

325. In contrast, here, the prosecutor did not minimize the jury’s role in making a life

or death decision to the degree of a reasonable probability of altering the outcome.

Although the prosecutor asked the jury “to do the right thing” 104 and invoked his

office, his years of experience, and the handful of times in which he had sought the

death penalty, he tempered those improper statements when he recognized how

“painful” and “difficult” it would be for the jury “to summon up that courage to return

that verdict.” Vol. 6, Tab 23 at 1098. And the prosecutor never referred to the jury’s

decision as an advisory decision or mentioned the opportunities for appellate and

collateral review of a death sentence judgment. In that respect, he never engaged in

conduct that impacted the cardinal rule “that capital sentencers would view their task

as the serious one of determining whether a specific human being should die at the

hands of the State.” Caldwell, 472 U.S. at 329.

                                                e.

       No relief is warranted also because “this court also evaluates whether ‘defense

counsel’s closing argument . . . ameliorate[d] the damage done to the defense by the

prosecutor’s [statements].’” Cargill, 120 F.3d at 1379 (quoting Davis v. Zant, 36 F.3d



       104
          Directly referencing this particular prosecutorial remark, Windsor’s counsel asked the
jury “to do the right thing too.” Vol. 6, Tab 24 at 1105.
                                                 132
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1538, 1551 (11th Cir. 1994))). Here, in response to the first part of the prosecutor’s

closing argument which included most of the challenged comments, Windsor’s

counsel asked the jury to “consider all those factors and not all this stuff the D.A. has

talked about--just weigh the evidence--take it seriously. It is not something you can

clown around with like he does.” Vol. 6, Tab 25 at 1107. And, countering the impact

of the prosecutor’s remarks, Windsor’s counsel told the jury that “[t]he District

Attorney wants to make it some type of promise or macho thing - - you have this

power.” Vol. 6, Tab 24 at 1106. Based on this record, counsel’s statements

ameliorated the prosecutor’s inappropriate comments.

                                                  f.

       Windsor is also not entitled to relief because the trial court gave a curative

instruction.105 In particular, after the coiling and striking cold snake comment, the



       105
           This is in stark contrast to the more prejudicial comments in Romine which the judge
endorsed. In particular, “[t]he prosecutor’s admonition to the jurors to base their decision on
whether Romine should live or die on Biblical law [which] struck home with at least some of the
jurors.” Romine, 253 F.3d. at 1362. The prosecutor delivered “a hell fire and brimstone mini-sermon
the effect of which was to tell them that regardless of the law of Georgia, they ought to follow the
law of God” without “any consideration of mercy.” Id. at 1369. To make matters worse, the trial
court essentially endorsed the prosecutor’s Biblical theme: “‘The circumstances here include a
sentence stage trial saturated with evidence relating to religion, in which the jurors are sequestered
at a Baptist assembly, where the judge suggested having ‘Brother Caylor out there’ put the jurors
in a room and ‘give you a good sermon.’” Id. at 1369. Additionally, “[t]here was no curative
instruction from the court at the time of the argument, and the final instructions to the jury did not
effectively cure the error, either.” Id.

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court interjected that the prosecutor’s comments were improper and gave two

curative charges instructing the jury to disregard remarks unrelated to aggravating or

mitigating factors. Vol. 6, Tab 25 at 1110-11. The trial court instructed the jury a

third time on this point before deliberations, telling the jury “you must avoid any

influence of passion, prejudice or any other arbitrary factor. . . . There is no room for

influence of passion, prejudice or arbitrary factors.” Id. at 1121.

                                           g.

      Relief is also not warranted because the relative strength of the aggravating

and mitigating factors favors finding no “reasonable probability that but for the

improper argument the result might have been different.” Romine, 253 F.3d at 1370.

Windsor argued mitigation based on an intent to commit a robbery only and the

absence of violent offenses on his criminal record. Vol. 6, Tabs 20, 21, 22 at 1076,

1077, 1087. Windsor called his mother to testify about the limited experiences he had

growing up and the disconcerting changes in him after a motorcycle accident. Vol. 6,

Tab 21 at 1077, 1083-84, 1086-87, 1088-90, 1092-94. Consistent with the relative

strength of the aggravating evidence, unlike Romine, Windsor’s sentencing

proceedings did not involve a deadlocked jury, juror questions, an Allen charge, or

anything to suggest that the prosecutor’s statements at issue infected the deliberation



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process.106 Vol. 6, Tab 27 at 1126. Instead, the jury recommended a death sentence

unanimously based on the strength of the aggravating factors.

                                                h.

       Finally, although not dispositive of the second step, the failure to object to most

of the challenged comments and lodging the objection to the snake comment only

after the trial court flagged that argument as improper “weigh[] against a finding that

the improper argument rendered the sentencing proceeding unfair.” Romine, 253 F.3d

at 1370. As the Circuit has noted on a similar issue, “that no objection was made

during the prosecutor’s closing argument further supports our belief that the

statement was not severe enough to render the sentencing hearing fundamentally

unfair.” Williams v. Kemp, 846 F.2d 1276, 1283 (11th Cir. 1988). And, this failure to

object further distinguishes the facts here from those in Guthrie’s case. While

Windsor is correct that Guthrie obtained a favorable new trial outcome based partially

on “the prosecutor’s vouching for the credibility of the state’s witnesses[] [d]uring

the state’s closing argument in the guilt phase,” Guthrie v. State, 616 So. 2d 914, 929-



       106
          One of the jurors in Romine testified during a state habeas hearing that she discussed and
reviewed Biblical passages during deliberations. Romine, 253 F.3d at 1362. The jury deadlocked
twice during the process and asked a question about mitigating circumstances. Id. After the trial
court denied two motions for a mistrial and gave the jury an Allen charge, the jury resumed
deliberations and returned with a unanimous death sentence verdict. Id.

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30 (Ala. Crim. App. 1993), in that case, Guthrie’s counsel contemporaneously

objected to the improper remark, id.; doc. 16 at 37-38 ¶ 64. Moreover, the court

granted Guthrie a new trial because the prosecutor vouched for the witnesses in his

closing. That situation is too different factually and legally to prove helpful to

Windsor.

       To close, Windsor has not demonstrated that the impact of the prosecutor’s

improper comments, singularly or cumulatively, rendered the jury’s sentencing

decision fundamentally unfair under de novo review. Consequently, the court denies

Claim H.

                                                  2.

       Windsor maintains in Claim I that the trial court’s exclusion of mitigating

evidence violated his Eighth and Fourteenth Amendment rights. 107 Doc. 16 at 39-40

¶ 68. During the sentencing hearing, the trial court sustained a hearsay objection that

precluded Windsor’s mother from completing a thought about how Windsor’s

motorcycle accident in 1985 had caused a decline in his mental health and stability.

       107
           Although Windsor alleges conclusively that the trial court’s preclusion of Ms. Windsor’s
mitigation testimony violated his Fifth, Sixth, Eighth, and Fourteenth Amendment rights, doc. 16
at 41 ¶ 71, Windsor focuses only on Eighth and Fourteenth Amendment authorities in framing this
constitutional issue, id. at 40 ¶ 69; doc. 28 at 32. Thus, he has abandoned his claims, if any, related
to these other amendments. Moreover, the Fifth Amendment is inapplicable here. See n. 28 supra.
And because Windsor does not elaborate why he has a cognizable Sixth Amendment right, the court
dismisses Windsor’s claim based on it as abandoned, underdeveloped, or unproven.

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Vol. 6, Tab 22 at 1086. “[E]vidence about the defendant’s background and character

is relevant because of the belief, long held by this society, that defendants who

commit criminal acts that are attributable to a disadvantaged background, or to

emotional and mental problems, may be less culpable than defendants who have no

such excuse.” Brown, 479 U.S. at 545 (O’Connor, J., concurring). For that reason,

the Court has stressed the importance of guaranteeing an individualized assessment

during the penalty phase of a death penalty case:

      the Eighth and Fourteenth Amendments require that the sentencer, in all
      but the rarest kind of capital case, not be precluded from considering, as
      a mitigating factor, any aspect of a defendant’s character or record and
      any of the circumstances of the offense that the defendant proffers as a
      basis for a sentence less than death.

Lockett, 438 U.S. at 604 (footnote omitted) (emphasis in original). Based on these

precedents, Windsor argues that the trial court erred in precluding him from

presenting a relevant mitigating factor for the jury.

                                           a.

      Relevant here, in Ms. Windsor’s direct testimony, when counsel asked whether

Windsor had an accident in the 1980s, Ms. Windsor responded:

      Yes, it was September 13, on a Friday morning, he had a motorcycle
      wreck and he had a broken leg and they came and told me he was in the
      hospital and they wanted to transfer him from Guntersville Hospital to
      Huntsville Hospital. They thought he was bleeding on the inside. From

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      the 13th of that Friday to the 20th of the next Friday, of September,
      something snapped in his mind just like a rubberband.

Vol. 6, Tab 22 at 1083. The medical personnel did not think that Windsor suffered a

head injury, but Ms. Windsor disagreed because when “[she] went to see him, he

didn’t know who [she] was.” Id. Ms. Windsor explained:

      I walked in that room, and he said, “Who are you?” He didn’t know
      nobody and was talking crazy saying ‘nuts and bolts’ and things like
      that. They transferred him from Huntsville to St. Margaret’s Hospital so
      they could operate on his leg. . . .

      I rode in the ambulance with him down there. When I went in the room,
      he said, “Are you going with me, Mommy?” That is the first time he
      called me mommy since he was a little boy. I told him, “No, son, I can’t
      go with you.” . . . He throwed a fit. He said, “If you don’t go, I’m not
      going.”

Id. at 1083-84.

      Ms. Windsor testified that Windsor stayed in the hospital for “[m]aybe three

or four months,” id., or six months, id. at 1093, and was “‘pretty banged up,’” id. at

1085. As for her visits to Windsor during this period, Ms. Windsor relayed:

      I went down there, but they wouldn’t let me in. They said, “He won’t
      even know who you are.” They said they was afraid he might hurt
      himself. He said they was not worried about him hurting anybody, but
      that he might try to hurt himself. They was more concerned about him
      hurting himself than--

Id. at 1085-86. At that point the prosecutor objected to “what ‘they’ said” on the

ground of hearsay, id., and the trial court sustained the objection, id. at 1086.
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        The sentencing hearing resumed, and counsel asked Ms. Windsor whether

Windsor underwent a psychiatric evaluation while hospitalized. Id. at 1086. Ms.

Windsor answered, “Yes, sir[.] I was told at the hospital that they had run tests on

him and everything.” Id. Ms. Windsor acknowledged that Windsor improved after

leaving the hospital but that “he was not the man I knew.” Id. And she reconfirmed

that Windsor had “not been the same since [the accident],” id., stating “NO, he is not

[the same since the accident,]” id. at 1094 (emphasis in original). Her testimony about

post-discharge visits included:

        We would visit him. When they found him guilty in Colbert County, we
        would go visit. We would be talking and he would quit talking and start
        staring out in space, just like nobody was in there but him. . . . He would
        just sit and stare in front of him and not say a word. . . . You could ask
        him something, and he would stop and think what he wanted to say. . . .
        That is the reason I knew he was not the same man before the accident.

Id. at 1086-87. And Ms. Windsor expressed concern about Windsor, including his

mental status, testifying that “he [wa]s not the same [son]” after the accident, id. at

1088, 1094, “[h]e don’t act like the same one I gave birth to,” id. at 1088, and “I love

him now, but he is not the one I gave birth to and cared for when he was sick,” id. at

1094.

        Nearing the end of her direct examination, counsel asked Ms. Windsor if she

had anything else pertinent to share, and Ms. Windsor added:

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      When we started taking him to Birmingham, I was riding in the
      ambulance with him. He was talking out of his head and all at once, he
      yelled out, “big red spiders on me. Get them off.” I had to act like I was
      getting them off to calm him down. We would ride a little piece and say
      there was snakes on him and biting him. I would have to try to calm him
      down by hugging him and telling him I would get the snakes off him.
      He was saying they was beating him with snakes. I [have] never seen
      my son in that shape.

Vol. 6, Tab 22 at 1092-93. As a result, Ms. Windsor requested medical attention for

Windsor during this episode but no one came to help. Id. at 1093. And Ms. Windsor

ended her direct testimony by telling the jury:

      If he done anything, he did not know he was doing it. That is all I can
      say. Before he had that accident, he was a healthy, happy man. He could
      do anything he set his mind to do. All I can say is he is not the same . . .
      Even though he is not the same as when he was born, he still ain’t no
      violent man. He could not take another man’s life.

 Id. at 1094.

                                                b.

      The ACCA and the Alabama Supreme Court rejected this claim on appeal. The

ACCA found that the trial court improperly precluded Ms. Windsor from explaining

what medical personnel had told her about Windsor’s unstable condition during an

attempted hospital visit, holding that “hearsay evidence is admissible at the penalty

phase of a capital case under § 13A–5–45(d).”108 Windsor II (ACCA), 683 So. 2d at

      108
            The relevant code section states:

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1039. Nonetheless, the court affirmed because Ms. Windsor’s extensive testimony

“about the effects of [Windsor’s] motorcycle accident” satisfied the plain error

doctrine. Windsor II (ACCA), 683 So. 2d at 1039. The court did not discuss a

constitutional right or cite a federal authority when addressing this claim. See

generally id. at 1038-39. For its part, the Alabama Supreme Court “agree[d] with the

Court of Criminal Appeals that, although the trial court did err, because Mrs. Windsor

testified extensively with regard to the effects the accident had on the defendant no

plain error occurred.” Windsor II, 683 So. 2d at 1061. In other words, the Court’s

decision is similarly devoid of federal analysis. See generally id.

      This court has “grave doubt” that either state court applied federal law

consistent with Supreme Court precedent when considering the merits of Windsor’s

federal mitigation claim. 109 The court bases this determination on the courts’

inclusion of Alabama plain error review only and the absence of a constitutional




      Any evidence which has probative value and is relevant to sentence shall be received
      at the sentence hearing regardless of its admissibility under the exclusionary rules
      of evidence, provided that the defendant is accorded a fair opportunity to rebut any
      hearsay statements. This subsection shall not be construed to authorize the
      introduction of any evidence secured in violation of the Constitution of the United
      States or the State of Alabama.

Ala. Code § 13A-4-45(d).
      109
            See Romaine, 253 F.3d at 1365.
                                              141
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standard or a statement that the plain error and federal framework for this claim are

essentially the same. Thus, the court reviews Windsor’s mitigation claim de novo.

                                          c.

      To obtain habeas relief, Windsor must establish that the trial court’s erroneous

hearsay ruling under Alabama law violated his federal constitutional rights. To meet

this burden, Windsor cites Lockett, Eddings v. Oklahoma, 455 U.S. 104 (1982),

Skipper v. South Carolina, 476 U.S. 1 (1986), and Payne v. Tennessee, 501 U.S. 808

(1990). Docs. 16 at 40 ¶ 69; 28 at 32. The court considers these decisions in the

context of Windsor’s constitutional claim.

      The Supreme Court struck down a state statute in Lockett that precluded

individualized consideration of mitigating evidence with limited exceptions.

Lockett, 438 U.S. at 593, 607. In particular, the statute precluded consideration of a

defendant’s “character, prior record, age, lack of specific intent to cause death, and

her relatively minor part in the crime.” Id. at 597. According to the defendant’s

presentence report and mental evaluations, she was

      a 21-year-old with low-average or average intelligence, and not
      suffering from a mental deficiency. One of the psychologists reported
      that “her prognosis for rehabilitation” if returned to society was
      favorable. The presentence report showed that Lockett had committed
      no major offenses although she had a record of several minor ones as a
      juvenile and two minor offenses as an adult. It also showed that she had
      once used heroin but was receiving treatment at a drug abuse clinic and
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      seemed to be “on the road to success” as far as her drug problem was
      concerned. It concluded that Lockett suffered no psychosis and was not
      mentally deficient.

Id. at 594. “After considering the reports and hearing argument on the penalty issue,

the trial judge concluded that the offense had not been primarily the product of

psychosis or mental deficiency” and imposed the death penalty. Id. And after

announcing “that the sentencer, in all but the rarest kind of capital case, not be

precluded from considering, as a mitigating factor, any aspect of a defendant’s

character or record and any of the circumstances of the offense that the defendant

proffers as a basis for a sentence less than death,” id. at 604 (emphasis by Court), the

Court concluded that “[t]he limited range of mitigating circumstances . . . [available

to a sentencer] under the Ohio statute” was “incompatible” with this constitutional

pronouncement, id. at 597, 604, 608.

      The Court considered in Eddings whether a death sentence violated the

petitioner’s Eighth Amendment rights because the trial court, “‘in following the

law,’” determined that it could not consider “evidence of a turbulent family history,

of beatings by a harsh father, and of severe emotional disturbance[.]” 455 U.S. at 113,

115. The Court found that that the trial court’s impression that, as a matter of law, it

was unable to rely on the petitioner’s violent background as a mitigating factor

violated the Lockett rule: “Just as the State may not by statute preclude the sentencer
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from considering any mitigating factor, neither may the sentencer refuse to consider,

as a matter of law, any relevant mitigating evidence.” Id. at 114-15 (emphasis by

Court). The Court found that “no doubt” existed about the relevance of the mitigating

evidence because the petitioner was sixteen when he committed the offense. Id. at

115. And the Court clarified that it reached its holding based on a concern “with the

manner of the imposition of the ultimate penalty: the death sentence imposed for the

crime of murder upon an emotionally disturbed youth with a disturbed child’s

immaturity.” Id. at 116.

      Next, the Court considered in Skipper whether the trial court’s exclusion of

several witnesses’ testimony regarding the petitioner’s good behavior pending trial

violated the Eighth and Fourteenth Amendments under Lockett and Eddings. Skipper,

476 U.S. at 3. Specifically, the trial court found as irrelevant and inadmissible under

state law the “testimony of two jailers and one ‘regular visitor’ to the jail to the effect

that petitioner had ‘made a good adjustment’ during his time spent in jail.” Id. The

state supreme court agreed, finding that “‘[t]he trial judge properly refused to admit

evidence of [petitioner’s] future adaptability to prison life” and that “‘evidence of his

past adaptability was admitted through [other witnesses].’” Id. at 3-4 (emphasis in

original) (quoting State v. Skipper, 285 S.C. 42, 48 (1985)). The Supreme Court

reversed, finding the reasoning “inconsistent” with Lockett and Eddings. Id. at 4. The
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Court reiterated the “rule that the sentencer may not refuse to consider or be precluded

from considering ‘any relevant mitigating evidence,’” and held that “[t]he exclusion

by the state trial court of relevant mitigating evidence impeded the sentencing jury’s

ability to carry out its task of considering all relevant facets of the character and

record of the individual offender.” Id. And in Payne, the Court recognized that

“virtually no limits are placed on the relevant mitigating evidence a capital defendant

may introduce concerning his own circumstances[.]” 501 U.S. at 822.

      Finally, in Green v. Georgia, 442 U.S. 95, 97 (1979), the Court considered

whether the trial court’s exclusion of evidence under a state hearsay rule violated the

petitioner’s penalty-phase due process rights under the Fourteenth Amendment. The

excluded confession testimony showed that the petitioner “was not present when [the

victim] was killed and had not participated in her death” and thus “was highly

relevant to a critical issue in the punishment phase of the trial[.]” Id. at 96-97. The

Court determined that “substantial reasons existed to assume the [confession’s]

reliability[,]” including that the state had used the same evidence in another capital

murder trial. Id. at 97. The Court held that under “these unique circumstances,” the

trial court’s “mechanical” application of the hearsay rule was unconstitutional

because the evidentiary exclusion “denied petitioner a fair trial on the issue of

punishment.” Id.
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      A takeaway from these constitutional authorities is that a sentencer must

consider all relevant mitigating evidence to secure a fair punishment for the defendant

under the Eighth and Fourteenth Amendments. Additionally, categorical exclusions

of mitigation information are constitutionally inappropriate. And, based on Green, a

trial court errs if it excludes relevant and reliable mitigating evidence on hearsay

grounds.

                                          d.

      In Windsor’s sentencing hearing, the trial court allowed Ms. Windsor to testify

about the negative effects of Windsor’s motorcycle accident. Vol. 6, Tab 22 at 1083-

86. But the court precluded her from completing her thoughts about what she had

learned from the doctors. Id. at 1086. Still, Windsor is not entitled to relief on this

issue because, unlike the cases he cites, he fails to describe the purportedly relevant

mitigating evidence. Basically, Windsor argues that the trial court’s violation of a

statutory sentencing law which precludes applying the hearsay rule constitutes an

automatic constitutional infringement that entitles him to a resentencing. However,

Windsor cites no authorities that adopt such a per se constitutional violation approach

to evaluating an unfair sentencing claim based on an erroneous application of a state

exclusionary rule. Without knowing what potentially mitigating information the trial

court’s hearsay ruling prevented Ms. Windsor from sharing during the sentencing
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hearing, this court is left to speculate to what degree, if any, the omission impacted

Windsor’s sentence. Cf. Turner v. Crosby, 339 F.3d 1247, 1277 (11th Cir. 2003)

(failing to present cumulative evidence during penalty phase is not ineffective

assistance). Therefore, because the record is silent about whether Ms. Windsor’s

precluded testimony would be materially different from or merely redundant of the

testimony regarding the motorcycle accident and its impact Ms. Windsor did provide,

Windsor has not proven that the sustained hearsay objection resulted in a

constitutionally unfair sentence. Consequently, the court denies Claim I.

                                                  C.

       The court turns now to the remaining claims—J, L, O, and Q—all of which

Windsor has essentially abandoned. More specifically, Windsor consents to the

dismissal of Claims J and L. 110 And, as discussed below, Windsor has not pursued

Claims O and Q, despite acknowledging their deficiencies in reply.

                                             1.

       Windsor contends in Claim O that his trial counsel’s ineffectiveness in

presenting mitigation evidence during the penalty phase violated his Sixth


       110
           See doc. 28 at 34 (conceding to dismissal of Claim J regarding his motion to excuse a
juror for cause); id. at 37 (“In view of the trial court’s evaluation of the security measures and a
lack of objective evidence of prejudice, Windsor concedes the State is correct in asserting Windsor
is not due relief on [Claim L].”).

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Amendment rights under Strickland. 111 Doc. 16 at 54-55 ¶ 93. Windsor raised this

claim during the state collateral review process. Doc. 16 at 60, 61 ¶¶ 99, 102; Vol.

21, Tab 79 at 449-453, 458-462. The Rule 32 court observed that Windsor’s trial

counsel “appear[ed] . . . not [to] present more mitigating evidence because it was not

available.” Vol. 21, Tab 79 at 461. The court denied this claim because Windsor

“fail[ed] to meet the specificity and full factual pleading requirements of Rule

32.6(b).” Id. at 462. The court identified several pleading deficiencies, including the

absence of “a single witness [Windsor’s] trial counsel could have interviewed that

might have provided any beneficial information for the penalty phase” or “anyone

that treated [Windsor] after his 1985 motorcycle wreck that could have provided any

testimony about his physical or mental condition that might have been mitigating.”

Id. at 459. The ACCA adopted the Rule 32 court’s findings and affirmed. 112 Windsor

Rule 32, 89 So. 3d at 824.



       111
          Windsor alleges in his petition that the ineffective assistance of trial counsel violated his
Fifth, Sixth, Eighth, and Fourteenth Amendment rights. Doc. 16 at 65 ¶ 106. But a Strickland
penalty-phase claim arises under the Sixth Amendment. Id. at 55 ¶ 93 (citing Strickland, 466 U.S.
at 686-67). And, the Fifth Amendment is inapplicable. See n. 28 supra. Moreover, because Windsor
does not elaborate why he has a cognizable Eighth or (aside from incorporation) Fourteenth
Amendment right, his claims based on those amendments are abandoned, underdeveloped, or
unproven.
       112
           In affirming the Rule 32 court’s dismissal of Windsor’s mitigation-based Strickland
claim, the ACCA ruled:

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       The Respondents argue that Windsor cannot show that the ACCA contradicted

or unreasonably applied Supreme Court precedent in affirming the Rule 32 court.

Doc. 28 at 56. In reply, Windsor concedes that “[w]ithout additional discovery, the

undersigned cannot question the legal conclusion of the [ACCA] on this issue.”

Doc. 28 at 45. But, during the course of this habeas proceeding, Windsor failed to

take advantage of the opportunity to conduct discovery to advance this Strickland

claim. Doc. 61 at 2-3. The court granted Windsor the right to conduct limited

discovery under Rule 6 of the Rules Governing Section 2254 Cases. Doc. 33 at 22-

23. In the September 29, 2017 order, the court set a deadline of March 30, 2018 for

Windsor to complete discovery. Doc. 33 at 26. And the court subsequently extended

the deadline five times, with the final order extending the deadline to February 8,




       The record supports the circuit court’s findings, and we adopt them as part of this
       opinion. We are well aware of the United States Supreme Court’s decisions in
       Rompilla v. Beard, 545 U.S. 374, 125 S.Ct. 2456, 162 L.Ed.2d 360 (2005), and
       Wiggins v. Smith, 539 U.S. 510, 123 S.Ct. 2527, 156 L.Ed.2d 471 (2003), regarding
       mitigation investigations by capital defense counsel. However, Windsor did not
       make sufficient allegations to satisfy his burden of pleading that his trial attorneys
       rendered deficient performance in this regard and that that allegedly deficient
       performance prejudiced him. See Rules 32.3 and 32.6(b), Ala. R.Crim. P., and
       Strickland. Rather, he simply made bare allegations that were not sufficient to
       warrant further proceedings as to this allegation. Accordingly, summary dismissal
       was proper as to this allegation.

Windsor Rule 32, 89 So. 3d at 824.

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2019. 113 In addition to the extensions, the court approved funds for Windsor to

depose his trial counsel to substantiate his ineffective assistance claim. See doc. 54.

After the last extension expired, Windsor requested additional time. Doc. 58. The

Respondents opposed the motion, doc. 60, and the court denied the request for lack

of good cause, doc. 61 at 3. The court noted, in part, that Windsor “had more than

sixteenth months to conduct discovery” and had waited until the day before the close

of discovery to depose one of his trial lawyers. Doc. 61 at 3.

       Thereafter, Windsor moved for the allocation of expert expenses “to retain Dr.

John Goff, a neuropsychiatrist, in preparation of an evidentiary hearing in this matter”

on his Strickland claim. Doc. 62 at 1. The motion is tardy and, like Windsor’s request

to extend the discovery deadline, lacks good cause. See Fed. R. Civ. P. 16(b)(4) (“A

schedule may be modified only for good cause and with the judge’s consent.”). “This

good cause standard precludes modification unless the schedule cannot ‘be met

despite the diligence of the party seeking the extension.’” Sosa v. Airprint Systems,

Inc., 133 F.3d 1417, 1418 (11th Cir. 1998) (quoting 1983 amended version of Fed.

R. Civ. P. 16(b)). Windsor has demonstrated a lack of diligence in pursuing this



       113
          See docs. 34, 35 (extending deadline to May 29, 2018, at Windsor’s request); 36, 37
(extending deadline to July 28, 2018, at Windsor’s request); 41 (extending deadline to November
30, 2018, after a telephone conference); 46, 47 (extending deadline to December 31, 2018, after a
joint request); 48, 49 (extending deadline to February 8, 2019, at Windsor’s request).
                                                150
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claim, and “[t]he record makes clear that [Windsor’s] failure to comply with the

court’s scheduling order resulted from a lack of diligence in pursuing [his] claim.”

Id. at 1419. And because “[d]eadlines are not meant to be aspirational; [and] counsel

must not treat the goodwill of the court as a sign that, as long as counsel tries to act,

he has carte blanche permission to perform when he desires,” Young v. City of Palm

Bay, 358 F.3d 859, 864 (11th Cir. 2004), the court will deny Windsor’s untimely

expert motion and will not hold an evidentiary hearing. 114 Therefore, because the

status of Windsor’s ineffective assistance of trial counsel claim remains the same as

it was in 2012 when he filed his amended petition and admitted in reply its deficiency,

the court denies Claim O as effectively conceded and unproven. 115




       114
           See, e.g., Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd., 507 U.S. 380, 397 (1993)
(observing that a party “cannot . . . avoid the consequences of the acts or omissions of . . . . his
lawyer-agent”) (internal quotation marks omitted) (quoting Link v. Wabash R.R. Co., 370 U.S. 626,
634 (1962)); Rule 8 of the Rules Governing Section 2254 Cases (providing that the court determines
whether holding “an evidentiary hearing is warranted” based on the habeas record). The Eleventh
Circuit clarified recently that “[i]f . . . the petitioner was diligent, ‘a federal court must consider
whether such a hearing could enable an applicant to prove the petition’s factual allegations, which,
if true, would entitle the applicant to federal habeas relief.’” Ledford v. Warden, Ga. Diagnostic
Prison, No. 19-11090, __ F.3d __, 2020 WL 5536386, at *11 (11th Cir. Sept. 15, 2020) (quoting
Schriro v. Landrigan, 550 U.S. 465, 474 (2007)). The court added that a non-diligent petitioner
“must satisfy the conditions of § 2254(e)(2)” to obtain an evidentiary hearing. Id. Because Windsor
concedes the deficiency of his Strickland claim, determining “whether or not [he] pursued his
[mitigation] claim diligently” in state court is unnecessary. Id. at *12.
       115
         In light of the § 2254(d)(1) dismissal, the court does not reach the Respondents’ additional
argument that part of Windsor’s Strickland claim is procedurally barred. Doc. 26 at 56-57.

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                                             2.

       Windsor contends in Claim Q that the State’s failure to produce photographic

and fingerprint evidence consistent with its discovery obligations violated his

Fourteenth Amendment due process rights under Brady. 116 Doc. 16 at 69 ¶ 112.

Windsor raised this claim during the State collateral review process. Doc. 16 at 70, ¶

113; Vol. 21, Tab 77 at 280-82. The Rule 32 court denied the photo array and

fingerprint evidence allegations as procedurally barred by Alabama Criminal

Procedure Rule 32.2(a). Vol. 21, Tab 77 at 280. The Rule 32 court denied the

remainder of this claim for lack of specificity under Alabama Criminal Procedure

Rule 32.6(b). Id. at 281-82. The ACCA affirmed:

             [Windsor] contends that the State did not deliver to the defense
       “the photo array which was shown to State witnesses Sammie Sue
       Osborne and Tommy Pepper for the purpose of identifying Mr.
       116
          Windsor alleges conclusively in his petition that the State’s noncompliance with Brady
violated his Fifth, Sixth, Eighth, and Fourteenth Amendment rights. Doc. 16 at 71 ¶ 114. But a
Brady claim arises under the Fourteenth Amendment. See Brady, 373 U.S. at 86 (“We agree with
the Court of Appeals that suppression of this confession was a violation of the Due Process Clause
of the Fourteenth Amendment.”). And the Fifth Amendment is inapplicable here. See n. 28 supra.
Moreover, because Windsor does not elaborate why he has a cognizable constitutional right under
the Sixth or Eighth Amendment, his claims based on those amendments are abandoned,
underdeveloped, or unproven.

        Relevant to the claim itself, a Brady violation occurs when a prosecutor “fail[s] to disclose
evidence material to the prosecution, even when ‘there has been no request by the accused.’” Blanco
v. Sec’y, Fla. Dept of Corr., 688 F.3d 1211, 1238 (11th Cir. 2012) (quoting Strickler v. Greene, 527
U.S. 263, 280 (1999)). To establish a Brady claim, the litigant must show: “(1) that the evidence at
issue is favorable to the accused; (2) that the State suppressed the evidence, either willfully or
inadvertently; and (3) that the evidence is material to the guilt or punishment of the defendant such
that the defendant suffered prejudice as a result.” Id.
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       Windsor.” (C.R. 208.) He also contends that, “despite a court order and
       admonitions from the trial court, the state failed to deliver the fingerprint
       evidence against Mr. Windsor and Mr. Guthrie in time for the defense
       to respond effectively to it.” (C.R. 209.)

               Windsor did not allege that his Brady claims were based on newly
       discovered evidence or that any alleged suppression by the State
       continued until such time as the claims could not have been raised at
       trial. See Boyd v. State, 913 So.2d 1113 (Ala.Crim.App.2003); Williams
       v. State, 782 So.2d 811 (Ala.Crim.App.2000). Therefore, the circuit
       court correctly concluded that his claims were precluded pursuant to the
       provisions of Rule 32.2(a), Ala. R.Crim. P. Specifically, with regard to
       the photo array, the circuit court properly found that Windsor’s claim
       was precluded because he raised it at trial and could have raised it on
       direct appeal, but did not. See Rule 32.2(a)(2) and (5), Ala. R.Crim. P.
       Also, with regard to the fingerprint evidence, the circuit court properly
       found that Windsor’s claim was precluded because it was raised and
       addressed at trial and on direct appeal. See Rule 32.2(a)(2) and (4), Ala.
       R.Crim. P.; Windsor, 683 So.2d at 1033–34.

Windsor Rule 32, 89 So. 3d at 825.

       The Respondents argue that Windsor has inadequately pleaded this claim

under Rule 2(c) of the Rules Governing Section 2254 Cases, doc. 26 at 63-64,

procedurally defaulted on new allegations, id. at 64-67, and presented a merits-based

challenge of the ACCA’s decision that fails to satisfy a § 2254(d)(1) or (2). Doc. 26

at 68. In reply, Windsor “does not question the general validity of the State’s assertion

that this issue may be procedurally barred,” doc. 28 at 48, and admits that “[a]s the

record stands, [he] is afraid the State is correct in its brief,” id. at 49. Instead, Windsor

“request[s] this court for discovery of the records contained in both his and Mr.
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Guthrie’s files from St. Clair and Colbert Count[ies] to determine the prejudice he

suffered for the failure of the trial court to order discovery.” Id. But, during the course

of this habeas proceeding, Windsor never moved to conduct discovery on this Brady

claim under Rule 6 or expand the record under Rule 7 of the Rules Governing Section

2254 Cases. The Rules Governing Section 2254 Cases do not permit Windsor to shift

the burden onto this court through a brief to discover and produce to him the St. Clair

and Colbert County criminal trial records to substantiate his speculative Brady claim.

Even if the Rules Governing Section 2254 Cases were broad enough for Windsor to

request discovery assistance from this court, Cullen precludes the court from

considering de novo any new information which the discovery might contain. 117

Additionally, Windsor leaves unaddressed the Respondents other reasons for

dismissing this claim. Therefore, the court denies Claim Q as effectively conceded

and unproven.

                                              IV.

       After applying AEDPA or de novo review, Windsor has not shown an

entitlement to habeas relief. Consequently, the court denies his § 2254 petition, doc.



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          Cullen held that “review under ' 2254(d)(1) [and (d)(2)] is limited to the record that was
before the state court that adjudicated the claim on the merits,” Cullen, 563 U.S. at 181, and a
federal habeas court conducting ' 2254(d) review should not consider new evidence “in the first
instance effectively de novo,” id. at 182.
                                                154
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16, as well as expert motion, doc. 62, for lack of good cause. The court will enter a

separate order consistent with this memorandum opinion.

      DONE the 23rd day of October, 2020.


                                      _________________________________
                                               ABDUL K. KALLON
                                         UNITED STATES DISTRICT JUDGE




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